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                           Exhibit A




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               Exhibit A




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             DMCA NOTICE OF COPYRIGHT INFRINGEMENT

        Valve respects the intellectual property rights of others, and we ask that
everyone using our internet sites and services do the same. Anyone who believes that
their work has been reproduced in one of our internet sites or services in a way that
constitutes copyright infringement may notify Valve's copyright agent using the form
below.
        Submitting a claim of copyright infringement is a serious legal matter. Before
you proceed, you might consider contacting the individual directly to address the
complaint. It might be a simple misunderstanding and possible to address without
involving proper legal process.
        Be aware that under Section 512(f) of the Digital Millennium Copyright Act,
any person who knowingly materially misrepresents that material or activity is
infringing may be liable for damages.
        Please also note that the information provided in this legal notice may be
shared with third-parties or made public.

   1. Identify Content

       Provide a URL on Valve’s systems where the content that you say is
       infringing can be found:
       https://store.steampowered.com/app/2016590/Dark_and_Darker/

       Please describe the specific content on Valve’s systems you say is infringing:
       Pursuant to Section 512(c)(3) of the DMCA, the undersigned hereby places
       Valve Corporation (“Valve”) on notice that:

       I, James S. Blackburn, am authorized by NEXON Korea Corporation
       (“Nexon”) to submit this notice of copyright infringement to Valve. Under the
       penalty of perjury, I certify that the information in this notification is accurate.

       Nexon’s trade secrets and copyrights are being infringed by the testing version
       of the video game Dark and Darker, which may be found on Steam at this
       URL: https://store.steampowered.com/app/2016590/Dark_and_Darker/

       Nexon has a good faith belief that Dark and Darker is infringing Nexon’s
       copyrights in the P3 Game. Nexon also has good faith belief that Dark and
       Darker was developed by (1) stealing the source codes, art resources, and
       build files of the P3 Game and (2) using without authorization the stolen
       source codes, art resources, and build files as the foundation for Dark and
       Darker. Key employees, including the Managing Director as well as the
       Founder and Representative Director of Ironmace, were key team members
       that worked on and had access to Nexon’s P3 Game. At least one person
       (notably, the current Managing Director of Ironmace) was dismissed from
       Nexon for transferring proprietary company files related to the P3 Project to
       his private server prior to leaving Nexon.



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     Identify the copyrighted work that you claim is being infringed.
     (Please include any relevant information such as urls, dates, account names
     involved, and where the original content can be found. If you have access to
     the original work, it would be helpful to add a note to that page identifying the
     owner. It can make the process much quicker by simply adding a note to the
     bottom of the original content page such as “Copyright 201X [Owner’s
     Name.] This item is not authorized for posting on Steam, except under the
     Steam account named _____”

            Nexon owns registered copyrights to the source codes, art resources,
     and build files of the P3 Game, which have been registered with the U.S.
     Copyright Office:

            (1) Project P3 Codes (computer program), Registration No. TXu 2-
            355-124;
            (2) Project P3 (audiovisual video game material), Registration No.
            PAu 4-169-661;
            (3) Project P3 Playtest (audiovisual material and spoken commentary),
            Registration No. PAu 4-166-909;
            (4) Project P3 Character – Cleric (2D artwork), Registration No. VAu
            1-491-714;
            (5) Project P3 Character – Ranger (2D artwork), Registration No. VAu
            1-491-715;
            (6) Project P3 Character – Barbarian (2D artwork), Registration No.
            VAu 1-491-716;
            (7) Project P3 Character – Tanker (2D artwork), Registration No. VAu
            1-491-717;
            (8) Project P3 Character – Thief (2D artwork), Registration No. VAu
            1-491-719; and
            (9) Project P3 Character – Wizard (2D artwork), Registration No. VAu
            1-491-720.


  2. Your Contact Information

     Full Legal Name:       James S. Blackburn
     Address 1:             Arnold & Porter LLP
     Address 2:             777 South Figueroa Street, 44th Floor
     City, State:           Los Angeles, CA
     Postal Code:           90017-5844
     Country:               United States of America
     Phone:                 (213) 243-4063
     Email Address:         James.Blackburn@arnoldporter.com




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  3. Authorization & Signature

     By checking the following boxes and submitting this claim, I state UNDER
     PENALTY OF PERJURY that:
     - I am the copyright owner.
     - I am authorized to act on the copyright owner’s behalf in this situation.
     - I have a good faith belief that the use of the material noted in this claim is
        not authorized by the copyright owner, its agent, or the law.
     - I acknowledge that under Section 512(f) of the DMCA any person who
        knowingly materially misrepresent the material or activity is infringing
        may be liable for damages.

     Type your full name into this box, acting as your digital signature.




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                Exhibit B




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Certificate of Registration
                     This Certificate issued under the seal of the Copyright
                     Office in accordance with title 17, United States Code^
                     attests that registration has been made for the work
                     identified below.The information on this certificate has    Registration Number
                     been made a part of the Copyright Office records.
                                                                                PAu 4-169-661
                                                                                 Effective Date of Registration:
                                                                                 February 21, 2023
                                                                                 Registration Decision Date:
                     United States Register of Copyrights and Director           March 02. 2023




   Title

                         Title of Work:    Project P3


   Completion/Publication
                  Year of Completion: 2021

   Author

                    •          Author:     NEXON KOREA CORPORATION
                        Author Created:    audiovisual material
                  Work made for hire:      Yes
                             Citizen of:   Korea,South


   Copyright Claimant
                  Copyright Claimant: NEXON KOREA CORPORATION
                                      7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                           Korea,South


   Limitation of copyright claim

     Material excluded from this claim:    source code
        Previous registration and year: TXu002355124,2023

       New material included in claim:     all other video game material

    Rights and Permissions

                  Organization Name: Downs Rachlin Martin PLLC
                                 Name:     Cathleen E. Stadecker
                                Email: tmip@drm.com
                            Telephone: (802)863-2375
                               Address:    199 Main Street, PO Box 190
                                           Burlington, VT 05402-0190 United States

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Certification

                        Name:   Cathleen £. Stadecker
                            Date: Febraary 21,2023
    Applicant's Tracking Number: 12938-254USY1 / GET23-0004-US


                Correspondence: Yes




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    Certificate of Registration
                              This Certificate issued under the seal ofthe Copyright
                              Office in accordance with title 17, United States Code,
                              attests that registration has been made for the work
                              identified below. The information on this certificate has   Registration Number
                              been made a part of the Copyright Office records.
                                                                                          PAu 4-166-909
                                                                                          Effective Date of Registration:
        "^^''1870-'^                                                                      February 09, 2023
                                                                                          Registration Decision Date:
                              United States Register of Copyrights and Director           March 02, 2023




          Title

                                   Title of Work:   Project P3 Playtest


          Completion/Publication
                           Year of Completion: 2021

          Author

                              •           Author:   NEXON KOREA CORPORATION
                                  Author Created: audiovisual material and spoken commentary
                           Work made for hire:      Yes
                                   Citizen of:      Korea,South


          Copyright Ciaimant

                           Copyright Claimant: NEXON KOREA CORPORATION
                                               7, Fangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                                    Korea,South




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                           Organization Name: Downs Rachlin Martin PLLC
                                           Name:    Cathleen E. Stadecker
                                           Email: tmip@drm.com
                                       Telephone: (802)863-2375
                                         Address:   199 Main Street, PO Box 190
                                                    Burlington, VT 05402-0190 United States

              Certification

                                           Name:     Cathleen E. Stadecker

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                     Date: Febraary 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US9


           Correspondence: Yes




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Certificate of Registration
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                   attests that registration has been made for the work
                   identified below.The information on this certificate has     Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-714
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Cleric                                                 ^   "'v.'"



   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of;   Korea,South


   Copyright Ctalmant

                Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487,
                                          Korea,South




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                               Email: tmip@drm.com
                           Telephone: (802)863-2375
                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathieen E. Stadecker


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                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character(s). Compendium 313.4(H).




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                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-715
                                                                                Effective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Ranger


   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
                                    7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




    Rights and Permissions

                Organization Name: Downs Rachlin Martin PLLC
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                                          Burlington, VT 05402-0190 United Stales

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                               Name:      Cathleen E. Stadecker


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                        Date; February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US3


            Correspondence: Yes
      Copyright Office notes: Basis for Registration; Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character(s). Compendium 313.4(H).




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                   identified below. The information on this certificate has    Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-716
                                                                                Elective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03.2023




   Title

                        Title of Work:    Project P3 Character - Barbarian


   Completion/Publication
               Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
               Work made for hire:        Yes
                            Citizen of:   Korea, South


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487,
                                          Korea,South




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                        Alt. Telephone: (802)862-7512
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                                          Burlington, VT 05402-0190 United States

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                       Name:    Cathleen E. Stadecker
                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US2


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-717
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Tanker


   Completion/Publication
                Year of Completion: 2020

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-0 artwork
                Work made for hire:       Yes
                                                                                                            .i-- \   ,
                            Citizen of:   Korea, South
                                                                                                        ■      -C i-


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




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                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathleen E. Stadecker


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                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US4


           Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                   identified below. The information on this certificate has    Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-719
                                                                                EH'ective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work;    Project P3 Character - Thief


   Completion/Publication
                Year of Completion: 2021

   Author

                   •           Author:    NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




    Rights and Permissions

                Organization Name: Downs Rachlln Martin PLLC
                                Name:     Cathleen E. Stadecker
                                Email: tmip@drm.com
                           Telephone: (802)863-2375
                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathleen E. Stadecker


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                        Date; February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US5


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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Certificate of Registration
  ..p.STAT^         This Certificate issued under the seal of the Copyright
                    Office in accordance with title 17, United Stales Code,
                    attests that registration has been made for the work
                    identified below. The information on this certificate has   Registration Number
                    been made a part of the Copyright Office records.
                                                                                VAu 1-491-720
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                    United States Register of Copyrights and Director           March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Wizard


   Completion/Publication
                  Year of Compietion: 2020

   Author

                   •           Author:    NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                  Work made for hire:     Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                  Copyright Claimant: NEXON KOREA CORPORATION
                                      7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487»
                                          Korea, South




     Rights and Permissions

                  Organization Name: Downs Rachlin Martin PLLC
                                Name:     Cathleen E. Stadecker
                               Email: tmip@drm.com
                           Telephone: (802)863-2375
                              Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathleen E. Stadecker


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                        Date: Februaiy 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US6


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                Exhibit C




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                       Misconduct of Ju-Hyun Choi
           Regarding Unauthorized Disclosure of the P3 Project Data


Ju-Hyun Choi unlawfully transferred and disclosed approximately 11,602 files of
the data related to the P3 Project

      • From April 2021 to June 18, 2021, 2,747 build files for the P3 Project
         were unlawfully transferred from the Nexon’s Jenkins server to Ju-Hyun
         Choi's (“Choi”) private server located in Seosan without obtaining
         authorization.

      • From April 7, 2021 to May 11, 2021, 1,719 build files for the P3 Project
         were unlawfully transferred to Choi’s private server built on a home PC
         without obtaining authorization.

      • From May 31, 2021 to June 23, 2021, the data related to the P3 Project,
         including source code and art resources, were unlawfully transferred to
         Choi's private server in Seosan without obtaining authorization over 20
         instances.




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                Exhibit D




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 Comparison of Resource File Names Between P3 Game and Dark and Darker
       • The comparison of resources in the folder created when installing “Dark
         and Darker” to those when installing the P3 Game shows that the two
         games had 2,338 files with the same names.

       • Even if we exclude the number of files essentially included in the Unreal
         Engine itself from the above, more than 1,000 files had the same file
         names.

       • Below is the list of resource file names that are identical in “Dark and
         Darker” and the P3 Game.

AK_Acoustic_Portal.uasset                      AkRtpc.ubulk
AK_Acoustic_Portal.ubulk                       AkRtpc.uexp
AK_Acoustic_Portal.uexp                        AkStateValue.uasset
AK_Acoustic_Portal_Explorer.uasset             AkStateValue.ubulk
AK_Acoustic_Portal_Explorer.uexp               AkStateValue.uexp
AK_Reverb_Volume.uasset                        AkSwitchValue.uasset
AK_Reverb_Volume.ubulk                         AkSwitchValue.ubulk
AK_Reverb_Volume.uexp                          AkSwitchValue.uexp
AK_Reverb_Volume_Explorer.uasset               AkTrigger.uasset
AK_Reverb_Volume_Explorer.uexp                 AkTrigger.ubulk
AK_Spatial_Audio_Volume.uasset                 AkTrigger.uexp
AK_Spatial_Audio_Volume.ubulk                  Anechoic.uasset
AK_Spatial_Audio_Volume.uexp                   Anechoic.uexp
AK_Spatial_Audio_Volume_Explorer.uasset        AnimNotify_AkEvent.uasset
AK_Spatial_Audio_Volume_Explorer.uexp          AnimNotify_AkEvent.uexp
Acoustic_Banner.uasset                         AssetRegistry.bin
Acoustic_Banner.uexp                           BP_Arrow.uasset
AkAcousticTexture.uasset                       BP_Arrow.uexp
AkAcousticTexture.ubulk                        BP_Footprint.uasset
AkAcousticTexture.uexp                         BP_Footprint.uexp
AkAudioBank.uasset                             BP_FranciscaAxeProjectile.uasset
AkAudioBank.ubulk                              BP_FranciscaAxeProjectile.uexp
AkAudioBank.uexp                               BP_ItemActor.uasset
AkAudioEvent.uasset                            BP_ItemActor.uexp
AkAudioEvent.ubulk                             BP_PlayerController.uasset
AkAudioEvent.uexp                              BP_PlayerController.uexp
AkAuxBus.uasset                                BP_ThrowingKnifeProjectile.uasset
AkAuxBus.ubulk                                 BP_ThrowingKnifeProjectile.uexp
AkAuxBus.uexp                                  BP_TorchProjectile.uasset
AkExternalMediaAsset.uasset                    BP_TorchProjectile.uexp
AkExternalMediaAsset.ubulk                     Backstab.uasset
AkExternalMediaAsset.uexp                      Backstab.uexp
AkLocalizedMediaAsset.uasset                   BlockoutToolsFunctions.uasset
AkLocalizedMediaAsset.ubulk                    BlockoutToolsFunctions.uexp
AkLocalizedMediaAsset.uexp                     BlockoutToolsPlugin.uplugin
AkMediaAsset.uasset                            Blockout_Box.uasset
AkMediaAsset.ubulk                             Blockout_Box.uexp
AkMediaAsset.uexp                              Blockout_Cone.uasset
AkRtpc.uasset                                  Blockout_Cone.uexp




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Blockout_Corner_Curved.uasset               Events_FOLDER.uasset
Blockout_Corner_Curved.uexp                 Events_FOLDER.uexp
Blockout_Corner_Ramp.uasset                 FX_fire.uasset
Blockout_Corner_Ramp.uexp                   FX_fire.uexp
Blockout_Cylinder.uasset                    Fabric.uasset
Blockout_Cylinder.uexp                      Fabric.uexp
Blockout_Doorway.uasset                     Fireball.uasset
Blockout_Doorway.uexp                       Fireball.uexp
Blockout_Railing.uasset                     FranciscaAxe.uasset
Blockout_Railing.uexp                       FranciscaAxe.uexp
Blockout_Ramp.uasset                        Fx_Smoke.uasset
Blockout_Ramp.uexp                          Fx_Smoke.uexp
Blockout_Skewbox.uasset                     GA_Crouch.uasset
Blockout_Skewbox.uexp                       GA_Crouch.uexp
Blockout_Sphere.uasset                      GA_Interact.uasset
Blockout_Sphere.uexp                        GA_Interact.uexp
Blockout_Stairs_Curved.uasset               GA_InteractPassive.uasset
Blockout_Stairs_Curved.uexp                 GA_InteractPassive.uexp
Blockout_Stairs_Linear.uasset               GA_Rest.uasset
Blockout_Stairs_Linear.uexp                 GA_Rest.uexp
Blockout_Stairs_Linear_Manual.uasset        GA_Walk.uasset
Blockout_Stairs_Linear_Manual.uexp          GA_Walk.uexp
Blockout_Tube.uasset                        GC_Explosion.uasset
Blockout_Tube.uexp                          GC_Explosion.uexp
Blockout_Window.uasset                      GC_SpellCastReady.uasset
Blockout_Window.uexp                        GC_SpellCastReady.uexp
Brick.uasset                                GC_SpellCastStart.uasset
Brick.uexp                                  GC_SpellCastStart.uexp
Candle.uasset                               GE_Backstab.uasset
Candle.uexp                                 GE_Backstab.uexp
Carpet.uasset                               GE_InvisibilitySpell.uasset
Carpet.uexp                                 GE_InvisibilitySpell.uexp
Concrete.uasset                             GE_ShieldExpert.uasset
Concrete.uexp                               GE_ShieldExpert.uexp
Cork_Tiles.uasset                           GE_Smash.uasset
Cork_Tiles.uexp                             GE_Smash.uexp
Curtains.uasset                             GE_Toughness.uasset
Curtains.uexp                               GE_Toughness.uexp
DefaultEngine.ini                           GE_Tracking.uasset
DefaultGame.ini                             GE_Tracking.uexp
DefaultGameUserSettings.ini                 GE_TrapExpert.uasset
DefaultGameplayTags.ini                     GE_TrapExpert.uexp
DefaultInput.ini                            GE_TwoHandedWeaponExpert.uasset
Default_Work_Unit_FOLDER.uasset             GE_TwoHandedWeaponExpert.uexp
Default_Work_Unit_FOLDER.uexp               GameLiftServerSDK.uplugin
Door1.uasset                                Game_Parameters_FOLDER.uasset
Door1.uexp                                  Game_Parameters_FOLDER.uexp
Drywall.uasset                              InitBank.uasset
Drywall.uexp                                InitBank.uexp
EBlockoutAlignment.uasset                   Lockpick.uasset
EBlockoutAlignment.uexp                     Lockpick.uexp
EBlockoutRailingType.uasset                 MF_Blockout_Grid.uasset
EBlockoutRailingType.uexp                   MF_Blockout_Grid.uexp
EBlockoutStairsType.uasset                  MF_Blockout_Triplanar.uasset
EBlockoutStairsType.uexp                    MF_Blockout_Triplanar.uexp




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MF_Blockout_Triplanar_Grid.uasset          MI_Wall_01.uexp
MF_Blockout_Triplanar_Grid.uexp            MI_Wall_02.uasset
MF_Blockout_Triplanar_Normal.uasset        MI_Wall_02.uexp
MF_Blockout_Triplanar_Normal.uexp          MI_Wall_03.uasset
MF_DitheredRefraction.uasset               MI_Wall_03.uexp
MF_DitheredRefraction.uexp                 MI_Wood_01.uasset
MF_Fresnel_01a.uasset                      MI_Wood_01.uexp
MF_Fresnel_01a.uexp                        MM_Master_Material_01a.uasset
MF_ParticleRandomSize.uasset               MM_Master_Material_01a.uexp
MF_ParticleRandomSize.uexp                 M_Base.uasset
MF_RGBA_Multiplier.uasset                  M_Base.uexp
MF_RGBA_Multiplier.uexp                    M_Base_GlobalTint.uasset
MF_RGBA_Tint.uasset                        M_Base_GlobalTint.uexp
MF_RGBA_Tint.uexp                          M_BlockoutTools_Custom.uasset
MF_Sand_01a.uasset                         M_BlockoutTools_Custom.uexp
MF_Sand_01a.uexp                           M_BlockoutTools_Grid.uasset
MI_Arch_01.uasset                          M_BlockoutTools_Grid.uexp
MI_Arch_01.uexp                            M_Distortion.uasset
MI_Arch_02.uasset                          M_Distortion.uexp
MI_Arch_02.uexp                            M_Outline.uasset
MI_Ballustrade_01.uasset                   M_Outline.uexp
MI_Ballustrade_01.uexp                     M_Radial_Gradient.uasset
MI_Barrel.uasset                           M_Radial_Gradient.uexp
MI_Barrel.uexp                             M_SKMage_Clothes01_Dark.uasset
MI_BlockoutTools_Custom.uasset             M_SKMage_Clothes01_Dark.uexp
MI_BlockoutTools_Custom.uexp               M_SKMage_Clothes02_Dark.uasset
MI_BlockoutTools_Grid.uasset               M_SKMage_Clothes02_Dark.uexp
MI_BlockoutTools_Grid.uexp                 M_SKMage_Clothes03_Dark.uasset
MI_Brick_Rubble_01.uasset                  M_SKMage_Clothes03_Dark.uexp
MI_Brick_Rubble_01.uexp                    M_SKMage_Staff_Dark.uasset
MI_Bricks_01.uasset                        M_SKMage_Staff_Dark.uexp
MI_Bricks_01.uexp                          M_SK_Skeleton_Sand.uasset
MI_Column_01.uasset                        M_SK_Skeleton_Sand.uexp
MI_Column_01.uexp                          M_SK_Skull_Sand.uasset
MI_Column_02.uasset                        M_SK_Skull_Sand.uexp
MI_Column_02.uexp                          Master-Mixer_Hierarchy_FOLDER.uasset
MI_Floor_01.uasset                         Master-Mixer_Hierarchy_FOLDER.uexp
MI_Floor_01.uexp                           Master_Audio_Bus_FOLDER.uasset
MI_Floor_Bricks_01.uasset                  Master_Audio_Bus_FOLDER.uexp
MI_Floor_Bricks_01.uexp                    Mountain.uasset
MI_Lockpick.uasset                         Mountain.uexp
MI_Lockpick.uexp                           RGBA_Mask_NoTint.uasset
MI_Metal_01.uasset                         RGBA_Mask_NoTint.uexp
MI_Metal_01.uexp                           SM_Arch_8m_01.uasset
MI_Stair_01.uasset                         SM_Arch_8m_01.uexp
MI_Stair_01.uexp                           SM_Arch_8m_06.uasset
MI_Stone_Damaged_01.uasset                 SM_Arch_8m_06.uexp
MI_Stone_Damaged_01.uexp                   SM_Arch_Top_01.uasset
MI_Trim_01.uasset                          SM_Arch_Top_01.uexp
MI_Trim_01.uexp                            SM_Arch_Top_02.uasset
MI_Trim_02.uasset                          SM_Arch_Top_02.uexp
MI_Trim_02.uexp                            SM_Arch_Top_03.uasset
MI_Trim_07.uasset                          SM_Arch_Top_03.uexp
MI_Trim_07.uexp                            SM_Arch_Top_04.uasset
MI_Wall_01.uasset                          SM_Arch_Top_04.uexp




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SM_Archway_01.uasset                             SM_Blockout_Curved_Corner_Outer_Q4.uexp
SM_Archway_01.uexp                               SM_Blockout_Cylinder_Q1.uasset
SM_Archway_02.uasset                             SM_Blockout_Cylinder_Q1.uexp
SM_Archway_02.uexp                               SM_Blockout_Cylinder_Q2.uasset
SM_Archway_03.uasset                             SM_Blockout_Cylinder_Q2.uexp
SM_Archway_03.uexp                               SM_Blockout_Cylinder_Q3.uasset
SM_Archway_Ruined_03.uasset                      SM_Blockout_Cylinder_Q3.uexp
SM_Archway_Ruined_03.uexp                        SM_Blockout_Cylinder_Q4.uasset
SM_Ballustrade_01.uasset                         SM_Blockout_Cylinder_Q4.uexp
SM_Ballustrade_01.uexp                           SM_Blockout_Hemisphere_Q1.uasset
SM_Ballustrade_Ruined_04.uasset                  SM_Blockout_Hemisphere_Q1.uexp
SM_Ballustrade_Ruined_04.uexp                    SM_Blockout_Hemisphere_Q2.uasset
SM_Ballustrade_Ruined_05.uasset                  SM_Blockout_Hemisphere_Q2.uexp
SM_Ballustrade_Ruined_05.uexp                    SM_Blockout_Hemisphere_Q3.uasset
SM_Ballustrade_Ruined_06.uasset                  SM_Blockout_Hemisphere_Q3.uexp
SM_Ballustrade_Ruined_06.uexp                    SM_Blockout_Hemisphere_Q4.uasset
SM_Ballustrade_Ruined_07.uasset                  SM_Blockout_Hemisphere_Q4.uexp
SM_Ballustrade_Ruined_07.uexp                    SM_Blockout_Railing_Closed.uasset
SM_Barrel_Ceiling_01.uasset                      SM_Blockout_Railing_Closed.uexp
SM_Barrel_Ceiling_01.uexp                        SM_Blockout_Railing_Open.uasset
SM_Bars_Doorway_01.uasset                        SM_Blockout_Railing_Open.uexp
SM_Bars_Doorway_01.uexp                          SM_Blockout_Railing_Pole.uasset
SM_Blind_Arch_02.uasset                          SM_Blockout_Railing_Pole.uexp
SM_Blind_Arch_02.uexp                            SM_Blockout_Ramp.uasset
SM_Blockout_Box.uasset                           SM_Blockout_Ramp.uexp
SM_Blockout_Box.uexp                             SM_Blockout_Sphere_Q1.uasset
SM_Blockout_Box_Centered.uasset                  SM_Blockout_Sphere_Q1.uexp
SM_Blockout_Box_Centered.uexp                    SM_Blockout_Sphere_Q2.uasset
SM_Blockout_Box_Right.uasset                     SM_Blockout_Sphere_Q2.uexp
SM_Blockout_Box_Right.uexp                       SM_Blockout_Sphere_Q3.uasset
SM_Blockout_Cone_Q1.uasset                       SM_Blockout_Sphere_Q3.uexp
SM_Blockout_Cone_Q1.uexp                         SM_Blockout_Sphere_Q4.uasset
SM_Blockout_Cone_Q2.uasset                       SM_Blockout_Sphere_Q4.uexp
SM_Blockout_Cone_Q2.uexp                         SM_Blockout_Step_Box.uasset
SM_Blockout_Cone_Q3.uasset                       SM_Blockout_Step_Box.uexp
SM_Blockout_Cone_Q3.uexp                         SM_Blockout_Step_Box_Centered.uasset
SM_Blockout_Cone_Q4.uasset                       SM_Blockout_Step_Box_Centered.uexp
SM_Blockout_Cone_Q4.uexp                         SM_Blockout_Step_Sloped_Centered.uasset
SM_Blockout_Corner_Ramp.uasset                   SM_Blockout_Step_Sloped_Centered.uexp
SM_Blockout_Corner_Ramp.uexp                     SM_Blockout_Step_Sloped_Linear.uasset
SM_Blockout_Curved_Corner_Inner_Q1.uasset        SM_Blockout_Step_Sloped_Linear.uexp
SM_Blockout_Curved_Corner_Inner_Q1.uexp          SM_BonesPile01.uasset
SM_Blockout_Curved_Corner_Inner_Q2.uasset        SM_BonesPile01.uexp
SM_Blockout_Curved_Corner_Inner_Q2.uexp          SM_BonesPile02.uasset
SM_Blockout_Curved_Corner_Inner_Q3.uasset        SM_BonesPile02.uexp
SM_Blockout_Curved_Corner_Inner_Q3.uexp          SM_BonesPile03.uasset
SM_Blockout_Curved_Corner_Inner_Q4.uasset        SM_BonesPile03.uexp
SM_Blockout_Curved_Corner_Inner_Q4.uexp          SM_BonesPile05.uasset
SM_Blockout_Curved_Corner_Outer_Q1.uasset        SM_BonesPile05.uexp
SM_Blockout_Curved_Corner_Outer_Q1.uexp          SM_Brick_Column_Ruined_02.uasset
SM_Blockout_Curved_Corner_Outer_Q2.uasset        SM_Brick_Column_Ruined_02.uexp
SM_Blockout_Curved_Corner_Outer_Q2.uexp          SM_Brick_Column_Ruined_03.uasset
SM_Blockout_Curved_Corner_Outer_Q3.uasset        SM_Brick_Column_Ruined_03.uexp
SM_Blockout_Curved_Corner_Outer_Q3.uexp          SM_ClayPot_11.uasset
SM_Blockout_Curved_Corner_Outer_Q4.uasset        SM_ClayPot_11.uexp




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SM_ClayPot_13.uasset                 SM_Metal_Door_01.uexp
SM_ClayPot_13.uexp                   SM_Niche2_1.uasset
SM_Column1_01.uasset                 SM_Niche2_1.uexp
SM_Column1_01.uexp                   SM_Pier_02.uasset
SM_Column1_02.uasset                 SM_Pier_02.uexp
SM_Column1_02.uexp                   SM_Pilaster_01.uasset
SM_Column_01.uasset                  SM_Pilaster_01.uexp
SM_Column_01.uexp                    SM_Pilaster_02.uasset
SM_Column_01b.uasset                 SM_Pilaster_02.uexp
SM_Column_01b.uexp                   SM_Pilaster_02a.uasset
SM_Column_02.uasset                  SM_Pilaster_02a.uexp
SM_Column_02.uexp                    SM_Pilaster_03.uasset
SM_Column_03.uasset                  SM_Pilaster_03.uexp
SM_Column_03.uexp                    SM_Pilaster_03a.uasset
SM_Column_05.uasset                  SM_Pilaster_03a.uexp
SM_Column_05.uexp                    SM_Plank_01.uasset
SM_Column_05a.uasset                 SM_Plank_01.uexp
SM_Column_05a.uexp                   SM_Planks_02.uasset
SM_Column_07.uasset                  SM_Planks_02.uexp
SM_Column_07.uexp                    SM_Pylon2_01.uasset
SM_Column_Ruined_02.uasset           SM_Pylon2_01.uexp
SM_Column_Ruined_02.uexp             SM_Pylon6_02.uasset
SM_Column_Ruined_04.uasset           SM_Pylon6_02.uexp
SM_Column_Ruined_04.uexp             SM_Scaffolding_04.uasset
SM_Column_Ruined_05.uasset           SM_Scaffolding_04.uexp
SM_Column_Ruined_05.uexp             SM_Scaffolding_07.uasset
SM_Debris_01.uasset                  SM_Scaffolding_07.uexp
SM_Debris_01.uexp                    SM_Scull1_02.uasset
SM_Debris_02.uasset                  SM_Scull1_02.uexp
SM_Debris_02.uexp                    SM_SkeletonPose02.uasset
SM_Debris_Floor_01.uasset            SM_SkeletonPose02.uexp
SM_Debris_Floor_01.uexp              SM_Sphere.uasset
SM_Debris_Floor_02.uasset            SM_Sphere.uexp
SM_Debris_Floor_02.uexp              SM_Stair_02.uasset
SM_Debris_Floor_03.uasset            SM_Stair_02.uexp
SM_Debris_Floor_03.uexp              SM_Stair_Tileable_02.uasset
SM_Debris_Floor_04.uasset            SM_Stair_Tileable_02.uexp
SM_Debris_Floor_04.uexp              SM_Stair_Tileable_03.uasset
SM_Debris_Floor_05.uasset            SM_Stair_Tileable_03.uexp
SM_Debris_Floor_05.uexp              SM_Wall_01.uasset
SM_Floor_01.uasset                   SM_Wall_01.uexp
SM_Floor_01.uexp                     SM_Wall_Corner_02.uasset
SM_Floor_Half_01.uasset              SM_Wall_Corner_02.uexp
SM_Floor_Half_01.uexp                SM_Wall_Corner_03.uasset
SM_Floor_Half_02.uasset              SM_Wall_Corner_03.uexp
SM_Floor_Half_02.uexp                SM_Wall_Corner_Half_02.uasset
SM_Floor_Ruined_01.uasset            SM_Wall_Corner_Half_02.uexp
SM_Floor_Ruined_01.uexp              SM_Wall_Corner_Half_03.uasset
SM_Floor_Ruined_04.uasset            SM_Wall_Corner_Half_03.uexp
SM_Floor_Ruined_04.uexp              SM_Wall_Low_04.uasset
SM_Floor_Ruined_06.uasset            SM_Wall_Low_04.uexp
SM_Floor_Ruined_06.uexp              SM_Wall_Low_05.uasset
SM_Floor_Ruined_08.uasset            SM_Wall_Low_05.uexp
SM_Floor_Ruined_08.uexp              SM_Wall_Low_06.uasset
SM_Metal_Door_01.uasset              SM_Wall_Low_06.uexp




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SM_Wall_Ruined_01.uasset                ShaderArchive-Global-
SM_Wall_Ruined_01.uexp                  PCD3D_SM5.ushaderbytecode
SM_Wall_Ruined_09.uasset                ShieldExpert.uasset
SM_Wall_Ruined_09.uexp                  ShieldExpert.uexp
SM_Wall_Ruined_10.uasset                Smash.uasset
SM_Wall_Ruined_10.uexp                  Smash.uexp
SM_Wall_Ruined_11.uasset                SmokeBomb.uasset
SM_Wall_Ruined_11.uexp                  SmokeBomb.uexp
SM_Wall_Ruined_14.uasset                States_FOLDER.uasset
SM_Wall_Ruined_14.uexp                  States_FOLDER.uexp
SM_Wall_Ruined_31.uasset                Switches_FOLDER.uasset
SM_Wall_Ruined_31.uexp                  Switches_FOLDER.uexp
SM_Wall_Thick_01.uasset                 TX_Cube_01a_CUBE.uasset
SM_Wall_Thick_01.uexp                   TX_Cube_01a_CUBE.uexp
SM_Wall_Thick_Ruined_01.uasset          T_Arch_01_BC.uasset
SM_Wall_Thick_Ruined_01.uexp            T_Arch_01_BC.ubulk
SM_Wall_Thick_Ruined_010.uasset         T_Arch_01_BC.uexp
SM_Wall_Thick_Ruined_010.uexp           T_Arch_01_N.uasset
SM_Wall_Thick_Ruined_03.uasset          T_Arch_01_N.ubulk
SM_Wall_Thick_Ruined_03.uexp            T_Arch_01_N.uexp
SM_Wall_Thick_Ruined_07.uasset          T_Arch_02_BC.uasset
SM_Wall_Thick_Ruined_07.uexp            T_Arch_02_BC.ubulk
SM_Wall_Thick_Ruined_08.uasset          T_Arch_02_BC.uexp
SM_Wall_Thick_Ruined_08.uexp            T_Arch_02_N.uasset
SM_Window_02.uasset                     T_Arch_02_N.ubulk
SM_Window_02.uexp                       T_Arch_02_N.uexp
SM_Wooden_Beam_01.uasset                T_Ballustrade_01_BC.uasset
SM_Wooden_Beam_01.uexp                  T_Ballustrade_01_BC.ubulk
SM_Wooden_Beam_03.uasset                T_Ballustrade_01_BC.uexp
SM_Wooden_Beam_03.uexp                  T_Ballustrade_01_N.uasset
SM_Wooden_Floor_01.uasset               T_Ballustrade_01_N.ubulk
SM_Wooden_Floor_01.uexp                 T_Ballustrade_01_N.uexp
SM_Wooden_Floor_Ruined_01.uasset        T_Blank_N.uasset
SM_Wooden_Floor_Ruined_01.uexp          T_Blank_N.uexp
SM_Wooden_Floor_Ruined_09.uasset        T_Blockout_Actor_Icon.uasset
SM_Wooden_Floor_Ruined_09.uexp          T_Blockout_Actor_Icon.ubulk
SM_Wooden_Stair_01.uasset               T_Blockout_Actor_Icon.uexp
SM_Wooden_Stair_01.uexp                 T_Blockout_Grid.uasset
SM_Wooden_Support_01.uasset             T_Blockout_Grid.ubulk
SM_Wooden_Support_01.uexp               T_Blockout_Grid.uexp
SM_Wooden_Support_07.uasset             T_BonesPile_D.uasset
SM_Wooden_Support_07.uexp               T_BonesPile_D.ubulk
SM_Wooden_Support_08.uasset             T_BonesPile_D.uexp
SM_Wooden_Support_08.uexp               T_BonesPile_N.uasset
SM_Wooden_Support_09.uasset             T_BonesPile_N.ubulk
SM_Wooden_Support_09.uexp               T_BonesPile_N.uexp
SM_Wooden_Support_11.uasset             T_Brick_Rubble_01_BC.uasset
SM_Wooden_Support_11.uexp               T_Brick_Rubble_01_BC.ubulk
SSP_caucasian.uasset                    T_Brick_Rubble_01_BC.uexp
SSP_caucasian.uexp                      T_Brick_Rubble_01_N.uasset
S_AkComponent.uasset                    T_Brick_Rubble_01_N.ubulk
S_AkComponent.uexp                      T_Brick_Rubble_01_N.uexp
S_AkSpotReflector.uasset                T_Brick_Rubble_02_BC.uasset
S_AkSpotReflector.uexp                  T_Brick_Rubble_02_BC.ubulk
                                        T_Brick_Rubble_02_BC.uexp




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T_Brick_Rubble_02_N.uasset           T_Lamp01_D.ubulk
T_Brick_Rubble_02_N.ubulk            T_Lamp01_D.uexp
T_Brick_Rubble_02_N.uexp             T_Lamp01_N.uasset
T_Bricks_01_BC.uasset                T_Lamp01_N.ubulk
T_Bricks_01_BC.ubulk                 T_Lamp01_N.uexp
T_Bricks_01_BC.uexp                  T_Metal_Surface_01_BC.uasset
T_Bricks_01_N.uasset                 T_Metal_Surface_01_BC.ubulk
T_Bricks_01_N.ubulk                  T_Metal_Surface_01_BC.uexp
T_Bricks_01_N.uexp                   T_Metal_Surface_01_M.uasset
T_ClayPot_01_D.uasset                T_Metal_Surface_01_M.ubulk
T_ClayPot_01_D.ubulk                 T_Metal_Surface_01_M.uexp
T_ClayPot_01_D.uexp                  T_Metal_Surface_01_N.uasset
T_ClayPot_01_N.uasset                T_Metal_Surface_01_N.ubulk
T_ClayPot_01_N.ubulk                 T_Metal_Surface_01_N.uexp
T_ClayPot_01_N.uexp                  T_Niche1_D.uasset
T_Column1_01_D.uasset                T_Niche1_D.ubulk
T_Column1_01_D.ubulk                 T_Niche1_D.uexp
T_Column1_01_D.uexp                  T_Niche1_N.uasset
T_Column1_01_N.uasset                T_Niche1_N.ubulk
T_Column1_01_N.ubulk                 T_Niche1_N.uexp
T_Column1_01_N.uexp                  T_Niche2_D.uasset
T_Column1_02_D.uasset                T_Niche2_D.ubulk
T_Column1_02_D.ubulk                 T_Niche2_D.uexp
T_Column1_02_D.uexp                  T_Niche2_N.uasset
T_Column1_02_N.uasset                T_Niche2_N.ubulk
T_Column1_02_N.ubulk                 T_Niche2_N.uexp
T_Column1_02_N.uexp                  T_Pylon2_D.uasset
T_Column_01_BC.uasset                T_Pylon2_D.ubulk
T_Column_01_BC.ubulk                 T_Pylon2_D.uexp
T_Column_01_BC.uexp                  T_Pylon2_N.uasset
T_Column_01_N.uasset                 T_Pylon2_N.ubulk
T_Column_01_N.ubulk                  T_Pylon2_N.uexp
T_Column_01_N.uexp                   T_Pylon6_D.uasset
T_Column_02_BC.uasset                T_Pylon6_D.ubulk
T_Column_02_BC.ubulk                 T_Pylon6_D.uexp
T_Column_02_BC.uexp                  T_Pylon6_N.uasset
T_Entrance01_D.uasset                T_Pylon6_N.ubulk
T_Entrance01_D.ubulk                 T_Pylon6_N.uexp
T_Entrance01_D.uexp                  T_Ring.uasset
T_Entrance01_N.uasset                T_Ring.uexp
T_Entrance01_N.ubulk                 T_SK_Skeleton_AO.uasset
T_Entrance01_N.uexp                  T_SK_Skeleton_AO.ubulk
T_Floor_01_BC.uasset                 T_SK_Skeleton_AO.uexp
T_Floor_01_BC.ubulk                  T_SK_Skeleton_BaseColor_Sand.uasset
T_Floor_01_BC.uexp                   T_SK_Skeleton_BaseColor_Sand.ubulk
T_Floor_01_N.uasset                  T_SK_Skeleton_BaseColor_Sand.uexp
T_Floor_01_N.ubulk                   T_SK_Skeleton_Metallic.uasset
T_Floor_01_N.uexp                    T_SK_Skeleton_Metallic.ubulk
T_Floor_Bricks_01_BC.uasset          T_SK_Skeleton_Metallic.uexp
T_Floor_Bricks_01_BC.ubulk           T_SK_Skeleton_Normal.uasset
T_Floor_Bricks_01_BC.uexp            T_SK_Skeleton_Normal.ubulk
T_Floor_Bricks_01_N.uasset           T_SK_Skeleton_Normal.uexp
T_Floor_Bricks_01_N.ubulk            T_SK_Skeleton_Roughness.uasset
T_Floor_Bricks_01_N.uexp             T_SK_Skeleton_Roughness.ubulk
T_Lamp01_D.uasset                    T_SK_Skeleton_Roughness.uexp




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T_SK_Skull_AO.uasset                              T_SkMage_Clothes02_BaseColor_Green.ubulk
T_SK_Skull_AO.ubulk                               T_SkMage_Clothes02_BaseColor_Green.uexp
T_SK_Skull_AO.uexp                                T_SkMage_Clothes02_BaseColor_Red.uasset
T_SK_Skull_BaseColor_Sand.uasset                  T_SkMage_Clothes02_BaseColor_Red.ubulk
T_SK_Skull_BaseColor_Sand.ubulk                   T_SkMage_Clothes02_BaseColor_Red.uexp
T_SK_Skull_BaseColor_Sand.uexp                    T_SkMage_Clothes02_Metallic.uasset
T_SK_Skull_Metallic.uasset                        T_SkMage_Clothes02_Metallic.ubulk
T_SK_Skull_Metallic.ubulk                         T_SkMage_Clothes02_Metallic.uexp
T_SK_Skull_Metallic.uexp                          T_SkMage_Clothes02__Normal.uasset
T_SK_Skull_Normal.uasset                          T_SkMage_Clothes02__Normal.ubulk
T_SK_Skull_Normal.ubulk                           T_SkMage_Clothes02__Normal.uexp
T_SK_Skull_Normal.uexp                            T_SkMage_Clothes02__Roughness.uasset
T_SK_Skull_Roughness.uasset                       T_SkMage_Clothes02__Roughness.ubulk
T_SK_Skull_Roughness.ubulk                        T_SkMage_Clothes02__Roughness.uexp
T_SK_Skull_Roughness.uexp                         T_SkMage_Clothes03_AO.uasset
T_SkMage_Clothes01_AO.uasset                      T_SkMage_Clothes03_AO.ubulk
T_SkMage_Clothes01_AO.ubulk                       T_SkMage_Clothes03_AO.uexp
T_SkMage_Clothes01_AO.uexp                        T_SkMage_Clothes03_BaseColor_Blue.uasset
T_SkMage_Clothes01_BaseColor_Blue.uasset          T_SkMage_Clothes03_BaseColor_Blue.ubulk
T_SkMage_Clothes01_BaseColor_Blue.ubulk           T_SkMage_Clothes03_BaseColor_Blue.uexp
T_SkMage_Clothes01_BaseColor_Blue.uexp            T_SkMage_Clothes03_BaseColor_Dark.uasset
T_SkMage_Clothes01_BaseColor_Dark.uasset          T_SkMage_Clothes03_BaseColor_Dark.ubulk
T_SkMage_Clothes01_BaseColor_Dark.ubulk           T_SkMage_Clothes03_BaseColor_Dark.uexp
T_SkMage_Clothes01_BaseColor_Dark.uexp            T_SkMage_Clothes03_BaseColor_Desert.uasset
T_SkMage_Clothes01_BaseColor_Desert.uasset        T_SkMage_Clothes03_BaseColor_Desert.ubulk
T_SkMage_Clothes01_BaseColor_Desert.ubulk         T_SkMage_Clothes03_BaseColor_Desert.uexp
T_SkMage_Clothes01_BaseColor_Desert.uexp          T_SkMage_Clothes03_BaseColor_Green.uasset
T_SkMage_Clothes01_BaseColor_Green.uasset         T_SkMage_Clothes03_BaseColor_Green.ubulk
T_SkMage_Clothes01_BaseColor_Green.ubulk          T_SkMage_Clothes03_BaseColor_Green.uexp
T_SkMage_Clothes01_BaseColor_Green.uexp           T_SkMage_Clothes03_BaseColor_Red.uasset
T_SkMage_Clothes01_BaseColor_Red.uasset           T_SkMage_Clothes03_BaseColor_Red.ubulk
T_SkMage_Clothes01_BaseColor_Red.ubulk            T_SkMage_Clothes03_BaseColor_Red.uexp
T_SkMage_Clothes01_BaseColor_Red.uexp             T_SkMage_Clothes03_Metallic.uasset
T_SkMage_Clothes01_Metallic.uasset                T_SkMage_Clothes03_Metallic.ubulk
T_SkMage_Clothes01_Metallic.ubulk                 T_SkMage_Clothes03_Metallic.uexp
T_SkMage_Clothes01_Metallic.uexp                  T_SkMage_Clothes03_Normal.uasset
T_SkMage_Clothes01_Normal.uasset                  T_SkMage_Clothes03_Normal.ubulk
T_SkMage_Clothes01_Normal.ubulk                   T_SkMage_Clothes03_Normal.uexp
T_SkMage_Clothes01_Normal.uexp                    T_SkMage_Clothes03_Roughness.uasset
T_SkMage_Clothes01_Roughness.uasset               T_SkMage_Clothes03_Roughness.ubulk
T_SkMage_Clothes01_Roughness.ubulk                T_SkMage_Clothes03_Roughness.uexp
T_SkMage_Clothes01_Roughness.uexp                 T_SkMage_Staff_AO.uasset
T_SkMage_Clothes02_AO.uasset                      T_SkMage_Staff_AO.ubulk
T_SkMage_Clothes02_AO.ubulk                       T_SkMage_Staff_AO.uexp
T_SkMage_Clothes02_AO.uexp                        T_SkMage_Staff_BaseColor_Dark.uasset
T_SkMage_Clothes02_BaseColor_Blue.uasset          T_SkMage_Staff_BaseColor_Dark.ubulk
T_SkMage_Clothes02_BaseColor_Blue.ubulk           T_SkMage_Staff_BaseColor_Dark.uexp
T_SkMage_Clothes02_BaseColor_Blue.uexp            T_SkMage_Staff_Metallic.uasset
T_SkMage_Clothes02_BaseColor_Dark.uasset          T_SkMage_Staff_Metallic.ubulk
T_SkMage_Clothes02_BaseColor_Dark.ubulk           T_SkMage_Staff_Metallic.uexp
T_SkMage_Clothes02_BaseColor_Dark.uexp            T_SkMage_Staff_Normal.uasset
T_SkMage_Clothes02_BaseColor_Desert.uasset        T_SkMage_Staff_Normal.ubulk
T_SkMage_Clothes02_BaseColor_Desert.ubulk         T_SkMage_Staff_Normal.uexp
T_SkMage_Clothes02_BaseColor_Desert.uexp          T_SkMage_Staff_Roughness.uasset
T_SkMage_Clothes02_BaseColor_Green.uasset         T_SkMage_Staff_Roughness.ubulk




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T_SkMage_Staff_Roughness.uexp        T_Wall_01_BC.uasset
T_Skeleton_D.uasset                  T_Wall_01_BC.ubulk
T_Skeleton_D.ubulk                   T_Wall_01_BC.uexp
T_Skeleton_D.uexp                    T_Wall_01_N.uasset
T_Skeleton_N.uasset                  T_Wall_01_N.ubulk
T_Skeleton_N.ubulk                   T_Wall_01_N.uexp
T_Skeleton_N.uexp                    T_Wall_03_BC.uasset
T_SmokeTile.uasset                   T_Wall_03_BC.ubulk
T_SmokeTile.ubulk                    T_Wall_03_BC.uexp
T_SmokeTile.uexp                     T_Wall_03_N.uasset
T_SmokeTile_N.uasset                 T_Wall_03_N.ubulk
T_SmokeTile_N.ubulk                  T_Wall_03_N.uexp
T_SmokeTile_N.uexp                   T_Water_M.uasset
T_Smoke_Tiled_D.uasset               T_Water_M.ubulk
T_Smoke_Tiled_D.ubulk                T_Water_M.uexp
T_Smoke_Tiled_D.uexp                 T_Wood_01_BC.uasset
T_Stair_01_BC.uasset                 T_Wood_01_BC.ubulk
T_Stair_01_BC.ubulk                  T_Wood_01_BC.uexp
T_Stair_01_BC.uexp                   T_Wood_01_N.uasset
T_Stair_01_N.uasset                  T_Wood_01_N.ubulk
T_Stair_01_N.ubulk                   T_Wood_01_N.uexp
T_Stair_01_N.uexp                    T_helmet_north_01_D.uasset
T_Stone_Damaged_01_BC.uasset         T_helmet_north_01_D.ubulk
T_Stone_Damaged_01_BC.ubulk          T_helmet_north_01_D.uexp
T_Stone_Damaged_01_BC.uexp           T_helmet_north_01_N.uasset
T_Stone_Damaged_01_N.uasset          T_helmet_north_01_N.ubulk
T_Stone_Damaged_01_N.ubulk           T_helmet_north_01_N.uexp
T_Stone_Damaged_01_N.uexp            T_helmet_north_01_ORM.uasset
T_TilingClouds_01.uasset             T_helmet_north_01_ORM.ubulk
T_TilingClouds_01.ubulk              T_helmet_north_01_ORM.uexp
T_TilingClouds_01.uexp               Textures_FOLDER.uasset
T_TilingNoise03.uasset               Textures_FOLDER.uexp
T_TilingNoise03.ubulk                ThrowingKnife.uasset
T_TilingNoise03.uexp                 ThrowingKnife.uexp
T_Trim_01_BC.uasset                  Tile.uasset
T_Trim_01_BC.ubulk                   Tile.uexp
T_Trim_01_BC.uexp                    Titlebar_WwiseAppIcon.uasset
T_Trim_02_BC.uasset                  Titlebar_WwiseAppIcon.uexp
T_Trim_02_BC.ubulk                   Torch.uasset
T_Trim_02_BC.uexp                    Torch.uexp
T_Trim_02_N.uasset                   Toughness.uasset
T_Trim_02_N.ubulk                    Toughness.uexp
T_Trim_02_N.uexp                     Tracking.uasset
T_Trim_07_BC.uasset                  Tracking.uexp
T_Trim_07_BC.ubulk                   TrapExpert.uasset
T_Trim_07_BC.uexp                    TrapExpert.uexp
T_Trim_07_N.uasset                   Triggers_FOLDER.uasset
T_Trim_07_N.ubulk                    Triggers_FOLDER.uexp
T_Trim_07_N.uexp                     TwoHandedWeaponExpert.uasset
T_Wall01_D.uasset                    TwoHandedWeaponExpert.uexp
T_Wall01_D.ubulk                     UIFunctionLibrary.uasset
T_Wall01_D.uexp                      UIFunctionLibrary.uexp
T_Wall01_N.uasset                    Virtual_Acoustics_FOLDER.uasset
T_Wall01_N.ubulk                     Virtual_Acoustics_FOLDER.uexp
T_Wall01_N.uexp                      WB_Item.uasset




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WB_Item.uexp                                fx_fire_D.uexp
WB_ItemTooltip.uasset                       fx_smoke_D.uasset
WB_ItemTooltip.uexp                         fx_smoke_D.ubulk
WB_SpellSlot.uasset                         fx_smoke_D.uexp
WB_SpellSlot.uexp                           gameparameter_nor.uasset
Wood.uasset                                 gameparameter_nor.uexp
Wood.uexp                                   layer_container_nor.uasset
Wood_Bright.uasset                          layer_container_nor.uexp
Wood_Bright.uexp                            motion_bus_nor.uasset
Wood_Deep.uasset                            motion_bus_nor.uexp
Wood_Deep.uexp                              physical_folder_nor.uasset
Wwise.uplugin                               physical_folder_nor.uexp
acoutex_nor.uasset                          sfx.uasset
acoutex_nor.uexp                            sfx.uexp
actor_mixer_nor.uasset                      sound_fx_nor.uasset
actor_mixer_nor.uexp                        sound_fx_nor.uexp
auxbus_nor.uasset                           state_nor.uasset
auxbus_nor.uexp                             state_nor.uexp
base_black_d.uasset                         stategroup_nor.uasset
base_black_d.uexp                           stategroup_nor.uexp
base_flat_n.uasset                          switch_nor.uasset
base_flat_n.uexp                            switch_nor.uexp
base_gray_d.uasset                          switchgroup_nor.uasset
base_gray_d.uexp                            switchgroup_nor.uexp
base_white_d.uasset                         trigger_nor.uasset
base_white_d.uexp                           trigger_nor.uexp
bus_nor.uasset                              workunit_nor.uasset
bus_nor.uexp                                workunit_nor.uexp
container_random_sequence_nor.uasset        wproj.uasset
container_random_sequence_nor.uexp          wproj.uexp
container_switch_nor.uasset                 wwise_icon_16.uasset
container_switch_nor.uexp                   wwise_icon_16.uexp
event_nor.uasset                            wwise_icon_512.uasset
event_nor.uexp                              wwise_icon_512.ubulk
folder_nor.uasset                           wwise_icon_512.uexp
folder_nor.uexp                             wwise_logo_32.uasset
fx_fire_D.uasset                            wwise_logo_32.uexp
fx_fire_D.ubulk




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                Exhibit E




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            Similarities between the P3 Game and Dark and Darker

1. Character Design

   –   The P3 Game and Dark and Darker have the same types of character
       classes: Barbarian, Cleric, Tanker (Fighter), Wizard, Thief (Rogue), and
       Ranger.

   –   As shown below, the character designs for each class are very similar.
       ✓ The Barbarian
                The P3 Game                           Dark and Darker




       ✓ The Cleric
                 The P3 Game                          Dark and Darker




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     ✓ The Tanker (Fighter)
            The P3 Game                 Dark and Darker




     ✓ The Wizard
             The P3 Game                   Dark and Darker




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      ✓ The Thief (Rogue)
            The P3 Game                           Dark and Darker




      ✓ The Ranger
               The P3 Game                           Dark and Darker




  2. Setting / Structural Design

  –   The P3 Game is intended to demonstrate a fearful and dark atmosphere by
      using dungeons with dark brick walls as a background setting of the game
      and introduced torch-related in-game features (i.e. features that allow users



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       to use their torches to improve vision and light up or extinguish the torches
       already installed in dungeons) to maximize such atmosphere. However,
       these setting and features are also implemented as is in Dark and Darker.
                 The P3 Game                             Dark and Darker




3. Key Concept (Genre, Storyline, Detailed Elements of the Games)

   –   The P3 Game and Dark and Darker have similar story setting that “many
       adventurers who heard a rumor that they can become rich gather around to
       form a party and delve into dungeons full of monsters and treasures.”

   –   The game description of Dark and Darker is very similar to P3’s game
       description (which has never been disclosed outside Nexon).
       The P3 Game's         아주 위험하지만, 큰 부를 얻을 수 있다는 소문을 듣고
       Description in         미지의 던전을 향해 수많은 모험가들이 모여듭니다.
        Korean (with          [English trans.: Despite the danger, many adventurers
          English             venture into the unknown dungeon after hearing rumors of
        Translation)          great fortune in the dungeon.]

                             모험가들은 믿을 수 있는 멤버들과 파티를 구성하여
                              어둡고, 위험한 던전으로 모험을 떠납니다. [English
                              trans.: Adventurers form a party with other trusted members
                              and venture into the dark and dangerous dungeon.]

                             그들은 그곳에서 거대한 몬스터를 만나 위험에
                              처하거나, 값 비싼 전리품들을 발견할 수 있습니다.
                              [English trans,: They may find themselves in danger upon
                              encountering giant monsters or discover valuable loot /
                              treasure.]

                             함정, 몬스터, 다른 플레이어 등 무수한 위험에서 벗어나
                              던전을 무사히 탈출하면 획득한 모든 것을 가질 수
                              있습니다. [English trans.: You can keep everything you
                              have plundered if you escape the dungeon safely and avoid
                              countless dangers such as traps, monsters, and other
                              players.]




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        Dark and              Unfathomable fortunes await the brave and the
      Darker’s Game            foolish willing to delve into the devastated depths of
      Description in           an ancient citadel.
         English
                              Band together with your friends and use your
                               courage, wits, and cunning to uncover mythical
                               treasures, defeat gruesome monsters, while staying
                               one step ahead of the other devious treasure-hunters.
                              Once you’ve plundered your riches, now comes the
                               hard part, getting out alive.


  –    Dark and Darker has all characteristics of the P3 Game.
            Category                                    Detail
      Belong to PvPvE          This genre of game requires users to basically
      genre                    compete with each other (Player vs Player), but also
                               to fight the in-game environment (e.g., monsters).
      Has both the FPS and     Users cannot defeat other users only with a simple
      RPG elements             attack sign, and have to aim and shoot other users to
                               defeat them (FPS genre). Moreover, users grow
                               stronger as they obtain various items, and go on
                               adventures (element of an RPG).
      Game’s starting point,   16 users participate in one game. The game starts
      etc.                     from selecting characters at the tavern where a user
                               can communicate with other users.
      Character Class          Consists of “the Tanker (Fighter), the Barbarian,
                               the Cleric, the Thief (Rogue), the Wizard and the
                               Ranger”
      Other                    The background setting of the both games is a
                               dungeon made up of dark bricks. The games have
                               torch-related features, and they offer a fixed attack
                               pattern for each type of weapons. In the both games,
                               user interaction with in-game objects such as boxes
                               and doors are available in the form of casting, and
                               certain amount of time is required to equip or replace
                               equipment.




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                            Exhibit B




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                                                                                 James.Blackburn@arnoldporter.com




                                                               March 23, 2023


      VIA ELECTRONIC MAIL AND COURIER

      Terence (Seungha) Park
      IRONMACE CO., Ltd.
      401, 16, Pangyoyeok-ro 192beon-gil, Bundang-gu
      Seongnam-si, Gyeonggi-do, Republic of Korea 13524
      contact@ironmace.com


               Re:      Misappropriation of Nexon’s Trade Secrets and Copyright
                        Infringement

      Dear Mr. Park,

             We represent NEXON Korea Corporation (“Nexon”), a global producer,
      developer, and operator of video games specializing in online virtual world games for
      PCs, consoles, and mobile devices. Nexon has produced 150 video games which are
      enjoyed by 1.4 billion users in 110 countries.

              Nexon has learned that you and your company IRONMACE Co., Ltd.
      (“Ironmace”), together with Ju-Hyun Choi, and you are making unauthorized use of
      Nexon’s trade secrets and copyrighted material as detailed below. This letter is to
      inform you that Ironmace’s activities constitute misappropriation of Nexon’s trade
      secrets and copyright infringement. On behalf of Nexon, we demand that you and
      Ironmace immediately take all of the steps detailed in this letter to cease the
      misappropriation of Nexon’s trade secrets and infringement of Nexon’s copyrights.

             Since August 2022, Ironmace has been offering for download demo/test
      versions of the videogame titled Dark and Darker on Valve Corporation’s (“Valve”)
      Steam Platform (“Steam”), and Ironmace plans to make the game commercially
      available later in 2023. To date, Ironmace has conducted play tests of Dark and
      Darker on Steam but plans to move to “Early Access” distribution of Dark and
      Darker by late April or early May, which will make a near-final version of the video
      game available to purchasers.

             Based on our investigation, Dark and Darker appears to have been built and
      developed using trade secret as well as copyrighted information copied and stolen
      from Nexon. Under U.S. law, Ironmace’s actions constitute, among other violations,
      misappropriation of Nexon’s trade secrets such as source codes, art resources, build


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files, and other company intellectual property under the Defend Trade Secret Act (the
“DTSA”) and infringement of copyrighted materials such as Literary Work (e.g.,
source codes), Works of Visual Arts (e.g., character designs), and Motion Picture /
AV Work (e.g., Playtest video) under the Copyright Act.

        As you are fully aware, Nexon began developing a new first-person shooter
role-playing game (“FPS-RPG game”) also known as the P3 Game under the P3
Project in August 2020. For 11 months until July 2021, at least 20 Nexon employees
worked exclusively on the P3 Project and Nexon invested more than KRW 1.1 billion
(USD 815,000, using an exchange rate of USD 1 to KRW 1,350) to develop the P3
Game. During this time, Nexon made significant developments to the P3 Game, and
created unique concepts, genre, plot, story line, characters, and plans for the game.
Nexon also created large numbers of proprietary source codes, art resources, and build
files.

       Literary Work, Works of the Visual Art, and Motion Picture / AV Work of
the P3 Game are registered to Nexon and protected by the U.S. copyright law
pursuant to Copyright Registration Nos.:

       1.      Project P3 Codes (computer program), Registration No. TXu 2-355-
               124;
       2.      Project P3 (audiovisual video game material), Registration No. PAu 4-
               169-661;
       3.      Project P3 Playtest (audiovisual material and spoken commentary),
               Registration No. PAu 4-166-909;
       4.      Project P3 Character – Cleric (2D artwork), Registration No. VAu 1-
               491-714;
       5.      Project P3 Character – Ranger (2D artwork), Registration No. VAu 1-
               491-715;
       6.      Project P3 Character – Barbarian (2D artwork), Registration No. VAu
               1-491-716;
       7.      Project P3 Character – Tanker (2D artwork), Registration No. VAu 1-
               491-717;
       8.      Project P3 Character – Thief (2D artwork), Registration No. VAu 1-
               491-719; and
       9.      Project P3 Character – Wizard (2D artwork), Registration No. VAu 1-
               491-720.

Among other things, the above copyright registrations confer upon Nexon the
exclusive rights to reproduce, prepare derivative works, distribute, perform, display,
and transmit the copyrighted material. The certificates of copyright registration are
attached as Exhibit A.

        In addition, Nexon took reasonable measures to maintain confidentiality of its
trade secrets for the P3 Game. These measures include Nexon’s data protection
agreement (which you signed on August 5, 2021), data protection policy, security
guidelines, and explicit verbal instruction that prohibited Nexon employees from

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disclosing confidential company information and Nexon’s trade secrets (e.g., source
codes, art resources, and build files) to third parties even after leaving Nexon, or using
without authorization Nexon’s confidential information and trade secrets for any
purpose other than assigned work for Nexon.

        As you are also undoubtedly well aware, at least one Nexon employee –
specifically, Ju-Hyun Choi (a former Nexon employee and team leader of the P3
Project who had access to all the P3 Project files) – acquired and transferred, without
authorization, more than 11,000 key files of the P3 Project from Nexon’s server to his
personal server in 2020 and 2021. These 11,000 files include, but are not limited to,
the source codes, art resources, and build files of the P3 Game. Ju-Hyun Choi’s
misconduct regarding the unlawful transfer and disclosure of over 11,000 build files
related to the P3 Project is set out in Exhibit B. Following the investigation of Ju-
Hyun Choi’s misconduct, he was disciplined and terminated by Nexon in July 2021.
Ju-Hyun Choi approached P3 Project members and urged them to leave Nexon and
create a game similar to the P3 Game outside of Nexon.

        Like Ju-Hyun Choi, you are also a former Nexon employee. As a former
director of game development at Nexon and the head of the sub-team for the P3
Project at Nexon, you worked on the P3 Game with Ju-Hyun Choi and other Nexon
employees who later joined Ironmace. Shortly after Ju-Hyun Choi was dismissed
from Nexon, you left Nexon on August 9, 2021. Less than two months after you left
Nexon, and only three months after Ju-Hyun Choi left Nexon, you founded Ironmace
on October 20, 2021. Ju-Hyun Choi joined Ironmace shortly thereafter as its
Managing Director. There is reason to believe he is the controlling shareholder of
Nexon and he has been actively engaged in fundraising efforts for the company.
Moreover, ten out of twenty-three P3 Project team members left Nexon, and most are
believed to be currently working at Ironmace.

        We have reason to believe that he stole and misappropriated Nexon’s trade
secrets and copyrights and used them, along with you and Ironmace, in the
development of the counterfeit game, Dark and Darker. As the founder of Ironmace
and a former-P3 Project team member, you knew or should have known that Ju-Hyun
Choi illegally stole Nexon’s trade secrets and copyrighted materials. Despite your
knowledge, you permitted Ironmace to use the stolen trade secrets and Nexon’s
copyrighted materials to develop Dark and Darker. Ironmace has thus knowingly
benefitted from your misappropriation, and will continue to do so once Dark and
Darker is made commercially available. In light of the aforementioned facts,
Ironmace has misappropriated Nexon’s trade secrets under the DTSA and infringed
on Nexon’s copyrighted materials under the Copyright Act.

        Nexon’s P3 Game has never been disclosed to a third party and before the
release of the testing version of Dark and Darker, no other game had the same
concept, genre, and plot as the P3 Game. Within a mere ten months of forming
Ironmace, its demo/test version of Dark and Darker became publicly available in
August 2022. It is impossible for Ironmace to have developed Dark and Darker in
such a short time frame without using Nexon’s trade secrets and confidential

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information. Nexon became immediately concerned about the two games’
similarities, which are so striking that they cannot be reasonably explained through
independent development.

        To investigate, Nexon conducted a comparative analysis of Dark and Darker
with the P3 Game. A preliminary analysis revealed that the resource file names of
2,338 files were identical between the two games. Even if one takes into account that
both games were developed using the same program (e.g., Unreal Engine), the
number of identical file names is too substantial for mere coincidence. For your
reference, the comparison of the file names is appended hereto as Exhibit C.
Additionally, the character designs and other setting and structural designs of Dark
and Darker are suspiciously similar to those of the P3 Game. Our preliminary
comparison of the two games’ character and setting / structural designs is attached as
Exhibit D.

        The level and extent of similarities between the two games’ key concepts,
genre, and story line make it clear that Ironmace must have used Nexon’s trade
secrets and copyrighted materials to create Dark and Darker. Both Dark and Darker
and the P3 Game have the same story setting and even share an almost identical game
description. For example, the premise of both games involves adventurers who delve
into dungeons full of monsters and treasures in their quest to seek riches. Moreover,
Dark and Darker has all the characteristics of the P3 Game, including the PvPvE
genre; FPS and RPG elements; character class; game starting point; and user
interaction with game features. For a more complete comparison, please see
Exhibit D.

       Ironmace’s unlawful conduct make it liable to Nexon for substantial damages,
including statutory damages of up to $150,000 for willful copyright infringement, in
addition to attorney’s fees and other costs incurred by Nexon to enforce its rights.
Nexon is also entitled to injunctive relief to stop Ironmace’s ongoing unlawful misuse
of Nexon’s trade secrets and copyrighted materials.

       Nexon, therefore, demands that you and Ironmace:

       1.      Immediately cease and desist all further development, testing,
production, reproduction, publishing, provision, distribution, transmission, display,
performance, advertising, licensing, and sale of the materials and the game created
from the misappropriation and infringement, including the removal of all test version
from Steam;

        2.    Preserve all evidence related to Dark and Darker and to all related acts
that Ironmace has done for the creation of Dark and Darker, as described above;

       3.      Explain how you and Ironmace intend to return and/or dispose of any
confidential and proprietary information of Nexon that you have in your possession;
and



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        4.    Provide a written assurance, within one week of receipt of this letter,
that Ironmace has taken the requested steps.

        Ironmace’s failure to immediately comply with our demands will likely
compound the damages for which Ironmace may be liable. Furthermore, if we do not
receive all the requested evidence and written assurance or a satisfactory response by
the aforementioned dates, Nexon is prepared to take all steps necessary to protect its
valuable trade secrets and intellectual property rights without further notice to
Ironmace.

        Nothing in this letter should be construed as a waiver, relinquishment,
modification or election of rights or remedies by Nexon. This letter is not an
exhaustive statement of all the relevant facts and law. Nexon expressly reserves all
rights and remedies, including the right to seek injunctive relief and recover monetary
damages, under all applicable federal and state laws.



                                               Sincerely,



                                               James S. Blackburn




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                Exhibit A




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Certificate of Registration
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                     identified below.The information on this certificate has    Registration Number
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                                                                                PAu 4-169-661
                                                                                 Effective Date of Registration:
                                                                                 February 21, 2023
                                                                                 Registration Decision Date:
                     United States Register of Copyrights and Director           March 02. 2023




   Title

                         Title of Work:    Project P3


   Completion/Publication
                  Year of Completion: 2021

   Author

                    •          Author:     NEXON KOREA CORPORATION
                        Author Created:    audiovisual material
                  Work made for hire:      Yes
                             Citizen of:   Korea,South


   Copyright Claimant
                  Copyright Claimant: NEXON KOREA CORPORATION
                                      7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                           Korea,South


   Limitation of copyright claim

     Material excluded from this claim:    source code
        Previous registration and year: TXu002355124,2023

       New material included in claim:     all other video game material

    Rights and Permissions

                  Organization Name: Downs Rachlin Martin PLLC
                                 Name:     Cathleen E. Stadecker
                                Email: tmip@drm.com
                            Telephone: (802)863-2375
                               Address:    199 Main Street, PO Box 190
                                           Burlington, VT 05402-0190 United States

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Certification

                        Name:   Cathleen £. Stadecker
                            Date: Febraary 21,2023
    Applicant's Tracking Number: 12938-254USY1 / GET23-0004-US


                Correspondence: Yes




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                              attests that registration has been made for the work
                              identified below. The information on this certificate has   Registration Number
                              been made a part of the Copyright Office records.
                                                                                          PAu 4-166-909
                                                                                          Effective Date of Registration:
        "^^''1870-'^                                                                      February 09, 2023
                                                                                          Registration Decision Date:
                              United States Register of Copyrights and Director           March 02, 2023




          Title

                                   Title of Work:   Project P3 Playtest


          Completion/Publication
                           Year of Completion: 2021

          Author

                              •           Author:   NEXON KOREA CORPORATION
                                  Author Created: audiovisual material and spoken commentary
                           Work made for hire:      Yes
                                   Citizen of:      Korea,South


          Copyright Ciaimant

                           Copyright Claimant: NEXON KOREA CORPORATION
                                               7, Fangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                                    Korea,South




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                                           Name:    Cathleen E. Stadecker
                                           Email: tmip@drm.com
                                       Telephone: (802)863-2375
                                         Address:   199 Main Street, PO Box 190
                                                    Burlington, VT 05402-0190 United States

              Certification

                                           Name:     Cathleen E. Stadecker

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                     Date: Febraary 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US9


           Correspondence: Yes




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                   identified below.The information on this certificate has     Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-714
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Cleric                                                 ^   "'v.'"



   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of;   Korea,South


   Copyright Ctalmant

                Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487,
                                          Korea,South




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                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathieen E. Stadecker


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                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
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                                                                                Effective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Ranger


   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
                                    7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




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   Certification

                               Name:      Cathleen E. Stadecker


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                        Date; February 09,2023
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            Correspondence: Yes
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                              describing, depicting, or embodying character(s). Compendium 313.4(H).




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                   been made a part of the Copyright Office records.
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                                                                                Elective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03.2023




   Title

                        Title of Work:    Project P3 Character - Barbarian


   Completion/Publication
               Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
               Work made for hire:        Yes
                            Citizen of:   Korea, South


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
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                                          Korea,South




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                                 Email: tmip@drm.com
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                        Alt. Telephone: (802)862-7512
                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

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                       Name:    Cathleen E. Stadecker
                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US2


            Correspondence: Yes
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                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Tanker


   Completion/Publication
                Year of Completion: 2020

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-0 artwork
                Work made for hire:       Yes
                                                                                                            .i-- \   ,
                            Citizen of:   Korea, South
                                                                                                        ■      -C i-


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
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                                          Burlington, VT 05402-0190 United States

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                        Date: February 09,2023
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           Correspondence: Yes
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                                                                                EH'ective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work;    Project P3 Character - Thief


   Completion/Publication
                Year of Completion: 2021

   Author

                   •           Author:    NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                Copyright Claimant: NEXON KOREA CORPORATION
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                                          Korea, South




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                                          Burlington, VT 05402-0190 United States

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                        Date; February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US5


            Correspondence: Yes
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                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
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   Title

                        Title of Work:    Project P3 Character - Wizard


   Completion/Publication
                  Year of Compietion: 2020

   Author

                   •           Author:    NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                  Work made for hire:     Yes
                            Citizen of:   Korea, South


   Copyright Claimant

                  Copyright Claimant: NEXON KOREA CORPORATION
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                                          Korea, South




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                           Telephone: (802)863-2375
                              Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathleen E. Stadecker


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                        Date: Februaiy 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US6


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                Exhibit B




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                        Misconduct of Ju-Hyun Choi
            Regarding Unauthorized Disclosure of the P3 Project Data

Ju-Hyun Choi unlawfully transferred and disclosed approximately 11,602 files of
the data related to the P3 Project

•   From April 2021 to June 18, 2021, 2,747 build files for the P3 Project were
    unlawfully transferred from the Nexon’s Jenkins server to Ju-Hyun Choi's
    (“Choi”) private server located in Seosan without obtaining authorization.

•   From April 7, 2021 to May 11, 2021, 1,719 build files for the P3 Project were
    unlawfully transferred to Choi's private server built on a home PC without
    obtaining authorization.

•   From May 31, 2021 to June 23, 2021, the data related to the P3 Project,
    including source code and art resources, were unlawfully transferred to Choi's
    private server in Seosan without obtaining authorization on over 20 instances.




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                Exhibit C




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 Comparison of Resource File Names Between P3 Game and Dark and Darker
    •   The comparison of resources in the folder created when installing “Dark
        and Darker” to those when installing the P3 Game shows that the two
        games had 2,338 files with the same names.
    •   Even if we exclude the number of files essentially included in the Unreal
        Engine itself from the above, more than 1,000 files had the same file
        names.
    •   Below is the list of resource file names that are identical in “Dark and
        Darker” and the P3 Game.

AK_Acoustic_Portal.uasset                      AkSwitchValue.uexp
AK_Acoustic_Portal.ubulk                       AkTrigger.uasset
AK_Acoustic_Portal.uexp                        AkTrigger.ubulk
AK_Acoustic_Portal_Explorer.uasset             AkTrigger.uexp
AK_Acoustic_Portal_Explorer.uexp               Anechoic.uasset
AK_Reverb_Volume.uasset                        Anechoic.uexp
AK_Reverb_Volume.ubulk                         AnimNotify_AkEvent.uasset
AK_Reverb_Volume.uexp                          AnimNotify_AkEvent.uexp
AK_Reverb_Volume_Explorer.uasset               AssetRegistry.bin
AK_Reverb_Volume_Explorer.uexp                 BP_Arrow.uasset
AK_Spatial_Audio_Volume.uasset                 BP_Arrow.uexp
AK_Spatial_Audio_Volume.ubulk                  BP_Footprint.uasset
AK_Spatial_Audio_Volume.uexp                   BP_Footprint.uexp
AK_Spatial_Audio_Volume_Explorer.uasset        BP_FranciscaAxeProjectile.uasset
AK_Spatial_Audio_Volume_Explorer.uexp          BP_FranciscaAxeProjectile.uexp
Acoustic_Banner.uasset                         BP_ItemActor.uasset
Acoustic_Banner.uexp                           BP_ItemActor.uexp
AkAcousticTexture.uasset                       BP_PlayerController.uasset
AkAcousticTexture.ubulk                        BP_PlayerController.uexp
AkAcousticTexture.uexp                         BP_ThrowingKnifeProjectile.uasset
AkAudioBank.uasset                             BP_ThrowingKnifeProjectile.uexp
AkAudioBank.ubulk                              BP_TorchProjectile.uasset
AkAudioBank.uexp                               BP_TorchProjectile.uexp
AkAudioEvent.uasset                            Backstab.uasset
AkAudioEvent.ubulk                             Backstab.uexp
AkAudioEvent.uexp                              BlockoutToolsFunctions.uasset
AkAuxBus.uasset                                BlockoutToolsFunctions.uexp
AkAuxBus.ubulk                                 BlockoutToolsPlugin.uplugin
AkAuxBus.uexp                                  Blockout_Box.uasset
AkExternalMediaAsset.uasset                    Blockout_Box.uexp
AkExternalMediaAsset.ubulk                     Blockout_Cone.uasset
AkExternalMediaAsset.uexp                      Blockout_Cone.uexp
AkLocalizedMediaAsset.uasset                   Blockout_Corner_Curved.uasset
AkLocalizedMediaAsset.ubulk                    Blockout_Corner_Curved.uexp
AkLocalizedMediaAsset.uexp                     Blockout_Corner_Ramp.uasset
AkMediaAsset.uasset                            Blockout_Corner_Ramp.uexp
AkMediaAsset.ubulk                             Blockout_Cylinder.uasset
AkMediaAsset.uexp                              Blockout_Cylinder.uexp
AkRtpc.uasset                                  Blockout_Doorway.uasset
AkRtpc.ubulk                                   Blockout_Doorway.uexp
AkRtpc.uexp                                    Blockout_Railing.uasset
AkStateValue.uasset                            Blockout_Railing.uexp
AkStateValue.ubulk                             Blockout_Ramp.uasset
AkStateValue.uexp                              Blockout_Ramp.uexp
AkSwitchValue.uasset                           Blockout_Skewbox.uasset
AkSwitchValue.ubulk                            Blockout_Skewbox.uexp



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Blockout_Sphere.uasset                      GA_Rest.uexp
Blockout_Sphere.uexp                        GA_Walk.uasset
Blockout_Stairs_Curved.uasset               GA_Walk.uexp
Blockout_Stairs_Curved.uexp                 GC_Explosion.uasset
Blockout_Stairs_Linear.uasset               GC_Explosion.uexp
Blockout_Stairs_Linear.uexp                 GC_SpellCastReady.uasset
Blockout_Stairs_Linear_Manual.uasset        GC_SpellCastReady.uexp
Blockout_Stairs_Linear_Manual.uexp          GC_SpellCastStart.uasset
Blockout_Tube.uasset                        GC_SpellCastStart.uexp
Blockout_Tube.uexp                          GE_Backstab.uasset
Blockout_Window.uasset                      GE_Backstab.uexp
Blockout_Window.uexp                        GE_InvisibilitySpell.uasset
Brick.uasset                                GE_InvisibilitySpell.uexp
Brick.uexp                                  GE_ShieldExpert.uasset
Candle.uasset                               GE_ShieldExpert.uexp
Candle.uexp                                 GE_Smash.uasset
Carpet.uasset                               GE_Smash.uexp
Carpet.uexp                                 GE_Toughness.uasset
Concrete.uasset                             GE_Toughness.uexp
Concrete.uexp                               GE_Tracking.uasset
Cork_Tiles.uasset                           GE_Tracking.uexp
Cork_Tiles.uexp                             GE_TrapExpert.uasset
Curtains.uasset                             GE_TrapExpert.uexp
Curtains.uexp                               GE_TwoHandedWeaponExpert.uasset
DefaultEngine.ini                           GE_TwoHandedWeaponExpert.uexp
DefaultGame.ini                             GameLiftServerSDK.uplugin
DefaultGameUserSettings.ini                 Game_Parameters_FOLDER.uasset
DefaultGameplayTags.ini                     Game_Parameters_FOLDER.uexp
DefaultInput.ini                            InitBank.uasset
Default_Work_Unit_FOLDER.uasset             InitBank.uexp
Default_Work_Unit_FOLDER.uexp               Lockpick.uasset
Door1.uasset                                Lockpick.uexp
Door1.uexp                                  MF_Blockout_Grid.uasset
Drywall.uasset                              MF_Blockout_Grid.uexp
Drywall.uexp                                MF_Blockout_Triplanar.uasset
EBlockoutAlignment.uasset                   MF_Blockout_Triplanar.uexp
EBlockoutAlignment.uexp                     MF_Blockout_Triplanar_Grid.uasset
EBlockoutRailingType.uasset                 MF_Blockout_Triplanar_Grid.uexp
EBlockoutRailingType.uexp                   MF_Blockout_Triplanar_Normal.uasset
EBlockoutStairsType.uasset                  MF_Blockout_Triplanar_Normal.uexp
EBlockoutStairsType.uexp                    MF_DitheredRefraction.uasset
Events_FOLDER.uasset                        MF_DitheredRefraction.uexp
Events_FOLDER.uexp                          MF_Fresnel_01a.uasset
FX_fire.uasset                              MF_Fresnel_01a.uexp
FX_fire.uexp                                MF_ParticleRandomSize.uasset
Fabric.uasset                               MF_ParticleRandomSize.uexp
Fabric.uexp                                 MF_RGBA_Multiplier.uasset
Fireball.uasset                             MF_RGBA_Multiplier.uexp
Fireball.uexp                               MF_RGBA_Tint.uasset
FranciscaAxe.uasset                         MF_RGBA_Tint.uexp
FranciscaAxe.uexp                           MF_Sand_01a.uasset
Fx_Smoke.uasset                             MF_Sand_01a.uexp
Fx_Smoke.uexp                               MI_Arch_01.uasset
GA_Crouch.uasset                            MI_Arch_01.uexp
GA_Crouch.uexp                              MI_Arch_02.uasset
GA_Interact.uasset                          MI_Arch_02.uexp
GA_Interact.uexp                            MI_Ballustrade_01.uasset
GA_InteractPassive.uasset                   MI_Ballustrade_01.uexp
GA_InteractPassive.uexp                     MI_Barrel.uasset
GA_Rest.uasset                              MI_Barrel.uexp




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MI_BlockoutTools_Custom.uasset        M_SKMage_Staff_Dark.uasset
MI_BlockoutTools_Custom.uexp          M_SKMage_Staff_Dark.uexp
MI_BlockoutTools_Grid.uasset          M_SK_Skeleton_Sand.uasset
MI_BlockoutTools_Grid.uexp            M_SK_Skeleton_Sand.uexp
MI_Brick_Rubble_01.uasset             M_SK_Skull_Sand.uasset
MI_Brick_Rubble_01.uexp               M_SK_Skull_Sand.uexp
MI_Bricks_01.uasset                   Master-Mixer_Hierarchy_FOLDER.uasset
MI_Bricks_01.uexp                     Master-Mixer_Hierarchy_FOLDER.uexp
MI_Column_01.uasset                   Master_Audio_Bus_FOLDER.uasset
MI_Column_01.uexp                     Master_Audio_Bus_FOLDER.uexp
MI_Column_02.uasset                   Mountain.uasset
MI_Column_02.uexp                     Mountain.uexp
MI_Floor_01.uasset                    RGBA_Mask_NoTint.uasset
MI_Floor_01.uexp                      RGBA_Mask_NoTint.uexp
MI_Floor_Bricks_01.uasset             SM_Arch_8m_01.uasset
MI_Floor_Bricks_01.uexp               SM_Arch_8m_01.uexp
MI_Lockpick.uasset                    SM_Arch_8m_06.uasset
MI_Lockpick.uexp                      SM_Arch_8m_06.uexp
MI_Metal_01.uasset                    SM_Arch_Top_01.uasset
MI_Metal_01.uexp                      SM_Arch_Top_01.uexp
MI_Stair_01.uasset                    SM_Arch_Top_02.uasset
MI_Stair_01.uexp                      SM_Arch_Top_02.uexp
MI_Stone_Damaged_01.uasset            SM_Arch_Top_03.uasset
MI_Stone_Damaged_01.uexp              SM_Arch_Top_03.uexp
MI_Trim_01.uasset                     SM_Arch_Top_04.uasset
MI_Trim_01.uexp                       SM_Arch_Top_04.uexp
MI_Trim_02.uasset                     SM_Archway_01.uasset
MI_Trim_02.uexp                       SM_Archway_01.uexp
MI_Trim_07.uasset                     SM_Archway_02.uasset
MI_Trim_07.uexp                       SM_Archway_02.uexp
MI_Wall_01.uasset                     SM_Archway_03.uasset
MI_Wall_01.uexp                       SM_Archway_03.uexp
MI_Wall_02.uasset                     SM_Archway_Ruined_03.uasset
MI_Wall_02.uexp                       SM_Archway_Ruined_03.uexp
MI_Wall_03.uasset                     SM_Ballustrade_01.uasset
MI_Wall_03.uexp                       SM_Ballustrade_01.uexp
MI_Wood_01.uasset                     SM_Ballustrade_Ruined_04.uasset
MI_Wood_01.uexp                       SM_Ballustrade_Ruined_04.uexp
MM_Master_Material_01a.uasset         SM_Ballustrade_Ruined_05.uasset
MM_Master_Material_01a.uexp           SM_Ballustrade_Ruined_05.uexp
M_Base.uasset                         SM_Ballustrade_Ruined_06.uasset
M_Base.uexp                           SM_Ballustrade_Ruined_06.uexp
M_Base_GlobalTint.uasset              SM_Ballustrade_Ruined_07.uasset
M_Base_GlobalTint.uexp                SM_Ballustrade_Ruined_07.uexp
M_BlockoutTools_Custom.uasset         SM_Barrel_Ceiling_01.uasset
M_BlockoutTools_Custom.uexp           SM_Barrel_Ceiling_01.uexp
M_BlockoutTools_Grid.uasset           SM_Bars_Doorway_01.uasset
M_BlockoutTools_Grid.uexp             SM_Bars_Doorway_01.uexp
M_Distortion.uasset                   SM_Blind_Arch_02.uasset
M_Distortion.uexp                     SM_Blind_Arch_02.uexp
M_Outline.uasset                      SM_Blockout_Box.uasset
M_Outline.uexp                        SM_Blockout_Box.uexp
M_Radial_Gradient.uasset              SM_Blockout_Box_Centered.uasset
M_Radial_Gradient.uexp                SM_Blockout_Box_Centered.uexp
M_SKMage_Clothes01_Dark.uasset        SM_Blockout_Box_Right.uasset
M_SKMage_Clothes01_Dark.uexp          SM_Blockout_Box_Right.uexp
M_SKMage_Clothes02_Dark.uasset        SM_Blockout_Cone_Q1.uasset
M_SKMage_Clothes02_Dark.uexp          SM_Blockout_Cone_Q1.uexp
M_SKMage_Clothes03_Dark.uasset        SM_Blockout_Cone_Q2.uasset
M_SKMage_Clothes03_Dark.uexp          SM_Blockout_Cone_Q2.uexp




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SM_Blockout_Cone_Q3.uasset                       SM_Blockout_Step_Sloped_Linear.uasset
SM_Blockout_Cone_Q3.uexp                         SM_Blockout_Step_Sloped_Linear.uexp
SM_Blockout_Cone_Q4.uasset                       SM_BonesPile01.uasset
SM_Blockout_Cone_Q4.uexp                         SM_BonesPile01.uexp
SM_Blockout_Corner_Ramp.uasset                   SM_BonesPile02.uasset
SM_Blockout_Corner_Ramp.uexp                     SM_BonesPile02.uexp
SM_Blockout_Curved_Corner_Inner_Q1.uasset        SM_BonesPile03.uasset
SM_Blockout_Curved_Corner_Inner_Q1.uexp          SM_BonesPile03.uexp
SM_Blockout_Curved_Corner_Inner_Q2.uasset        SM_BonesPile05.uasset
SM_Blockout_Curved_Corner_Inner_Q2.uexp          SM_BonesPile05.uexp
SM_Blockout_Curved_Corner_Inner_Q3.uasset        SM_Brick_Column_Ruined_02.uasset
SM_Blockout_Curved_Corner_Inner_Q3.uexp          SM_Brick_Column_Ruined_02.uexp
SM_Blockout_Curved_Corner_Inner_Q4.uasset        SM_Brick_Column_Ruined_03.uasset
SM_Blockout_Curved_Corner_Inner_Q4.uexp          SM_Brick_Column_Ruined_03.uexp
SM_Blockout_Curved_Corner_Outer_Q1.uasset        SM_ClayPot_11.uasset
SM_Blockout_Curved_Corner_Outer_Q1.uexp          SM_ClayPot_11.uexp
SM_Blockout_Curved_Corner_Outer_Q2.uasset        SM_ClayPot_13.uasset
SM_Blockout_Curved_Corner_Outer_Q2.uexp          SM_ClayPot_13.uexp
SM_Blockout_Curved_Corner_Outer_Q3.uasset        SM_Column1_01.uasset
SM_Blockout_Curved_Corner_Outer_Q3.uexp          SM_Column1_01.uexp
SM_Blockout_Curved_Corner_Outer_Q4.uasset        SM_Column1_02.uasset
SM_Blockout_Curved_Corner_Outer_Q4.uexp          SM_Column1_02.uexp
SM_Blockout_Cylinder_Q1.uasset                   SM_Column_01.uasset
SM_Blockout_Cylinder_Q1.uexp                     SM_Column_01.uexp
SM_Blockout_Cylinder_Q2.uasset                   SM_Column_01b.uasset
SM_Blockout_Cylinder_Q2.uexp                     SM_Column_01b.uexp
SM_Blockout_Cylinder_Q3.uasset                   SM_Column_02.uasset
SM_Blockout_Cylinder_Q3.uexp                     SM_Column_02.uexp
SM_Blockout_Cylinder_Q4.uasset                   SM_Column_03.uasset
SM_Blockout_Cylinder_Q4.uexp                     SM_Column_03.uexp
SM_Blockout_Hemisphere_Q1.uasset                 SM_Column_05.uasset
SM_Blockout_Hemisphere_Q1.uexp                   SM_Column_05.uexp
SM_Blockout_Hemisphere_Q2.uasset                 SM_Column_05a.uasset
SM_Blockout_Hemisphere_Q2.uexp                   SM_Column_05a.uexp
SM_Blockout_Hemisphere_Q3.uasset                 SM_Column_07.uasset
SM_Blockout_Hemisphere_Q3.uexp                   SM_Column_07.uexp
SM_Blockout_Hemisphere_Q4.uasset                 SM_Column_Ruined_02.uasset
SM_Blockout_Hemisphere_Q4.uexp                   SM_Column_Ruined_02.uexp
SM_Blockout_Railing_Closed.uasset                SM_Column_Ruined_04.uasset
SM_Blockout_Railing_Closed.uexp                  SM_Column_Ruined_04.uexp
SM_Blockout_Railing_Open.uasset                  SM_Column_Ruined_05.uasset
SM_Blockout_Railing_Open.uexp                    SM_Column_Ruined_05.uexp
SM_Blockout_Railing_Pole.uasset                  SM_Debris_01.uasset
SM_Blockout_Railing_Pole.uexp                    SM_Debris_01.uexp
SM_Blockout_Ramp.uasset                          SM_Debris_02.uasset
SM_Blockout_Ramp.uexp                            SM_Debris_02.uexp
SM_Blockout_Sphere_Q1.uasset                     SM_Debris_Floor_01.uasset
SM_Blockout_Sphere_Q1.uexp                       SM_Debris_Floor_01.uexp
SM_Blockout_Sphere_Q2.uasset                     SM_Debris_Floor_02.uasset
SM_Blockout_Sphere_Q2.uexp                       SM_Debris_Floor_02.uexp
SM_Blockout_Sphere_Q3.uasset                     SM_Debris_Floor_03.uasset
SM_Blockout_Sphere_Q3.uexp                       SM_Debris_Floor_03.uexp
SM_Blockout_Sphere_Q4.uasset                     SM_Debris_Floor_04.uasset
SM_Blockout_Sphere_Q4.uexp                       SM_Debris_Floor_04.uexp
SM_Blockout_Step_Box.uasset                      SM_Debris_Floor_05.uasset
SM_Blockout_Step_Box.uexp                        SM_Debris_Floor_05.uexp
SM_Blockout_Step_Box_Centered.uasset             SM_Floor_01.uasset
SM_Blockout_Step_Box_Centered.uexp               SM_Floor_01.uexp
SM_Blockout_Step_Sloped_Centered.uasset          SM_Floor_Half_01.uasset
SM_Blockout_Step_Sloped_Centered.uexp            SM_Floor_Half_01.uexp




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SM_Floor_Half_02.uasset              SM_Wall_Low_04.uasset
SM_Floor_Half_02.uexp                SM_Wall_Low_04.uexp
SM_Floor_Ruined_01.uasset            SM_Wall_Low_05.uasset
SM_Floor_Ruined_01.uexp              SM_Wall_Low_05.uexp
SM_Floor_Ruined_04.uasset            SM_Wall_Low_06.uasset
SM_Floor_Ruined_04.uexp              SM_Wall_Low_06.uexp
SM_Floor_Ruined_06.uasset            SM_Wall_Ruined_01.uasset
SM_Floor_Ruined_06.uexp              SM_Wall_Ruined_01.uexp
SM_Floor_Ruined_08.uasset            SM_Wall_Ruined_09.uasset
SM_Floor_Ruined_08.uexp              SM_Wall_Ruined_09.uexp
SM_Metal_Door_01.uasset              SM_Wall_Ruined_10.uasset
SM_Metal_Door_01.uexp                SM_Wall_Ruined_10.uexp
SM_Niche2_1.uasset                   SM_Wall_Ruined_11.uasset
SM_Niche2_1.uexp                     SM_Wall_Ruined_11.uexp
SM_Pier_02.uasset                    SM_Wall_Ruined_14.uasset
SM_Pier_02.uexp                      SM_Wall_Ruined_14.uexp
SM_Pilaster_01.uasset                SM_Wall_Ruined_31.uasset
SM_Pilaster_01.uexp                  SM_Wall_Ruined_31.uexp
SM_Pilaster_02.uasset                SM_Wall_Thick_01.uasset
SM_Pilaster_02.uexp                  SM_Wall_Thick_01.uexp
SM_Pilaster_02a.uasset               SM_Wall_Thick_Ruined_01.uasset
SM_Pilaster_02a.uexp                 SM_Wall_Thick_Ruined_01.uexp
SM_Pilaster_03.uasset                SM_Wall_Thick_Ruined_010.uasset
SM_Pilaster_03.uexp                  SM_Wall_Thick_Ruined_010.uexp
SM_Pilaster_03a.uasset               SM_Wall_Thick_Ruined_03.uasset
SM_Pilaster_03a.uexp                 SM_Wall_Thick_Ruined_03.uexp
SM_Plank_01.uasset                   SM_Wall_Thick_Ruined_07.uasset
SM_Plank_01.uexp                     SM_Wall_Thick_Ruined_07.uexp
SM_Planks_02.uasset                  SM_Wall_Thick_Ruined_08.uasset
SM_Planks_02.uexp                    SM_Wall_Thick_Ruined_08.uexp
SM_Pylon2_01.uasset                  SM_Window_02.uasset
SM_Pylon2_01.uexp                    SM_Window_02.uexp
SM_Pylon6_02.uasset                  SM_Wooden_Beam_01.uasset
SM_Pylon6_02.uexp                    SM_Wooden_Beam_01.uexp
SM_Scaffolding_04.uasset             SM_Wooden_Beam_03.uasset
SM_Scaffolding_04.uexp               SM_Wooden_Beam_03.uexp
SM_Scaffolding_07.uasset             SM_Wooden_Floor_01.uasset
SM_Scaffolding_07.uexp               SM_Wooden_Floor_01.uexp
SM_Scull1_02.uasset                  SM_Wooden_Floor_Ruined_01.uasset
SM_Scull1_02.uexp                    SM_Wooden_Floor_Ruined_01.uexp
SM_SkeletonPose02.uasset             SM_Wooden_Floor_Ruined_09.uasset
SM_SkeletonPose02.uexp               SM_Wooden_Floor_Ruined_09.uexp
SM_Sphere.uasset                     SM_Wooden_Stair_01.uasset
SM_Sphere.uexp                       SM_Wooden_Stair_01.uexp
SM_Stair_02.uasset                   SM_Wooden_Support_01.uasset
SM_Stair_02.uexp                     SM_Wooden_Support_01.uexp
SM_Stair_Tileable_02.uasset          SM_Wooden_Support_07.uasset
SM_Stair_Tileable_02.uexp            SM_Wooden_Support_07.uexp
SM_Stair_Tileable_03.uasset          SM_Wooden_Support_08.uasset
SM_Stair_Tileable_03.uexp            SM_Wooden_Support_08.uexp
SM_Wall_01.uasset                    SM_Wooden_Support_09.uasset
SM_Wall_01.uexp                      SM_Wooden_Support_09.uexp
SM_Wall_Corner_02.uasset             SM_Wooden_Support_11.uasset
SM_Wall_Corner_02.uexp               SM_Wooden_Support_11.uexp
SM_Wall_Corner_03.uasset             SSP_caucasian.uasset
SM_Wall_Corner_03.uexp               SSP_caucasian.uexp
SM_Wall_Corner_Half_02.uasset        S_AkComponent.uasset
SM_Wall_Corner_Half_02.uexp          S_AkComponent.uexp
SM_Wall_Corner_Half_03.uasset        S_AkSpotReflector.uasset
SM_Wall_Corner_Half_03.uexp          S_AkSpotReflector.uexp




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ShaderArchive-Global-                T_Bricks_01_BC.uexp
PCD3D_SM5.ushaderbytecode            T_Bricks_01_N.uasset
ShieldExpert.uasset                  T_Bricks_01_N.ubulk
ShieldExpert.uexp                    T_Bricks_01_N.uexp
Smash.uasset                         T_ClayPot_01_D.uasset
Smash.uexp                           T_ClayPot_01_D.ubulk
SmokeBomb.uasset                     T_ClayPot_01_D.uexp
SmokeBomb.uexp                       T_ClayPot_01_N.uasset
States_FOLDER.uasset                 T_ClayPot_01_N.ubulk
States_FOLDER.uexp                   T_ClayPot_01_N.uexp
Switches_FOLDER.uasset               T_Column1_01_D.uasset
Switches_FOLDER.uexp                 T_Column1_01_D.ubulk
TX_Cube_01a_CUBE.uasset              T_Column1_01_D.uexp
TX_Cube_01a_CUBE.uexp                T_Column1_01_N.uasset
T_Arch_01_BC.uasset                  T_Column1_01_N.ubulk
T_Arch_01_BC.ubulk                   T_Column1_01_N.uexp
T_Arch_01_BC.uexp                    T_Column1_02_D.uasset
T_Arch_01_N.uasset                   T_Column1_02_D.ubulk
T_Arch_01_N.ubulk                    T_Column1_02_D.uexp
T_Arch_01_N.uexp                     T_Column1_02_N.uasset
T_Arch_02_BC.uasset                  T_Column1_02_N.ubulk
T_Arch_02_BC.ubulk                   T_Column1_02_N.uexp
T_Arch_02_BC.uexp                    T_Column_01_BC.uasset
T_Arch_02_N.uasset                   T_Column_01_BC.ubulk
T_Arch_02_N.ubulk                    T_Column_01_BC.uexp
T_Arch_02_N.uexp                     T_Column_01_N.uasset
T_Ballustrade_01_BC.uasset           T_Column_01_N.ubulk
T_Ballustrade_01_BC.ubulk            T_Column_01_N.uexp
T_Ballustrade_01_BC.uexp             T_Column_02_BC.uasset
T_Ballustrade_01_N.uasset            T_Column_02_BC.ubulk
T_Ballustrade_01_N.ubulk             T_Column_02_BC.uexp
T_Ballustrade_01_N.uexp              T_Entrance01_D.uasset
T_Blank_N.uasset                     T_Entrance01_D.ubulk
T_Blank_N.uexp                       T_Entrance01_D.uexp
T_Blockout_Actor_Icon.uasset         T_Entrance01_N.uasset
T_Blockout_Actor_Icon.ubulk          T_Entrance01_N.ubulk
T_Blockout_Actor_Icon.uexp           T_Entrance01_N.uexp
T_Blockout_Grid.uasset               T_Floor_01_BC.uasset
T_Blockout_Grid.ubulk                T_Floor_01_BC.ubulk
T_Blockout_Grid.uexp                 T_Floor_01_BC.uexp
T_BonesPile_D.uasset                 T_Floor_01_N.uasset
T_BonesPile_D.ubulk                  T_Floor_01_N.ubulk
T_BonesPile_D.uexp                   T_Floor_01_N.uexp
T_BonesPile_N.uasset                 T_Floor_Bricks_01_BC.uasset
T_BonesPile_N.ubulk                  T_Floor_Bricks_01_BC.ubulk
T_BonesPile_N.uexp                   T_Floor_Bricks_01_BC.uexp
T_Brick_Rubble_01_BC.uasset          T_Floor_Bricks_01_N.uasset
T_Brick_Rubble_01_BC.ubulk           T_Floor_Bricks_01_N.ubulk
T_Brick_Rubble_01_BC.uexp            T_Floor_Bricks_01_N.uexp
T_Brick_Rubble_01_N.uasset           T_Lamp01_D.uasset
T_Brick_Rubble_01_N.ubulk            T_Lamp01_D.ubulk
T_Brick_Rubble_01_N.uexp             T_Lamp01_D.uexp
T_Brick_Rubble_02_BC.uasset          T_Lamp01_N.uasset
T_Brick_Rubble_02_BC.ubulk           T_Lamp01_N.ubulk
T_Brick_Rubble_02_BC.uexp            T_Lamp01_N.uexp
T_Brick_Rubble_02_N.uasset           T_Metal_Surface_01_BC.uasset
T_Brick_Rubble_02_N.ubulk            T_Metal_Surface_01_BC.ubulk
T_Brick_Rubble_02_N.uexp             T_Metal_Surface_01_BC.uexp
T_Bricks_01_BC.uasset                T_Metal_Surface_01_M.uasset
T_Bricks_01_BC.ubulk                 T_Metal_Surface_01_M.ubulk




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T_Metal_Surface_01_M.uexp                  T_SkMage_Clothes01_AO.uasset
T_Metal_Surface_01_N.uasset                T_SkMage_Clothes01_AO.ubulk
T_Metal_Surface_01_N.ubulk                 T_SkMage_Clothes01_AO.uexp
T_Metal_Surface_01_N.uexp                  T_SkMage_Clothes01_BaseColor_Blue.uasset
T_Niche1_D.uasset                          T_SkMage_Clothes01_BaseColor_Blue.ubulk
T_Niche1_D.ubulk                           T_SkMage_Clothes01_BaseColor_Blue.uexp
T_Niche1_D.uexp                            T_SkMage_Clothes01_BaseColor_Dark.uasset
T_Niche1_N.uasset                          T_SkMage_Clothes01_BaseColor_Dark.ubulk
T_Niche1_N.ubulk                           T_SkMage_Clothes01_BaseColor_Dark.uexp
T_Niche1_N.uexp                            T_SkMage_Clothes01_BaseColor_Desert.uasset
T_Niche2_D.uasset                          T_SkMage_Clothes01_BaseColor_Desert.ubulk
T_Niche2_D.ubulk                           T_SkMage_Clothes01_BaseColor_Desert.uexp
T_Niche2_D.uexp                            T_SkMage_Clothes01_BaseColor_Green.uasset
T_Niche2_N.uasset                          T_SkMage_Clothes01_BaseColor_Green.ubulk
T_Niche2_N.ubulk                           T_SkMage_Clothes01_BaseColor_Green.uexp
T_Niche2_N.uexp                            T_SkMage_Clothes01_BaseColor_Red.uasset
T_Pylon2_D.uasset                          T_SkMage_Clothes01_BaseColor_Red.ubulk
T_Pylon2_D.ubulk                           T_SkMage_Clothes01_BaseColor_Red.uexp
T_Pylon2_D.uexp                            T_SkMage_Clothes01_Metallic.uasset
T_Pylon2_N.uasset                          T_SkMage_Clothes01_Metallic.ubulk
T_Pylon2_N.ubulk                           T_SkMage_Clothes01_Metallic.uexp
T_Pylon2_N.uexp                            T_SkMage_Clothes01_Normal.uasset
T_Pylon6_D.uasset                          T_SkMage_Clothes01_Normal.ubulk
T_Pylon6_D.ubulk                           T_SkMage_Clothes01_Normal.uexp
T_Pylon6_D.uexp                            T_SkMage_Clothes01_Roughness.uasset
T_Pylon6_N.uasset                          T_SkMage_Clothes01_Roughness.ubulk
T_Pylon6_N.ubulk                           T_SkMage_Clothes01_Roughness.uexp
T_Pylon6_N.uexp                            T_SkMage_Clothes02_AO.uasset
T_Ring.uasset                              T_SkMage_Clothes02_AO.ubulk
T_Ring.uexp                                T_SkMage_Clothes02_AO.uexp
T_SK_Skeleton_AO.uasset                    T_SkMage_Clothes02_BaseColor_Blue.uasset
T_SK_Skeleton_AO.ubulk                     T_SkMage_Clothes02_BaseColor_Blue.ubulk
T_SK_Skeleton_AO.uexp                      T_SkMage_Clothes02_BaseColor_Blue.uexp
T_SK_Skeleton_BaseColor_Sand.uasset        T_SkMage_Clothes02_BaseColor_Dark.uasset
T_SK_Skeleton_BaseColor_Sand.ubulk         T_SkMage_Clothes02_BaseColor_Dark.ubulk
T_SK_Skeleton_BaseColor_Sand.uexp          T_SkMage_Clothes02_BaseColor_Dark.uexp
T_SK_Skeleton_Metallic.uasset              T_SkMage_Clothes02_BaseColor_Desert.uasset
T_SK_Skeleton_Metallic.ubulk               T_SkMage_Clothes02_BaseColor_Desert.ubulk
T_SK_Skeleton_Metallic.uexp                T_SkMage_Clothes02_BaseColor_Desert.uexp
T_SK_Skeleton_Normal.uasset                T_SkMage_Clothes02_BaseColor_Green.uasset
T_SK_Skeleton_Normal.ubulk                 T_SkMage_Clothes02_BaseColor_Green.ubulk
T_SK_Skeleton_Normal.uexp                  T_SkMage_Clothes02_BaseColor_Green.uexp
T_SK_Skeleton_Roughness.uasset             T_SkMage_Clothes02_BaseColor_Red.uasset
T_SK_Skeleton_Roughness.ubulk              T_SkMage_Clothes02_BaseColor_Red.ubulk
T_SK_Skeleton_Roughness.uexp               T_SkMage_Clothes02_BaseColor_Red.uexp
T_SK_Skull_AO.uasset                       T_SkMage_Clothes02_Metallic.uasset
T_SK_Skull_AO.ubulk                        T_SkMage_Clothes02_Metallic.ubulk
T_SK_Skull_AO.uexp                         T_SkMage_Clothes02_Metallic.uexp
T_SK_Skull_BaseColor_Sand.uasset           T_SkMage_Clothes02__Normal.uasset
T_SK_Skull_BaseColor_Sand.ubulk            T_SkMage_Clothes02__Normal.ubulk
T_SK_Skull_BaseColor_Sand.uexp             T_SkMage_Clothes02__Normal.uexp
T_SK_Skull_Metallic.uasset                 T_SkMage_Clothes02__Roughness.uasset
T_SK_Skull_Metallic.ubulk                  T_SkMage_Clothes02__Roughness.ubulk
T_SK_Skull_Metallic.uexp                   T_SkMage_Clothes02__Roughness.uexp
T_SK_Skull_Normal.uasset                   T_SkMage_Clothes03_AO.uasset
T_SK_Skull_Normal.ubulk                    T_SkMage_Clothes03_AO.ubulk
T_SK_Skull_Normal.uexp                     T_SkMage_Clothes03_AO.uexp
T_SK_Skull_Roughness.uasset                T_SkMage_Clothes03_BaseColor_Blue.uasset
T_SK_Skull_Roughness.ubulk                 T_SkMage_Clothes03_BaseColor_Blue.ubulk
T_SK_Skull_Roughness.uexp                  T_SkMage_Clothes03_BaseColor_Blue.uexp




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T_SkMage_Clothes03_BaseColor_Dark.uasset          T_Stone_Damaged_01_N.uasset
T_SkMage_Clothes03_BaseColor_Dark.ubulk           T_Stone_Damaged_01_N.ubulk
T_SkMage_Clothes03_BaseColor_Dark.uexp            T_Stone_Damaged_01_N.uexp
T_SkMage_Clothes03_BaseColor_Desert.uasset        T_TilingClouds_01.uasset
T_SkMage_Clothes03_BaseColor_Desert.ubulk         T_TilingClouds_01.ubulk
T_SkMage_Clothes03_BaseColor_Desert.uexp          T_TilingClouds_01.uexp
T_SkMage_Clothes03_BaseColor_Green.uasset         T_TilingNoise03.uasset
T_SkMage_Clothes03_BaseColor_Green.ubulk          T_TilingNoise03.ubulk
T_SkMage_Clothes03_BaseColor_Green.uexp           T_TilingNoise03.uexp
T_SkMage_Clothes03_BaseColor_Red.uasset           T_Trim_01_BC.uasset
T_SkMage_Clothes03_BaseColor_Red.ubulk            T_Trim_01_BC.ubulk
T_SkMage_Clothes03_BaseColor_Red.uexp             T_Trim_01_BC.uexp
T_SkMage_Clothes03_Metallic.uasset                T_Trim_02_BC.uasset
T_SkMage_Clothes03_Metallic.ubulk                 T_Trim_02_BC.ubulk
T_SkMage_Clothes03_Metallic.uexp                  T_Trim_02_BC.uexp
T_SkMage_Clothes03_Normal.uasset                  T_Trim_02_N.uasset
T_SkMage_Clothes03_Normal.ubulk                   T_Trim_02_N.ubulk
T_SkMage_Clothes03_Normal.uexp                    T_Trim_02_N.uexp
T_SkMage_Clothes03_Roughness.uasset               T_Trim_07_BC.uasset
T_SkMage_Clothes03_Roughness.ubulk                T_Trim_07_BC.ubulk
T_SkMage_Clothes03_Roughness.uexp                 T_Trim_07_BC.uexp
T_SkMage_Staff_AO.uasset                          T_Trim_07_N.uasset
T_SkMage_Staff_AO.ubulk                           T_Trim_07_N.ubulk
T_SkMage_Staff_AO.uexp                            T_Trim_07_N.uexp
T_SkMage_Staff_BaseColor_Dark.uasset              T_Wall01_D.uasset
T_SkMage_Staff_BaseColor_Dark.ubulk               T_Wall01_D.ubulk
T_SkMage_Staff_BaseColor_Dark.uexp                T_Wall01_D.uexp
T_SkMage_Staff_Metallic.uasset                    T_Wall01_N.uasset
T_SkMage_Staff_Metallic.ubulk                     T_Wall01_N.ubulk
T_SkMage_Staff_Metallic.uexp                      T_Wall01_N.uexp
T_SkMage_Staff_Normal.uasset                      T_Wall_01_BC.uasset
T_SkMage_Staff_Normal.ubulk                       T_Wall_01_BC.ubulk
T_SkMage_Staff_Normal.uexp                        T_Wall_01_BC.uexp
T_SkMage_Staff_Roughness.uasset                   T_Wall_01_N.uasset
T_SkMage_Staff_Roughness.ubulk                    T_Wall_01_N.ubulk
T_SkMage_Staff_Roughness.uexp                     T_Wall_01_N.uexp
T_Skeleton_D.uasset                               T_Wall_03_BC.uasset
T_Skeleton_D.ubulk                                T_Wall_03_BC.ubulk
T_Skeleton_D.uexp                                 T_Wall_03_BC.uexp
T_Skeleton_N.uasset                               T_Wall_03_N.uasset
T_Skeleton_N.ubulk                                T_Wall_03_N.ubulk
T_Skeleton_N.uexp                                 T_Wall_03_N.uexp
T_SmokeTile.uasset                                T_Water_M.uasset
T_SmokeTile.ubulk                                 T_Water_M.ubulk
T_SmokeTile.uexp                                  T_Water_M.uexp
T_SmokeTile_N.uasset                              T_Wood_01_BC.uasset
T_SmokeTile_N.ubulk                               T_Wood_01_BC.ubulk
T_SmokeTile_N.uexp                                T_Wood_01_BC.uexp
T_Smoke_Tiled_D.uasset                            T_Wood_01_N.uasset
T_Smoke_Tiled_D.ubulk                             T_Wood_01_N.ubulk
T_Smoke_Tiled_D.uexp                              T_Wood_01_N.uexp
T_Stair_01_BC.uasset                              T_helmet_north_01_D.uasset
T_Stair_01_BC.ubulk                               T_helmet_north_01_D.ubulk
T_Stair_01_BC.uexp                                T_helmet_north_01_D.uexp
T_Stair_01_N.uasset                               T_helmet_north_01_N.uasset
T_Stair_01_N.ubulk                                T_helmet_north_01_N.ubulk
T_Stair_01_N.uexp                                 T_helmet_north_01_N.uexp
T_Stone_Damaged_01_BC.uasset                      T_helmet_north_01_ORM.uasset
T_Stone_Damaged_01_BC.ubulk                       T_helmet_north_01_ORM.ubulk
T_Stone_Damaged_01_BC.uexp                        T_helmet_north_01_ORM.uexp




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Textures_FOLDER.uasset                      folder_nor.uexp
Textures_FOLDER.uexp                        fx_fire_D.uasset
ThrowingKnife.uasset                        fx_fire_D.ubulk
ThrowingKnife.uexp                          fx_fire_D.uexp
Tile.uasset                                 fx_smoke_D.uasset
Tile.uexp                                   fx_smoke_D.ubulk
Titlebar_WwiseAppIcon.uasset                fx_smoke_D.uexp
Titlebar_WwiseAppIcon.uexp                  gameparameter_nor.uasset
Torch.uasset                                gameparameter_nor.uexp
Torch.uexp                                  layer_container_nor.uasset
Toughness.uasset                            layer_container_nor.uexp
Toughness.uexp                              motion_bus_nor.uasset
Tracking.uasset                             motion_bus_nor.uexp
Tracking.uexp                               physical_folder_nor.uasset
TrapExpert.uasset                           physical_folder_nor.uexp
TrapExpert.uexp                             sfx.uasset
Triggers_FOLDER.uasset                      sfx.uexp
Triggers_FOLDER.uexp                        sound_fx_nor.uasset
TwoHandedWeaponExpert.uasset                sound_fx_nor.uexp
TwoHandedWeaponExpert.uexp                  state_nor.uasset
UIFunctionLibrary.uasset                    state_nor.uexp
UIFunctionLibrary.uexp                      stategroup_nor.uasset
Virtual_Acoustics_FOLDER.uasset             stategroup_nor.uexp
Virtual_Acoustics_FOLDER.uexp               switch_nor.uasset
WB_Item.uasset                              switch_nor.uexp
WB_Item.uexp                                switchgroup_nor.uasset
WB_ItemTooltip.uasset                       switchgroup_nor.uexp
WB_ItemTooltip.uexp                         trigger_nor.uasset
WB_SpellSlot.uasset                         trigger_nor.uexp
WB_SpellSlot.uexp                           workunit_nor.uasset
Wood.uasset                                 workunit_nor.uexp
Wood.uexp                                   wproj.uasset
Wood_Bright.uasset                          wproj.uexp
Wood_Bright.uexp                            wwise_icon_16.uasset
Wood_Deep.uasset                            wwise_icon_16.uexp
Wood_Deep.uexp                              wwise_icon_512.uasset
Wwise.uplugin                               wwise_icon_512.ubulk
acoutex_nor.uasset                          wwise_icon_512.uexp
acoutex_nor.uexp                            wwise_logo_32.uasset
actor_mixer_nor.uasset                      wwise_logo_32.uexp
actor_mixer_nor.uexp
auxbus_nor.uasset
auxbus_nor.uexp
base_black_d.uasset
base_black_d.uexp
base_flat_n.uasset
base_flat_n.uexp
base_gray_d.uasset
base_gray_d.uexp
base_white_d.uasset
base_white_d.uexp
bus_nor.uasset
bus_nor.uexp
container_random_sequence_nor.uasset
container_random_sequence_nor.uexp
container_switch_nor.uasset
container_switch_nor.uexp
event_nor.uasset
event_nor.uexp
folder_nor.uasset




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                Exhibit D




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            Similarities between the P3 Game and Dark and Darker

1. Character Design

   –   The P3 Game and Dark and Darker have the same types of character
       classes: Barbarian, Cleric, Tanker (Fighter), Thief (Rogue), Wizard, and
       Ranger.

   –   As shown below, the character designs for each class are very similar.
       ✓ The Barbarian
                The P3 Game                           Dark and Darker




       ✓ The Cleric
                 The P3 Game                          Dark and Darker




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     ✓ The Tanker (Fighter)
            The P3 Game                 Dark and Darker




     ✓ The Wizard
             The P3 Game                   Dark and Darker




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      ✓ The Thief (Rogue)
            The P3 Game                           Dark and Darker




      ✓ The Ranger
               The P3 Game                           Dark and Darker




  2. Setting / Structural Design

  –   The P3 Game is intended to demonstrate a fearful and dark atmosphere by
      using dungeons with dark brick walls as a background setting of the game
      and introduced torch-related in-game features (i.e. features that allow users
      to use their torches to improve vision and light up or extinguish the torches
      already installed in dungeons) to maximize such atmosphere. However,
      these setting and features are also implemented as is in Dark and Darker.




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                  The P3 Game                             Dark and Darker




3. Key Concept (Genre, Storyline, Detailed Elements of the Games)

   –    The P3 Game and Dark and Darker have similar story setting that “many
        adventurers who heard a rumor that they can become rich gather around to
        form a party and delve into dungeons full of monsters and treasures.”

   –    The game description of Dark and Darker is very similar to P3’s game
        description (which has never been disclosed outside Nexon).
        The P3 Game's         아주 위험하지만, 큰 부를 얻을 수 있다는 소문을 듣고
        Description in         미지의 던전을 향해 수많은 모험가들이 모여듭니다.
           Korean              [English trans.: Despite the danger, many adventurers
       Description (with       venture into the unknown dungeon after hearing rumors of
           English             great fortune in the dungeon.]
         Translation)
                              모험가들은 믿을 수 있는 멤버들과 파티를 구성하여
                               어둡고, 위험한 던전으로 모험을 떠납니다. [English
                               trans.: Adventurers form a party with other trusted members
                               and venture into the dark and dangerous dungeon.]

                              그들은 그곳에서 거대한 몬스터를 만나 위험에
                               처하거나, 값 비싼 전리품들을 발견할 수 있습니다.
                               [English trans,: They may find themselves in danger upon
                               encountering giant monsters or discover valuable loot /
                               treasure.]

                              함정, 몬스터, 다른 플레이어 등 무수한 위험에서 벗어나
                               던전을 무사히 탈출하면 획득한 모든 것을 가질 수
                               있습니다. [English trans.: You can keep everything you
                               have plundered if you escape the dungeon safely and avoid
                               countless dangers such as traps, monsters, and other
                               players.]

         Dark and             Unfathomable fortunes await the brave and the
       Darker’s Game           foolish willing to delve into the devastated depths of
       Description in          an ancient citadel.
          English
                              Band together with your friends and use your
                               courage, wits, and cunning to uncover mythical




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                               treasures, defeat gruesome monsters, while staying
                               one step ahead of the other devious treasure-hunters.
                              Once you’ve plundered your riches, now comes the
                               hard part, getting out alive.


  –    Dark and Darker has all characteristics of the P3 Game.
            Category                                    Detail
      Belong to PvPvE          This genre of game requires users to basically
      genre                    compete with each other (Player vs Player), but also
                               to fight the in-game environment (e.g., monsters).
      Has both the FPS and     Users cannot defeat other users only with a simple
      RPG elements             attack sign, and have to aim and shoot other users to
                               defeat them (FPS genre). Moreover, users grow
                               stronger as they obtain various items, and go on
                               adventures (element of an RPG).
      Game’s starting point,   16 users participate in one game. The game starts
      etc.                     from selecting characters at the tavern where a user
                               can communicate with other users.
      Character Class          Consists of the Barbarian, the Cleric, the Tanker
                               (Fighter), the Rogue (Thief), the Wizard, and the
                               Ranger
      Other                    The background setting of the both games is a
                               dungeon made up of dark bricks. The games have
                               torch-related features, and they offer a fixed attack
                               pattern for each type of weapons. In the both games,
                               user interaction with in-game objects such as boxes
                               and doors are available in the form of casting, and
                               certain amount of time is required to equip or replace
                               equipment.




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                            Exhibit C




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                                                                                 James S. Blackburn
                                                                                 +1 213.243.4063 Direct
                                                                                 James.Blackburn@arnoldporter.com




                                                             March 23, 2023


      VIA ELECTRONIC MAIL AND COURIER

      Ju-Hyun Choi
      302-1402 Mokryeon Maeul Hanil Apt.
      645, Pangyo-ro, Bundang-gu, Seongnam-si, Gyeonggi-do,
      Republic of Korea 13512
      sdf@ironmace.com

               Re:      Misappropriation of Nexon’s Trade Secrets and Copyright
                        Infringement

      Dear Mr. Choi,

              We represent your former employer NEXON Korea Corporation ( “Nexon”).
      As you know, Nexon is a global producer, developer, and operator of video games
      specializing in online virtual world games for PCs, consoles, and mobile devices.
      Nexon has produced 150 video games which are enjoyed by 1.4 billion users in 110
      countries.

              Nexon has learned that you, Terence Seungha Park (“Terence Park”), and
      IRONMACE Co., Ltd. (“Ironmace”) are making unauthorized use of Nexon’s trade
      secrets and copyrighted material as detailed below. This letter is to inform you that
      your, Terence Park’s, and Ironmace’s activities constitute misappropriation of
      Nexon’s trade secrets and copyright infringement. On behalf of Nexon, we demand
      that you immediately take all of the steps detailed in this letter to cease the
      misappropriation of Nexon’s trade secrets and infringement of Nexon’s copyrights.

             Since August 2022, Ironmace has been offering for download demo/test
      versions of the videogame titled Dark and Darker on Valve Corporation’s (“Valve”)
      Steam Platform (“Steam”), and Ironmace plans to make the game commercially
      available later in 2023. To date, Ironmace has conducted play tests of Dark and
      Darker on Steam but plans to move to “Early Access” distribution of Dark and
      Darker by late April or early May, which will make a near-final version of the video
      game available to purchasers.

             Based on our investigation, Dark and Darker appears to have been built and
      developed using trade secrets as well as copyrighted information copied and stolen
      from Nexon. Under U.S. law, Ironmace’s actions constitute, among other violations,
      misappropriation of Nexon’s trade secrets such as source codes, art resources, build

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files, and other company intellectual property under the Defend Trade Secret Act (the
“DTSA”) and infringement of copyrighted materials such as Literary Work (e.g.,
source codes), Works of Visual Arts (e.g., character designs), and Motion Picture /
AV Work (e.g., Playtest video) under the Copyright Act.

        As you are fully aware, Nexon began developing a new first-person shooter
role-playing game (“FPS-RPG game”) also known as the P3 Game under the P3
Project in August 2020. For 11 months until July 2021, at least 20 Nexon employees
worked exclusively on the P3 Project and Nexon invested more than KRW 1.1 billion
(USD 815,000, using an exchange rate of USD 1 to KRW 1,350) to develop the P3
Game. During this time, Nexon made significant developments to the P3 Game, and
created unique concepts, genre, plot, story line, characters, and plans for the game.
Nexon also created large numbers of proprietary source codes, art resources, and build
files.

      Literary Work, Works of the Visual Art, and Motion Picture / AV Work of the
P3 Game are registered to Nexon and protected by the U.S. copyright law pursuant to
Copyright Registration Nos.:

       1.      Project P3 Codes (computer program), Registration No. TXu 2-355-
               124;
       2.      Project P3 (audiovisual video game material), Registration No. PAu 4-
               169-661;
       3.      Project P3 Playtest (audiovisual material and spoken commentary),
               Registration No. PAu 4-166-909;
       4.      Project P3 Character – Cleric (2D artwork), Registration No. VAu 1-
               491-714;
       5.      Project P3 Character – Ranger (2D artwork), Registration No. VAu 1-
               491-715;
       6.      Project P3 Character – Barbarian (2D artwork), Registration No. VAu
               1-491-716;
       7.      Project P3 Character – Tanker (2D artwork), Registration No. VAu 1-
               491-717;
       8.      Project P3 Character – Thief (2D artwork), Registration No. VAu 1-
               491-719; and
       9.      Project P3 Character – Wizard (2D artwork), Registration No. VAu 1-
               491-720.

Among other things, the above copyright registrations confer upon Nexon the
exclusive rights to reproduce, prepare derivative works, distribute, perform, display,
and transmit the copyrighted material. The certificates of copyright registration are
appended hereto as Exhibit A.

        In addition, Nexon took reasonable measures to maintain confidentiality of its
trade secrets for the P3 Game. These measures include Nexon’s data protection
agreement (which you signed on April 18, 2018), data protection policy, security
guidelines, and explicit verbal instruction that prohibited Nexon employees from

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disclosing confidential company information and Nexon’s trade secrets (e.g., source
codes, art resources, and build files) to third parties even after leaving Nexon, or using
without authorization Nexon’s confidential information and trade secrets for any
purpose other than assigned work for Nexon.

        As a former Nexon employee and team leader of the P3 Project, you had
access to all the P3 Project files. You acquired and transferred, without authorization,
more than 11,000 key files of the P3 Project from Nexon’s server to your personal
server in 2020 and 2021. These 11,000 files include, but are not limited to, the source
codes, art resources, and build files of the P3 Game. Your misconduct regarding the
unlawful transfer and disclosure of over 11,000 build files related to the P3 Project is
set out in Exhibit B. Following the investigation of your misconduct, you were
disciplined and terminated by Nexon in July 2021.

        You approached P3 Project members and urged them to leave Nexon and
create a game similar to the P3 Game outside of Nexon. As you are undoubtedly
aware, Terence Park was a former director of game development at Nexon and the
head of the sub-team for the P3 Project and you worked on the P3 Game with him
and other Nexon employees who later joined Ironmace. Shortly after you were
dismissed from Nexon, Terence Park left Nexon on August 9, 2021. Less than two
months after he left Nexon, and only three months after you left Nexon, Terence Park
founded Ironmace on October 20, 2021 and you joined Ironmace shortly thereafter as
its Managing Director. There is reason to believe you are the controlling shareholder
of Ironmace and you have been actively engaged in fundraising efforts for the
company. Moreover, ten out of twenty-three P3 Project team members left Nexon,
and most are believed to be currently working at Ironmace.

        We have reason to believe that you stole and misappropriated Nexon’s trade
secrets and infringed copyrights, and used them, along with Terence Park and
Ironmace, in the development of the counterfeit game, Dark and Darker. As the
founder of Ironmace and a former-P3 Project team member, Terence Park knew or
should have known that you illegally transferred Nexon’s trade secrets. Despite his
knowledge, he permitted Ironmace to use the stolen trade secrets and Nexon’s
copyrighted materials to develop Dark and Darker. Ironmace and Terence Park thus
have knowingly benefitted from your misappropriation, and will continue to do so
once Dark and Darker is made commercially available. In light of the
aforementioned facts, you and Ironmace have misappropriated Nexon’s trade secrets
under the DTSA and infringed on Nexon’s copyrighted materials under the Copyright
Act.1

        Nexon’s P3 Game has never been disclosed to a third party and, before the
release of the testing version of Dark and Darker, no other game had the same

1
 As you know, Ironmace’s misconduct is the subject of an ongoing criminal investigation in Korea.
Recently, on March 7, 2023 the Korean police conducted a search and seizure of Ironmace’s office in
connection with the ongoing investigation of whether Ironmace unlawfully stole and used Nexon’s P3
Game data to build Dark and Darker.

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concept, genre, and plot as the P3 Game. Within a mere ten months of forming
Ironmace, its demo/test version of Dark and Darker became publicly available in
August 2022. It is impossible for Ironmace to have developed Dark and Darker in
such a short time frame without using Nexon’s trade secrets and confidential
information. Nexon became immediately concerned about the two games’
similarities, which are so striking that they cannot be reasonably explained through
independent development.

        To investigate, Nexon conducted a comparative analysis of Dark and Darker
and the P3 Game. A preliminary analysis revealed that the resource file names of
2,338 files were identical between the two games. Even if one takes into account that
both games were developed using the same program (e.g., Unreal Engine), the
number of identical file names is too substantial for mere coincidence. For your
reference, the comparison of the file names is appended hereto as Exhibit C.
Additionally, the character designs and other setting and structural designs of Dark
and Darker are suspiciously similar to those of the P3 Game. Our preliminary
comparison of the two games’ character and setting/structural designs is appended
hereto as Exhibit D.

        The level and extent of similarities between the two games’ key concepts,
genre, and story line make it clear that Ironmace must have used Nexon’s trade
secrets and copyrighted materials to create Dark and Darker. Both Dark and Darker
and the P3 Game have the same story setting and even share an almost identical game
description. For example, the premise of both games involves adventurers who delve
into dungeons full of monsters and treasures in their quest to seek riches. Moreover,
Dark and Darker has all the characteristics of the P3 Game, including the PvPvE
genre; FPS and RPG elements; character class; game starting point; and user
interaction with game features. For a more complete comparison, please see
Exhibit D.

       Nexon, therefore, demands that you:

       1.      Immediately cease and desist all further development, testing,
production, reproduction, publishing, provision, distribution, transmission, display,
performance, advertising, licensing, and sale of the materials and the game created
from the misappropriation and infringement, including the removal of all test version
from Steam;

        2.     Preserve all evidence related to Dark and Darker and to all related acts
that you have performed for the creation of Dark and Darker, as described above;

       3.      Explain how you intend to return and/or dispose of any confidential
and proprietary information of Nexon that you have in your possession; and

        4.     Provide a written assurance, within one week of receipt of this letter,
that you have taken the requested steps.



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       Your failure to immediately comply with our demands will likely compound
the damages for which you may be liable. Furthermore, if we do not receive all the
requested evidence and written assurance or a satisfactory response by the
aforementioned dates, Nexon is prepared to take all steps necessary to protect its
valuable trade secrets and intellectual property rights without further notice to you.

        Nothing in this letter should be construed as a waiver, relinquishment,
modification or election of rights or remedies by Nexon. This letter is not an
exhaustive statement of all the relevant facts and law. Nexon expressly reserves all
rights and remedies, including the right to seek injunctive relief and recover monetary
damages, under all applicable federal and state laws.

                                                Sincerely,



                                                James S. Blackburn




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                Exhibit A




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Certificate of Registration
                     This Certificate issued under the seal of the Copyright
                     Office in accordance with title 17, United States Code^
                     attests that registration has been made for the work
                     identified below.The information on this certificate has    Registration Number
                     been made a part of the Copyright Office records.
                                                                                PAu 4-169-661
                                                                                 Effective Date of Registration:
                                                                                 February 21, 2023
                                                                                 Registration Decision Date:
                     United States Register of Copyrights and Director           March 02. 2023




   Title

                         Title of Work:    Project P3


   Completion/Publication
                  Year of Completion: 2021

   Author

                    •          Author:     NEXON KOREA CORPORATION
                        Author Created:    audiovisual material
                  Work made for hire:      Yes
                             Citizen of:   Korea,South


   Copyright Claimant
                  Copyright Claimant: NEXON KOREA CORPORATION
                                      7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                           Korea,South


   Limitation of copyright claim

     Material excluded from this claim:    source code
        Previous registration and year: TXu002355124,2023

       New material included in claim:     all other video game material

    Rights and Permissions

                  Organization Name: Downs Rachlin Martin PLLC
                                 Name:     Cathleen E. Stadecker
                                Email: tmip@drm.com
                            Telephone: (802)863-2375
                               Address:    199 Main Street, PO Box 190
                                           Burlington, VT 05402-0190 United States

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Certification

                        Name:   Cathleen £. Stadecker
                            Date: Febraary 21,2023
    Applicant's Tracking Number: 12938-254USY1 / GET23-0004-US


                Correspondence: Yes




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                              Office in accordance with title 17, United States Code,
                              attests that registration has been made for the work
                              identified below. The information on this certificate has   Registration Number
                              been made a part of the Copyright Office records.
                                                                                          PAu 4-166-909
                                                                                          Effective Date of Registration:
        "^^''1870-'^                                                                      February 09, 2023
                                                                                          Registration Decision Date:
                              United States Register of Copyrights and Director           March 02, 2023




          Title

                                   Title of Work:   Project P3 Playtest


          Completion/Publication
                            Year of Completion: 2021

          Author

                              •           Author:   NEXON KOREA CORPORATION
                                  Author Created: audiovisual material and spoken commentary
                            Work made for hire:     Yes
                                    Citizen of:     Korea,South


          Copyright Ciaimant

                           Copyright Claimant: NEXON KOREA CORPORATION
                                               7, Fangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                                    Korea,South




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                                           Name:    Cathleen E. Stadecker
                                           Email: tmip@drm.com
                                       Telephone: (802)863-2375
                                         Address:   199 Main Street, PO Box 190
                                                    Burlington, VT 05402-0190 United States

              Certification

                                           Name:     Cathleen E. Stadecker

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                     Date: Febraary 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US9


           Correspondence: Yes




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                   identified below.The information on this certificate has     Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-714
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Cleric                                                 ^   "'v.'"



   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of;   Korea,South


   Copyright Ctalmant

               Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487,
                                          Korea,South




    Rights and Permissions

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                                Name:     Cathieen E. Stadecker
                               Email: tmip@drm.com
                           Telephone: (802)863-2375
                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

   Certification

                                Name:     Cathieen E. Stadecker


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                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character(s). Compendium 313.4(H).




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                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-715
                                                                                Effective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Ranger


   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
                                   7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




    Rights and Permissions

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                                Name:     Cathleen E. Stadecker
                               Email: tmip@dnn.com
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                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United Stales

   Certification

                               Name:      Cathleen E. Stadecker


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                        Date; February 09,2023
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            Correspondence: Yes
      Copyright Office notes: Basis for Registration; Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character(s). Compendium 313.4(H).




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                   identified below. The information on this certificate has    Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-716
                                                                                Elective Date of Registration:
                                                                                February 09,2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03.2023




   Title

                        Title of Work:    Project P3 Character - Barbarian


   Completion/Publication
                Year of Completion: 2021

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
                Work made for hire:       Yes
                            Citizen of:   Korea, South


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487,
                                          Korea,South




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                                          Burlington, VT 05402-0190 United States

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                       Name:    Cathleen E. Stadecker
                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US2


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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Certificate of Registration
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                   identified below. The information on this certificate has    Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-717
                                                                                Effective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work:    Project P3 Character - Tanker


   Completion/Publication
                Year of Completion: 2020

   Author

                   •          Author:     NEXON KOREA CORPORATION
                       Author Created:    2-0 artwork
               Work made for hire:        Yes
                                                                                                            .i-- \   ,
                            Citizen of:   Korea, South
                                                                                                        ■      -C i-


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
                                          7, Pangyo-ro 256 beon-gil, Bundang-gu,Seongnam-si, Gyeonggi-do, 13487,
                                          Korea, South




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                                          Burlington, VT 05402-0190 United States

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                        Date: February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US4


           Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                   identified below. The information on this certificate has    Registration Number
                   been made a part of the Copyright Office records.
                                                                                VAu 1-491-719
                                                                                EH'ective Date of Registration:
                                                                                February 09, 2023
                                                                                Registration Decision Date:
                   United States Register of Copyrights and Director            March 03, 2023




   Title

                        Title of Work;    Project P3 Character - Thief


   Completion/Publication
                Year of Completion: 2021

   Author

                   •           Author:    NEXON KOREA CORPORATION
                       Author Created:    2-D artwork
               Work made for hire:        Yes
                            Citizen of:   Korea, South


   Copyright Claimant

               Copyright Claimant: NEXON KOREA CORPORATION
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                                          Korea, South




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                                Email: tmip@drm.com
                           Telephone: (802)863-2375
                             Address:     199 Main Street, PO Box 190
                                          Burlington, VT 05402-0190 United States

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                                Name:     Cathleen E. Stadecker


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                        Date; February 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US5


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
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                     attests that registration has been made for the work
                     identified below. The information on this certificate has   Registration Number
                     been made a part of the Copyright Office records.
                                                                                 VAu 1-491-720
                                                                                 Effective Date of Registration:
                                                                                 February 09, 2023
                                                                                 Registration Decision Date:
                     United States Register of Copyrights and Director           March 03, 2023




   Title

                         Title of Work:    Project P3 Character - Wizard


   Completion/Publication
                   Year of Compietion: 2020

   Author

                    •           Author:    NEXON KOREA CORPORATION
                        Author Created:    2-D artwork
                   Work made for hire:     Yes
                             Citizen of:   Korea, South


   Copyright Claimant

                  Copyright Claimant: NEXON KOREA CORPORATION
                                      7, Pangyo-ro 256 beon-gil, Bundang-gu, Seongnam-si, Gyeonggi-do, 13487»
                                           Korea, South




     Rights and Permissions

                   Organization Name: Downs Rachlin Martin PLLC
                                 Name:     Cathleen E. Stadecker
                                Email: tmip@drm.com
                            Telephone: (802)863-2375
                               Address:     199 Main Street, PO Box 190
                                           Burlington, VT 05402-0190 United States

   Certification

                                 Name:     Cathleen E. Stadecker


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                        Date: Februaiy 09,2023
Applicant's Tracking Number: 12938-254USY1 / GET23-0003-US6


            Correspondence: Yes
      Copyright Office notes: Basis for Registration: Registration based on deposited pictorial authorship
                              describing, depicting, or embodying character. Compendium 313.4(H).




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                Exhibit B




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                        Misconduct of Ju-Hyun Choi
            Regarding Unauthorized Disclosure of the P3 Project Data


Ju-Hyun Choi unlawfully transferred and disclosed approximately 11,602 files of
the data related to the P3 Project

•   From April 2021 to June 18, 2021, 2,747 build files for the P3 Project were
    unlawfully transferred from the Nexon’s Jenkins server to Ju-Hyun Choi's
    (“Choi”) private server located in Seosan without obtaining authorization.

•   From April 7, 2021 to May 11, 2021, 1,719 build files for the P3 Project were
    unlawfully transferred to Choi's private server built on a home PC without
    obtaining authorization.

•   From May 31, 2021 to June 23, 2021, the data related to the P3 Project,
    including source code and art resources, were unlawfully transferred to Choi's
    private server in Seosan without obtaining authorization on over 20 instances.




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                Exhibit C




                                120                       Seoul 5461v10
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 Comparison of Resource File Names Between P3 Game and Dark and Darker
   •   The comparison of resources in the folder created when installing “Dark
       and Darker” to those when installing the P3 Game shows that the two
       games had 2,338 files with the same names.
   •   Even if we exclude the number of files essentially included in the Unreal
       Engine itself from the above, more than 1,000 files had the same file
       names.
   •   Below is the list of resource file names that are identical in “Dark and
       Darker” and the P3 Game.




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AK_Acoustic_Portal.uasset
AK_Acoustic_Portal.ubulk
AK_Acoustic_Portal.uexp
AK_Acoustic_Portal_Explorer.uasset
AK_Acoustic_Portal_Explorer.uexp
AK_Reverb_Volume.uasset
AK_Reverb_Volume.ubulk
AK_Reverb_Volume.uexp
AK_Reverb_Volume_Explorer.uasset
AK_Reverb_Volume_Explorer.uexp
AK_Spatial_Audio_Volume.uasset
AK_Spatial_Audio_Volume.ubulk
AK_Spatial_Audio_Volume.uexp
AK_Spatial_Audio_Volume_Explorer.uasset
AK_Spatial_Audio_Volume_Explorer.uexp
Acoustic_Banner.uasset
Acoustic_Banner.uexp
AkAcousticTexture.uasset
AkAcousticTexture.ubulk
AkAcousticTexture.uexp
AkAudioBank.uasset
AkAudioBank.ubulk
AkAudioBank.uexp
AkAudioEvent.uasset
AkAudioEvent.ubulk
AkAudioEvent.uexp
AkAuxBus.uasset
AkAuxBus.ubulk
AkAuxBus.uexp
AkExternalMediaAsset.uasset
AkExternalMediaAsset.ubulk
AkExternalMediaAsset.uexp
AkLocalizedMediaAsset.uasset
AkLocalizedMediaAsset.ubulk
AkLocalizedMediaAsset.uexp
AkMediaAsset.uasset
AkMediaAsset.ubulk
AkMediaAsset.uexp
AkRtpc.uasset
AkRtpc.ubulk
AkRtpc.uexp
AkStateValue.uasset
AkStateValue.ubulk
AkStateValue.uexp
AkSwitchValue.uasset
AkSwitchValue.ubulk
AkSwitchValue.uexp
AkTrigger.uasset
AkTrigger.ubulk
AkTrigger.uexp
Anechoic.uasset
Anechoic.uexp
AnimNotify_AkEvent.uasset
AnimNotify_AkEvent.uexp
AssetRegistry.bin
BP_Arrow.uasset
BP_Arrow.uexp
BP_Footprint.uasset
BP_Footprint.uexp
BP_FranciscaAxeProjectile.uasset




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BP_FranciscaAxeProjectile.uexp
BP_ItemActor.uasset
BP_ItemActor.uexp
BP_PlayerController.uasset
BP_PlayerController.uexp
BP_ThrowingKnifeProjectile.uasset
BP_ThrowingKnifeProjectile.uexp
BP_TorchProjectile.uasset
BP_TorchProjectile.uexp
Backstab.uasset
Backstab.uexp
BlockoutToolsFunctions.uasset
BlockoutToolsFunctions.uexp
BlockoutToolsPlugin.uplugin
Blockout_Box.uasset
Blockout_Box.uexp
Blockout_Cone.uasset
Blockout_Cone.uexp
Blockout_Corner_Curved.uasset
Blockout_Corner_Curved.uexp
Blockout_Corner_Ramp.uasset
Blockout_Corner_Ramp.uexp
Blockout_Cylinder.uasset
Blockout_Cylinder.uexp
Blockout_Doorway.uasset
Blockout_Doorway.uexp
Blockout_Railing.uasset
Blockout_Railing.uexp
Blockout_Ramp.uasset
Blockout_Ramp.uexp
Blockout_Skewbox.uasset
Blockout_Skewbox.uexp
Blockout_Sphere.uasset
Blockout_Sphere.uexp
Blockout_Stairs_Curved.uasset
Blockout_Stairs_Curved.uexp
Blockout_Stairs_Linear.uasset
Blockout_Stairs_Linear.uexp
Blockout_Stairs_Linear_Manual.uasset
Blockout_Stairs_Linear_Manual.uexp
Blockout_Tube.uasset
Blockout_Tube.uexp
Blockout_Window.uasset
Blockout_Window.uexp
Brick.uasset
Brick.uexp
Candle.uasset
Candle.uexp
Carpet.uasset
Carpet.uexp
Concrete.uasset
Concrete.uexp
Cork_Tiles.uasset
Cork_Tiles.uexp
Curtains.uasset
Curtains.uexp
DefaultEngine.ini
DefaultGame.ini
DefaultGameUserSettings.ini
DefaultGameplayTags.ini




                                       123                 Seoul 5461v10
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DefaultInput.ini
Default_Work_Unit_FOLDER.uasset
Default_Work_Unit_FOLDER.uexp
Door1.uasset
Door1.uexp
Drywall.uasset
Drywall.uexp
EBlockoutAlignment.uasset
EBlockoutAlignment.uexp
EBlockoutRailingType.uasset
EBlockoutRailingType.uexp
EBlockoutStairsType.uasset
EBlockoutStairsType.uexp
Events_FOLDER.uasset
Events_FOLDER.uexp
FX_fire.uasset
FX_fire.uexp
Fabric.uasset
Fabric.uexp
Fireball.uasset
Fireball.uexp
FranciscaAxe.uasset
FranciscaAxe.uexp
Fx_Smoke.uasset
Fx_Smoke.uexp
GA_Crouch.uasset
GA_Crouch.uexp
GA_Interact.uasset
GA_Interact.uexp
GA_InteractPassive.uasset
GA_InteractPassive.uexp
GA_Rest.uasset
GA_Rest.uexp
GA_Walk.uasset
GA_Walk.uexp
GC_Explosion.uasset
GC_Explosion.uexp
GC_SpellCastReady.uasset
GC_SpellCastReady.uexp
GC_SpellCastStart.uasset
GC_SpellCastStart.uexp
GE_Backstab.uasset
GE_Backstab.uexp
GE_InvisibilitySpell.uasset
GE_InvisibilitySpell.uexp
GE_ShieldExpert.uasset
GE_ShieldExpert.uexp
GE_Smash.uasset
GE_Smash.uexp
GE_Toughness.uasset
GE_Toughness.uexp
GE_Tracking.uasset
GE_Tracking.uexp
GE_TrapExpert.uasset
GE_TrapExpert.uexp
GE_TwoHandedWeaponExpert.uasset
GE_TwoHandedWeaponExpert.uexp
GameLiftServerSDK.uplugin
Game_Parameters_FOLDER.uasset
Game_Parameters_FOLDER.uexp




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InitBank.uasset
InitBank.uexp
Lockpick.uasset
Lockpick.uexp
MF_Blockout_Grid.uasset
MF_Blockout_Grid.uexp
MF_Blockout_Triplanar.uasset
MF_Blockout_Triplanar.uexp
MF_Blockout_Triplanar_Grid.uasset
MF_Blockout_Triplanar_Grid.uexp
MF_Blockout_Triplanar_Normal.uasset
MF_Blockout_Triplanar_Normal.uexp
MF_DitheredRefraction.uasset
MF_DitheredRefraction.uexp
MF_Fresnel_01a.uasset
MF_Fresnel_01a.uexp
MF_ParticleRandomSize.uasset
MF_ParticleRandomSize.uexp
MF_RGBA_Multiplier.uasset
MF_RGBA_Multiplier.uexp
MF_RGBA_Tint.uasset
MF_RGBA_Tint.uexp
MF_Sand_01a.uasset
MF_Sand_01a.uexp
MI_Arch_01.uasset
MI_Arch_01.uexp
MI_Arch_02.uasset
MI_Arch_02.uexp
MI_Ballustrade_01.uasset
MI_Ballustrade_01.uexp
MI_Barrel.uasset
MI_Barrel.uexp
MI_BlockoutTools_Custom.uasset
MI_BlockoutTools_Custom.uexp
MI_BlockoutTools_Grid.uasset
MI_BlockoutTools_Grid.uexp
MI_Brick_Rubble_01.uasset
MI_Brick_Rubble_01.uexp
MI_Bricks_01.uasset
MI_Bricks_01.uexp
MI_Column_01.uasset
MI_Column_01.uexp
MI_Column_02.uasset
MI_Column_02.uexp
MI_Floor_01.uasset
MI_Floor_01.uexp
MI_Floor_Bricks_01.uasset
MI_Floor_Bricks_01.uexp
MI_Lockpick.uasset
MI_Lockpick.uexp
MI_Metal_01.uasset
MI_Metal_01.uexp
MI_Stair_01.uasset
MI_Stair_01.uexp
MI_Stone_Damaged_01.uasset
MI_Stone_Damaged_01.uexp
MI_Trim_01.uasset
MI_Trim_01.uexp
MI_Trim_02.uasset
MI_Trim_02.uexp




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MI_Trim_07.uasset
MI_Trim_07.uexp
MI_Wall_01.uasset
MI_Wall_01.uexp
MI_Wall_02.uasset
MI_Wall_02.uexp
MI_Wall_03.uasset
MI_Wall_03.uexp
MI_Wood_01.uasset
MI_Wood_01.uexp
MM_Master_Material_01a.uasset
MM_Master_Material_01a.uexp
M_Base.uasset
M_Base.uexp
M_Base_GlobalTint.uasset
M_Base_GlobalTint.uexp
M_BlockoutTools_Custom.uasset
M_BlockoutTools_Custom.uexp
M_BlockoutTools_Grid.uasset
M_BlockoutTools_Grid.uexp
M_Distortion.uasset
M_Distortion.uexp
M_Outline.uasset
M_Outline.uexp
M_Radial_Gradient.uasset
M_Radial_Gradient.uexp
M_SKMage_Clothes01_Dark.uasset
M_SKMage_Clothes01_Dark.uexp
M_SKMage_Clothes02_Dark.uasset
M_SKMage_Clothes02_Dark.uexp
M_SKMage_Clothes03_Dark.uasset
M_SKMage_Clothes03_Dark.uexp
M_SKMage_Staff_Dark.uasset
M_SKMage_Staff_Dark.uexp
M_SK_Skeleton_Sand.uasset
M_SK_Skeleton_Sand.uexp
M_SK_Skull_Sand.uasset
M_SK_Skull_Sand.uexp
Master-Mixer_Hierarchy_FOLDER.uasset
Master-Mixer_Hierarchy_FOLDER.uexp
Master_Audio_Bus_FOLDER.uasset
Master_Audio_Bus_FOLDER.uexp
Mountain.uasset
Mountain.uexp
RGBA_Mask_NoTint.uasset
RGBA_Mask_NoTint.uexp
SM_Arch_8m_01.uasset
SM_Arch_8m_01.uexp
SM_Arch_8m_06.uasset
SM_Arch_8m_06.uexp
SM_Arch_Top_01.uasset
SM_Arch_Top_01.uexp
SM_Arch_Top_02.uasset
SM_Arch_Top_02.uexp
SM_Arch_Top_03.uasset
SM_Arch_Top_03.uexp
SM_Arch_Top_04.uasset
SM_Arch_Top_04.uexp
SM_Archway_01.uasset
SM_Archway_01.uexp




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SM_Archway_02.uasset
SM_Archway_02.uexp
SM_Archway_03.uasset
SM_Archway_03.uexp
SM_Archway_Ruined_03.uasset
SM_Archway_Ruined_03.uexp
SM_Ballustrade_01.uasset
SM_Ballustrade_01.uexp
SM_Ballustrade_Ruined_04.uasset
SM_Ballustrade_Ruined_04.uexp
SM_Ballustrade_Ruined_05.uasset
SM_Ballustrade_Ruined_05.uexp
SM_Ballustrade_Ruined_06.uasset
SM_Ballustrade_Ruined_06.uexp
SM_Ballustrade_Ruined_07.uasset
SM_Ballustrade_Ruined_07.uexp
SM_Barrel_Ceiling_01.uasset
SM_Barrel_Ceiling_01.uexp
SM_Bars_Doorway_01.uasset
SM_Bars_Doorway_01.uexp
SM_Blind_Arch_02.uasset
SM_Blind_Arch_02.uexp
SM_Blockout_Box.uasset
SM_Blockout_Box.uexp
SM_Blockout_Box_Centered.uasset
SM_Blockout_Box_Centered.uexp
SM_Blockout_Box_Right.uasset
SM_Blockout_Box_Right.uexp
SM_Blockout_Cone_Q1.uasset
SM_Blockout_Cone_Q1.uexp
SM_Blockout_Cone_Q2.uasset
SM_Blockout_Cone_Q2.uexp
SM_Blockout_Cone_Q3.uasset
SM_Blockout_Cone_Q3.uexp
SM_Blockout_Cone_Q4.uasset
SM_Blockout_Cone_Q4.uexp
SM_Blockout_Corner_Ramp.uasset
SM_Blockout_Corner_Ramp.uexp
SM_Blockout_Curved_Corner_Inner_Q1.uasset
SM_Blockout_Curved_Corner_Inner_Q1.uexp
SM_Blockout_Curved_Corner_Inner_Q2.uasset
SM_Blockout_Curved_Corner_Inner_Q2.uexp
SM_Blockout_Curved_Corner_Inner_Q3.uasset
SM_Blockout_Curved_Corner_Inner_Q3.uexp
SM_Blockout_Curved_Corner_Inner_Q4.uasset
SM_Blockout_Curved_Corner_Inner_Q4.uexp
SM_Blockout_Curved_Corner_Outer_Q1.uasset
SM_Blockout_Curved_Corner_Outer_Q1.uexp
SM_Blockout_Curved_Corner_Outer_Q2.uasset
SM_Blockout_Curved_Corner_Outer_Q2.uexp
SM_Blockout_Curved_Corner_Outer_Q3.uasset
SM_Blockout_Curved_Corner_Outer_Q3.uexp
SM_Blockout_Curved_Corner_Outer_Q4.uasset
SM_Blockout_Curved_Corner_Outer_Q4.uexp
SM_Blockout_Cylinder_Q1.uasset
SM_Blockout_Cylinder_Q1.uexp
SM_Blockout_Cylinder_Q2.uasset
SM_Blockout_Cylinder_Q2.uexp
SM_Blockout_Cylinder_Q3.uasset
SM_Blockout_Cylinder_Q3.uexp




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SM_Blockout_Cylinder_Q4.uasset
SM_Blockout_Cylinder_Q4.uexp
SM_Blockout_Hemisphere_Q1.uasset
SM_Blockout_Hemisphere_Q1.uexp
SM_Blockout_Hemisphere_Q2.uasset
SM_Blockout_Hemisphere_Q2.uexp
SM_Blockout_Hemisphere_Q3.uasset
SM_Blockout_Hemisphere_Q3.uexp
SM_Blockout_Hemisphere_Q4.uasset
SM_Blockout_Hemisphere_Q4.uexp
SM_Blockout_Railing_Closed.uasset
SM_Blockout_Railing_Closed.uexp
SM_Blockout_Railing_Open.uasset
SM_Blockout_Railing_Open.uexp
SM_Blockout_Railing_Pole.uasset
SM_Blockout_Railing_Pole.uexp
SM_Blockout_Ramp.uasset
SM_Blockout_Ramp.uexp
SM_Blockout_Sphere_Q1.uasset
SM_Blockout_Sphere_Q1.uexp
SM_Blockout_Sphere_Q2.uasset
SM_Blockout_Sphere_Q2.uexp
SM_Blockout_Sphere_Q3.uasset
SM_Blockout_Sphere_Q3.uexp
SM_Blockout_Sphere_Q4.uasset
SM_Blockout_Sphere_Q4.uexp
SM_Blockout_Step_Box.uasset
SM_Blockout_Step_Box.uexp
SM_Blockout_Step_Box_Centered.uasset
SM_Blockout_Step_Box_Centered.uexp
SM_Blockout_Step_Sloped_Centered.uasset
SM_Blockout_Step_Sloped_Centered.uexp
SM_Blockout_Step_Sloped_Linear.uasset
SM_Blockout_Step_Sloped_Linear.uexp
SM_BonesPile01.uasset
SM_BonesPile01.uexp
SM_BonesPile02.uasset
SM_BonesPile02.uexp
SM_BonesPile03.uasset
SM_BonesPile03.uexp
SM_BonesPile05.uasset
SM_BonesPile05.uexp
SM_Brick_Column_Ruined_02.uasset
SM_Brick_Column_Ruined_02.uexp
SM_Brick_Column_Ruined_03.uasset
SM_Brick_Column_Ruined_03.uexp
SM_ClayPot_11.uasset
SM_ClayPot_11.uexp
SM_ClayPot_13.uasset
SM_ClayPot_13.uexp
SM_Column1_01.uasset
SM_Column1_01.uexp
SM_Column1_02.uasset
SM_Column1_02.uexp
SM_Column_01.uasset
SM_Column_01.uexp
SM_Column_01b.uasset
SM_Column_01b.uexp
SM_Column_02.uasset
SM_Column_02.uexp




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SM_Column_03.uasset
SM_Column_03.uexp
SM_Column_05.uasset
SM_Column_05.uexp
SM_Column_05a.uasset
SM_Column_05a.uexp
SM_Column_07.uasset
SM_Column_07.uexp
SM_Column_Ruined_02.uasset
SM_Column_Ruined_02.uexp
SM_Column_Ruined_04.uasset
SM_Column_Ruined_04.uexp
SM_Column_Ruined_05.uasset
SM_Column_Ruined_05.uexp
SM_Debris_01.uasset
SM_Debris_01.uexp
SM_Debris_02.uasset
SM_Debris_02.uexp
SM_Debris_Floor_01.uasset
SM_Debris_Floor_01.uexp
SM_Debris_Floor_02.uasset
SM_Debris_Floor_02.uexp
SM_Debris_Floor_03.uasset
SM_Debris_Floor_03.uexp
SM_Debris_Floor_04.uasset
SM_Debris_Floor_04.uexp
SM_Debris_Floor_05.uasset
SM_Debris_Floor_05.uexp
SM_Floor_01.uasset
SM_Floor_01.uexp
SM_Floor_Half_01.uasset
SM_Floor_Half_01.uexp
SM_Floor_Half_02.uasset
SM_Floor_Half_02.uexp
SM_Floor_Ruined_01.uasset
SM_Floor_Ruined_01.uexp
SM_Floor_Ruined_04.uasset
SM_Floor_Ruined_04.uexp
SM_Floor_Ruined_06.uasset
SM_Floor_Ruined_06.uexp
SM_Floor_Ruined_08.uasset
SM_Floor_Ruined_08.uexp
SM_Metal_Door_01.uasset
SM_Metal_Door_01.uexp
SM_Niche2_1.uasset
SM_Niche2_1.uexp
SM_Pier_02.uasset
SM_Pier_02.uexp
SM_Pilaster_01.uasset
SM_Pilaster_01.uexp
SM_Pilaster_02.uasset
SM_Pilaster_02.uexp
SM_Pilaster_02a.uasset
SM_Pilaster_02a.uexp
SM_Pilaster_03.uasset
SM_Pilaster_03.uexp
SM_Pilaster_03a.uasset
SM_Pilaster_03a.uexp
SM_Plank_01.uasset
SM_Plank_01.uexp




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SM_Planks_02.uasset
SM_Planks_02.uexp
SM_Pylon2_01.uasset
SM_Pylon2_01.uexp
SM_Pylon6_02.uasset
SM_Pylon6_02.uexp
SM_Scaffolding_04.uasset
SM_Scaffolding_04.uexp
SM_Scaffolding_07.uasset
SM_Scaffolding_07.uexp
SM_Scull1_02.uasset
SM_Scull1_02.uexp
SM_SkeletonPose02.uasset
SM_SkeletonPose02.uexp
SM_Sphere.uasset
SM_Sphere.uexp
SM_Stair_02.uasset
SM_Stair_02.uexp
SM_Stair_Tileable_02.uasset
SM_Stair_Tileable_02.uexp
SM_Stair_Tileable_03.uasset
SM_Stair_Tileable_03.uexp
SM_Wall_01.uasset
SM_Wall_01.uexp
SM_Wall_Corner_02.uasset
SM_Wall_Corner_02.uexp
SM_Wall_Corner_03.uasset
SM_Wall_Corner_03.uexp
SM_Wall_Corner_Half_02.uasset
SM_Wall_Corner_Half_02.uexp
SM_Wall_Corner_Half_03.uasset
SM_Wall_Corner_Half_03.uexp
SM_Wall_Low_04.uasset
SM_Wall_Low_04.uexp
SM_Wall_Low_05.uasset
SM_Wall_Low_05.uexp
SM_Wall_Low_06.uasset
SM_Wall_Low_06.uexp
SM_Wall_Ruined_01.uasset
SM_Wall_Ruined_01.uexp
SM_Wall_Ruined_09.uasset
SM_Wall_Ruined_09.uexp
SM_Wall_Ruined_10.uasset
SM_Wall_Ruined_10.uexp
SM_Wall_Ruined_11.uasset
SM_Wall_Ruined_11.uexp
SM_Wall_Ruined_14.uasset
SM_Wall_Ruined_14.uexp
SM_Wall_Ruined_31.uasset
SM_Wall_Ruined_31.uexp
SM_Wall_Thick_01.uasset
SM_Wall_Thick_01.uexp
SM_Wall_Thick_Ruined_01.uasset
SM_Wall_Thick_Ruined_01.uexp
SM_Wall_Thick_Ruined_010.uasset
SM_Wall_Thick_Ruined_010.uexp
SM_Wall_Thick_Ruined_03.uasset
SM_Wall_Thick_Ruined_03.uexp
SM_Wall_Thick_Ruined_07.uasset
SM_Wall_Thick_Ruined_07.uexp




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SM_Wall_Thick_Ruined_08.uasset
SM_Wall_Thick_Ruined_08.uexp
SM_Window_02.uasset
SM_Window_02.uexp
SM_Wooden_Beam_01.uasset
SM_Wooden_Beam_01.uexp
SM_Wooden_Beam_03.uasset
SM_Wooden_Beam_03.uexp
SM_Wooden_Floor_01.uasset
SM_Wooden_Floor_01.uexp
SM_Wooden_Floor_Ruined_01.uasset
SM_Wooden_Floor_Ruined_01.uexp
SM_Wooden_Floor_Ruined_09.uasset
SM_Wooden_Floor_Ruined_09.uexp
SM_Wooden_Stair_01.uasset
SM_Wooden_Stair_01.uexp
SM_Wooden_Support_01.uasset
SM_Wooden_Support_01.uexp
SM_Wooden_Support_07.uasset
SM_Wooden_Support_07.uexp
SM_Wooden_Support_08.uasset
SM_Wooden_Support_08.uexp
SM_Wooden_Support_09.uasset
SM_Wooden_Support_09.uexp
SM_Wooden_Support_11.uasset
SM_Wooden_Support_11.uexp
SSP_caucasian.uasset
SSP_caucasian.uexp
S_AkComponent.uasset
S_AkComponent.uexp
S_AkSpotReflector.uasset
S_AkSpotReflector.uexp
ShaderArchive-Global-PCD3D_SM5.ushaderbytecode
ShieldExpert.uasset
ShieldExpert.uexp
Smash.uasset
Smash.uexp
SmokeBomb.uasset
SmokeBomb.uexp
States_FOLDER.uasset
States_FOLDER.uexp
Switches_FOLDER.uasset
Switches_FOLDER.uexp
TX_Cube_01a_CUBE.uasset
TX_Cube_01a_CUBE.uexp
T_Arch_01_BC.uasset
T_Arch_01_BC.ubulk
T_Arch_01_BC.uexp
T_Arch_01_N.uasset
T_Arch_01_N.ubulk
T_Arch_01_N.uexp
T_Arch_02_BC.uasset
T_Arch_02_BC.ubulk
T_Arch_02_BC.uexp
T_Arch_02_N.uasset
T_Arch_02_N.ubulk
T_Arch_02_N.uexp
T_Ballustrade_01_BC.uasset
T_Ballustrade_01_BC.ubulk
T_Ballustrade_01_BC.uexp




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T_Ballustrade_01_N.uasset
T_Ballustrade_01_N.ubulk
T_Ballustrade_01_N.uexp
T_Blank_N.uasset
T_Blank_N.uexp
T_Blockout_Actor_Icon.uasset
T_Blockout_Actor_Icon.ubulk
T_Blockout_Actor_Icon.uexp
T_Blockout_Grid.uasset
T_Blockout_Grid.ubulk
T_Blockout_Grid.uexp
T_BonesPile_D.uasset
T_BonesPile_D.ubulk
T_BonesPile_D.uexp
T_BonesPile_N.uasset
T_BonesPile_N.ubulk
T_BonesPile_N.uexp
T_Brick_Rubble_01_BC.uasset
T_Brick_Rubble_01_BC.ubulk
T_Brick_Rubble_01_BC.uexp
T_Brick_Rubble_01_N.uasset
T_Brick_Rubble_01_N.ubulk
T_Brick_Rubble_01_N.uexp
T_Brick_Rubble_02_BC.uasset
T_Brick_Rubble_02_BC.ubulk
T_Brick_Rubble_02_BC.uexp
T_Brick_Rubble_02_N.uasset
T_Brick_Rubble_02_N.ubulk
T_Brick_Rubble_02_N.uexp
T_Bricks_01_BC.uasset
T_Bricks_01_BC.ubulk
T_Bricks_01_BC.uexp
T_Bricks_01_N.uasset
T_Bricks_01_N.ubulk
T_Bricks_01_N.uexp
T_ClayPot_01_D.uasset
T_ClayPot_01_D.ubulk
T_ClayPot_01_D.uexp
T_ClayPot_01_N.uasset
T_ClayPot_01_N.ubulk
T_ClayPot_01_N.uexp
T_Column1_01_D.uasset
T_Column1_01_D.ubulk
T_Column1_01_D.uexp
T_Column1_01_N.uasset
T_Column1_01_N.ubulk
T_Column1_01_N.uexp
T_Column1_02_D.uasset
T_Column1_02_D.ubulk
T_Column1_02_D.uexp
T_Column1_02_N.uasset
T_Column1_02_N.ubulk
T_Column1_02_N.uexp
T_Column_01_BC.uasset
T_Column_01_BC.ubulk
T_Column_01_BC.uexp
T_Column_01_N.uasset
T_Column_01_N.ubulk
T_Column_01_N.uexp
T_Column_02_BC.uasset




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T_Column_02_BC.ubulk
T_Column_02_BC.uexp
T_Entrance01_D.uasset
T_Entrance01_D.ubulk
T_Entrance01_D.uexp
T_Entrance01_N.uasset
T_Entrance01_N.ubulk
T_Entrance01_N.uexp
T_Floor_01_BC.uasset
T_Floor_01_BC.ubulk
T_Floor_01_BC.uexp
T_Floor_01_N.uasset
T_Floor_01_N.ubulk
T_Floor_01_N.uexp
T_Floor_Bricks_01_BC.uasset
T_Floor_Bricks_01_BC.ubulk
T_Floor_Bricks_01_BC.uexp
T_Floor_Bricks_01_N.uasset
T_Floor_Bricks_01_N.ubulk
T_Floor_Bricks_01_N.uexp
T_Lamp01_D.uasset
T_Lamp01_D.ubulk
T_Lamp01_D.uexp
T_Lamp01_N.uasset
T_Lamp01_N.ubulk
T_Lamp01_N.uexp
T_Metal_Surface_01_BC.uasset
T_Metal_Surface_01_BC.ubulk
T_Metal_Surface_01_BC.uexp
T_Metal_Surface_01_M.uasset
T_Metal_Surface_01_M.ubulk
T_Metal_Surface_01_M.uexp
T_Metal_Surface_01_N.uasset
T_Metal_Surface_01_N.ubulk
T_Metal_Surface_01_N.uexp
T_Niche1_D.uasset
T_Niche1_D.ubulk
T_Niche1_D.uexp
T_Niche1_N.uasset
T_Niche1_N.ubulk
T_Niche1_N.uexp
T_Niche2_D.uasset
T_Niche2_D.ubulk
T_Niche2_D.uexp
T_Niche2_N.uasset
T_Niche2_N.ubulk
T_Niche2_N.uexp
T_Pylon2_D.uasset
T_Pylon2_D.ubulk
T_Pylon2_D.uexp
T_Pylon2_N.uasset
T_Pylon2_N.ubulk
T_Pylon2_N.uexp
T_Pylon6_D.uasset
T_Pylon6_D.ubulk
T_Pylon6_D.uexp
T_Pylon6_N.uasset
T_Pylon6_N.ubulk
T_Pylon6_N.uexp
T_Ring.uasset




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T_Ring.uexp
T_SK_Skeleton_AO.uasset
T_SK_Skeleton_AO.ubulk
T_SK_Skeleton_AO.uexp
T_SK_Skeleton_BaseColor_Sand.uasset
T_SK_Skeleton_BaseColor_Sand.ubulk
T_SK_Skeleton_BaseColor_Sand.uexp
T_SK_Skeleton_Metallic.uasset
T_SK_Skeleton_Metallic.ubulk
T_SK_Skeleton_Metallic.uexp
T_SK_Skeleton_Normal.uasset
T_SK_Skeleton_Normal.ubulk
T_SK_Skeleton_Normal.uexp
T_SK_Skeleton_Roughness.uasset
T_SK_Skeleton_Roughness.ubulk
T_SK_Skeleton_Roughness.uexp
T_SK_Skull_AO.uasset
T_SK_Skull_AO.ubulk
T_SK_Skull_AO.uexp
T_SK_Skull_BaseColor_Sand.uasset
T_SK_Skull_BaseColor_Sand.ubulk
T_SK_Skull_BaseColor_Sand.uexp
T_SK_Skull_Metallic.uasset
T_SK_Skull_Metallic.ubulk
T_SK_Skull_Metallic.uexp
T_SK_Skull_Normal.uasset
T_SK_Skull_Normal.ubulk
T_SK_Skull_Normal.uexp
T_SK_Skull_Roughness.uasset
T_SK_Skull_Roughness.ubulk
T_SK_Skull_Roughness.uexp
T_SkMage_Clothes01_AO.uasset
T_SkMage_Clothes01_AO.ubulk
T_SkMage_Clothes01_AO.uexp
T_SkMage_Clothes01_BaseColor_Blue.uasset
T_SkMage_Clothes01_BaseColor_Blue.ubulk
T_SkMage_Clothes01_BaseColor_Blue.uexp
T_SkMage_Clothes01_BaseColor_Dark.uasset
T_SkMage_Clothes01_BaseColor_Dark.ubulk
T_SkMage_Clothes01_BaseColor_Dark.uexp
T_SkMage_Clothes01_BaseColor_Desert.uasset
T_SkMage_Clothes01_BaseColor_Desert.ubulk
T_SkMage_Clothes01_BaseColor_Desert.uexp
T_SkMage_Clothes01_BaseColor_Green.uasset
T_SkMage_Clothes01_BaseColor_Green.ubulk
T_SkMage_Clothes01_BaseColor_Green.uexp
T_SkMage_Clothes01_BaseColor_Red.uasset
T_SkMage_Clothes01_BaseColor_Red.ubulk
T_SkMage_Clothes01_BaseColor_Red.uexp
T_SkMage_Clothes01_Metallic.uasset
T_SkMage_Clothes01_Metallic.ubulk
T_SkMage_Clothes01_Metallic.uexp
T_SkMage_Clothes01_Normal.uasset
T_SkMage_Clothes01_Normal.ubulk
T_SkMage_Clothes01_Normal.uexp
T_SkMage_Clothes01_Roughness.uasset
T_SkMage_Clothes01_Roughness.ubulk
T_SkMage_Clothes01_Roughness.uexp
T_SkMage_Clothes02_AO.uasset
T_SkMage_Clothes02_AO.ubulk




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T_SkMage_Clothes02_AO.uexp
T_SkMage_Clothes02_BaseColor_Blue.uasset
T_SkMage_Clothes02_BaseColor_Blue.ubulk
T_SkMage_Clothes02_BaseColor_Blue.uexp
T_SkMage_Clothes02_BaseColor_Dark.uasset
T_SkMage_Clothes02_BaseColor_Dark.ubulk
T_SkMage_Clothes02_BaseColor_Dark.uexp
T_SkMage_Clothes02_BaseColor_Desert.uasset
T_SkMage_Clothes02_BaseColor_Desert.ubulk
T_SkMage_Clothes02_BaseColor_Desert.uexp
T_SkMage_Clothes02_BaseColor_Green.uasset
T_SkMage_Clothes02_BaseColor_Green.ubulk
T_SkMage_Clothes02_BaseColor_Green.uexp
T_SkMage_Clothes02_BaseColor_Red.uasset
T_SkMage_Clothes02_BaseColor_Red.ubulk
T_SkMage_Clothes02_BaseColor_Red.uexp
T_SkMage_Clothes02_Metallic.uasset
T_SkMage_Clothes02_Metallic.ubulk
T_SkMage_Clothes02_Metallic.uexp
T_SkMage_Clothes02__Normal.uasset
T_SkMage_Clothes02__Normal.ubulk
T_SkMage_Clothes02__Normal.uexp
T_SkMage_Clothes02__Roughness.uasset
T_SkMage_Clothes02__Roughness.ubulk
T_SkMage_Clothes02__Roughness.uexp
T_SkMage_Clothes03_AO.uasset
T_SkMage_Clothes03_AO.ubulk
T_SkMage_Clothes03_AO.uexp
T_SkMage_Clothes03_BaseColor_Blue.uasset
T_SkMage_Clothes03_BaseColor_Blue.ubulk
T_SkMage_Clothes03_BaseColor_Blue.uexp
T_SkMage_Clothes03_BaseColor_Dark.uasset
T_SkMage_Clothes03_BaseColor_Dark.ubulk
T_SkMage_Clothes03_BaseColor_Dark.uexp
T_SkMage_Clothes03_BaseColor_Desert.uasset
T_SkMage_Clothes03_BaseColor_Desert.ubulk
T_SkMage_Clothes03_BaseColor_Desert.uexp
T_SkMage_Clothes03_BaseColor_Green.uasset
T_SkMage_Clothes03_BaseColor_Green.ubulk
T_SkMage_Clothes03_BaseColor_Green.uexp
T_SkMage_Clothes03_BaseColor_Red.uasset
T_SkMage_Clothes03_BaseColor_Red.ubulk
T_SkMage_Clothes03_BaseColor_Red.uexp
T_SkMage_Clothes03_Metallic.uasset
T_SkMage_Clothes03_Metallic.ubulk
T_SkMage_Clothes03_Metallic.uexp
T_SkMage_Clothes03_Normal.uasset
T_SkMage_Clothes03_Normal.ubulk
T_SkMage_Clothes03_Normal.uexp
T_SkMage_Clothes03_Roughness.uasset
T_SkMage_Clothes03_Roughness.ubulk
T_SkMage_Clothes03_Roughness.uexp
T_SkMage_Staff_AO.uasset
T_SkMage_Staff_AO.ubulk
T_SkMage_Staff_AO.uexp
T_SkMage_Staff_BaseColor_Dark.uasset
T_SkMage_Staff_BaseColor_Dark.ubulk
T_SkMage_Staff_BaseColor_Dark.uexp
T_SkMage_Staff_Metallic.uasset
T_SkMage_Staff_Metallic.ubulk




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T_SkMage_Staff_Metallic.uexp
T_SkMage_Staff_Normal.uasset
T_SkMage_Staff_Normal.ubulk
T_SkMage_Staff_Normal.uexp
T_SkMage_Staff_Roughness.uasset
T_SkMage_Staff_Roughness.ubulk
T_SkMage_Staff_Roughness.uexp
T_Skeleton_D.uasset
T_Skeleton_D.ubulk
T_Skeleton_D.uexp
T_Skeleton_N.uasset
T_Skeleton_N.ubulk
T_Skeleton_N.uexp
T_SmokeTile.uasset
T_SmokeTile.ubulk
T_SmokeTile.uexp
T_SmokeTile_N.uasset
T_SmokeTile_N.ubulk
T_SmokeTile_N.uexp
T_Smoke_Tiled_D.uasset
T_Smoke_Tiled_D.ubulk
T_Smoke_Tiled_D.uexp
T_Stair_01_BC.uasset
T_Stair_01_BC.ubulk
T_Stair_01_BC.uexp
T_Stair_01_N.uasset
T_Stair_01_N.ubulk
T_Stair_01_N.uexp
T_Stone_Damaged_01_BC.uasset
T_Stone_Damaged_01_BC.ubulk
T_Stone_Damaged_01_BC.uexp
T_Stone_Damaged_01_N.uasset
T_Stone_Damaged_01_N.ubulk
T_Stone_Damaged_01_N.uexp
T_TilingClouds_01.uasset
T_TilingClouds_01.ubulk
T_TilingClouds_01.uexp
T_TilingNoise03.uasset
T_TilingNoise03.ubulk
T_TilingNoise03.uexp
T_Trim_01_BC.uasset
T_Trim_01_BC.ubulk
T_Trim_01_BC.uexp
T_Trim_02_BC.uasset
T_Trim_02_BC.ubulk
T_Trim_02_BC.uexp
T_Trim_02_N.uasset
T_Trim_02_N.ubulk
T_Trim_02_N.uexp
T_Trim_07_BC.uasset
T_Trim_07_BC.ubulk
T_Trim_07_BC.uexp
T_Trim_07_N.uasset
T_Trim_07_N.ubulk
T_Trim_07_N.uexp
T_Wall01_D.uasset
T_Wall01_D.ubulk
T_Wall01_D.uexp
T_Wall01_N.uasset
T_Wall01_N.ubulk




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T_Wall01_N.uexp
T_Wall_01_BC.uasset
T_Wall_01_BC.ubulk
T_Wall_01_BC.uexp
T_Wall_01_N.uasset
T_Wall_01_N.ubulk
T_Wall_01_N.uexp
T_Wall_03_BC.uasset
T_Wall_03_BC.ubulk
T_Wall_03_BC.uexp
T_Wall_03_N.uasset
T_Wall_03_N.ubulk
T_Wall_03_N.uexp
T_Water_M.uasset
T_Water_M.ubulk
T_Water_M.uexp
T_Wood_01_BC.uasset
T_Wood_01_BC.ubulk
T_Wood_01_BC.uexp
T_Wood_01_N.uasset
T_Wood_01_N.ubulk
T_Wood_01_N.uexp
T_helmet_north_01_D.uasset
T_helmet_north_01_D.ubulk
T_helmet_north_01_D.uexp
T_helmet_north_01_N.uasset
T_helmet_north_01_N.ubulk
T_helmet_north_01_N.uexp
T_helmet_north_01_ORM.uasset
T_helmet_north_01_ORM.ubulk
T_helmet_north_01_ORM.uexp
Textures_FOLDER.uasset
Textures_FOLDER.uexp
ThrowingKnife.uasset
ThrowingKnife.uexp
Tile.uasset
Tile.uexp
Titlebar_WwiseAppIcon.uasset
Titlebar_WwiseAppIcon.uexp
Torch.uasset
Torch.uexp
Toughness.uasset
Toughness.uexp
Tracking.uasset
Tracking.uexp
TrapExpert.uasset
TrapExpert.uexp
Triggers_FOLDER.uasset
Triggers_FOLDER.uexp
TwoHandedWeaponExpert.uasset
TwoHandedWeaponExpert.uexp
UIFunctionLibrary.uasset
UIFunctionLibrary.uexp
Virtual_Acoustics_FOLDER.uasset
Virtual_Acoustics_FOLDER.uexp
WB_Item.uasset
WB_Item.uexp
WB_ItemTooltip.uasset
WB_ItemTooltip.uexp
WB_SpellSlot.uasset




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WB_SpellSlot.uexp
Wood.uasset
Wood.uexp
Wood_Bright.uasset
Wood_Bright.uexp
Wood_Deep.uasset
Wood_Deep.uexp
Wwise.uplugin
acoutex_nor.uasset
acoutex_nor.uexp
actor_mixer_nor.uasset
actor_mixer_nor.uexp
auxbus_nor.uasset
auxbus_nor.uexp
base_black_d.uasset
base_black_d.uexp
base_flat_n.uasset
base_flat_n.uexp
base_gray_d.uasset
base_gray_d.uexp
base_white_d.uasset
base_white_d.uexp
bus_nor.uasset
bus_nor.uexp
container_random_sequence_nor.uasset
container_random_sequence_nor.uexp
container_switch_nor.uasset
container_switch_nor.uexp
event_nor.uasset
event_nor.uexp
folder_nor.uasset
folder_nor.uexp
fx_fire_D.uasset
fx_fire_D.ubulk
fx_fire_D.uexp
fx_smoke_D.uasset
fx_smoke_D.ubulk
fx_smoke_D.uexp
gameparameter_nor.uasset
gameparameter_nor.uexp
layer_container_nor.uasset
layer_container_nor.uexp
motion_bus_nor.uasset
motion_bus_nor.uexp
physical_folder_nor.uasset
physical_folder_nor.uexp
sfx.uasset
sfx.uexp
sound_fx_nor.uasset
sound_fx_nor.uexp
state_nor.uasset
state_nor.uexp
stategroup_nor.uasset
stategroup_nor.uexp
switch_nor.uasset
switch_nor.uexp
switchgroup_nor.uasset
switchgroup_nor.uexp
trigger_nor.uasset
trigger_nor.uexp




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workunit_nor.uasset
workunit_nor.uexp
wproj.uasset
wproj.uexp
wwise_icon_16.uasset
wwise_icon_16.uexp
wwise_icon_512.uasset
wwise_icon_512.ubulk
wwise_icon_512.uexp
wwise_logo_32.uasset
wwise_logo_32.uexp




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                Exhibit D




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            Similarities between the P3 Game and Dark and Darker

1. Character Design

   –   The P3 Game and Dark and Darker have the same types of character
       classes: Barbarian, Cleric, Tanker (Fighter), Thief (Rogue), Wizard, and
       Ranger.

   –   As shown below, the character designs for each class are very similar.
       ✓ The Barbarian
                The P3 Game                           Dark and Darker




       ✓ The Cleric
                 The P3 Game                          Dark and Darker




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      ✓ The Tanker (Fighter)
             The P3 Game                Dark and Darker




      ✓ The Wizard
              The P3 Game                   Dark and Darker




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       ✓ The Thief (Rogue)
             The P3 Game                           Dark and Darker




       ✓ The Ranger
                The P3 Game                           Dark and Darker




   2. Setting / Structural Design

   –   The P3 Game is intended to demonstrate a fearful and dark atmosphere by
       using dungeons with dark brick walls as a background setting of the game
       and introduced torch-related in-game features (i.e. features that allow users
       to use their torches to improve vision and light up or extinguish the torches
       already installed in dungeons) to maximize such atmosphere. However,
       these setting and features are also implemented as is in Dark and Darker.




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                  The P3 Game                             Dark and Darker




3. Key Concept (Genre, Storyline, Detailed Elements of the Games)

   –    The P3 Game and Dark and Darker have similar story setting that “many
        adventurers who heard a rumor that they can become rich gather around to
        form a party and delve into dungeons full of monsters and treasures.”

   –    The game description of Dark and Darker is very similar to P3’s game
        description (which has never been disclosed outside Nexon).
        The P3 Game's         아주 위험하지만, 큰 부를 얻을 수 있다는 소문을 듣고
        Description in         미지의 던전을 향해 수많은 모험가들이 모여듭니다.
           Korean              [English trans.: Despite the danger, many adventurers
       Description (with       venture into the unknown dungeon after hearing rumors of
           English             great fortune in the dungeon.]
         Translation)
                              모험가들은 믿을 수 있는 멤버들과 파티를 구성하여
                               어둡고, 위험한 던전으로 모험을 떠납니다. [English
                               trans.: Adventurers form a party with other trusted members
                               and venture into the dark and dangerous dungeon.]

                              그들은 그곳에서 거대한 몬스터를 만나 위험에
                               처하거나, 값 비싼 전리품들을 발견할 수 있습니다.
                               [English trans,: They may find themselves in danger upon
                               encountering giant monsters or discover valuable loot /
                               treasure.]

                              함정, 몬스터, 다른 플레이어 등 무수한 위험에서 벗어나
                               던전을 무사히 탈출하면 획득한 모든 것을 가질 수
                               있습니다. [English trans.: You can keep everything you
                               have plundered if you escape the dungeon safely and avoid
                               countless dangers such as traps, monsters, and other
                               players.]

         Dark and             Unfathomable fortunes await the brave and the
       Darker’s Game           foolish willing to delve into the devastated depths of
       Description in          an ancient citadel.
          English
                              Band together with your friends and use your
                               courage, wits, and cunning to uncover mythical




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                                treasures, defeat gruesome monsters, while staying
                                one step ahead of the other devious treasure-hunters.
                               Once you’ve plundered your riches, now comes the
                                hard part, getting out alive.


   –    Dark and Darker has all characteristics of the P3 Game.
             Category                                    Detail
       Belong to PvPvE          This genre of game requires users to basically
       genre                    compete with each other (Player vs Player), but also
                                to fight the in-game environment (e.g., monsters).
       Has both the FPS and     Users cannot defeat other users only with a simple
       RPG elements             attack sign, and have to aim and shoot other users to
                                defeat them (FPS genre). Moreover, users grow
                                stronger as they obtain various items, and go on
                                adventures (element of an RPG).
       Game’s starting point,   16 users participate in one game. The game starts
       etc.                     from selecting characters at the tavern where a user
                                can communicate with other users.
       Character Class          Consists of the Barbarian, the Cleric, the Tanker
                                (Fighter), the Wizard, the Rogue (Thief), and the
                                Ranger.
       Other                    The background setting of the both games is a
                                dungeon made up of dark bricks. The games have
                                torch-related features, and they offer a fixed attack
                                pattern for each type of weapons. In the both games,
                                user interaction with in-game objects such as boxes
                                and doors are available in the form of casting, and
                                certain amount of time is required to equip or replace
                                equipment.




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                            Exhibit D




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                    #326, G5 Central Plaza, 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul, Korea
                                    Tel: (822)3477-8686 Fax: (822) 3477-8508


                                                                                    April 12, 2023

VIC ELECTRONIC MAIL



Recipient:      Nexon Korea Corporation

                7, Pangyo-ro 256beon-gil, Bundang-gu,

                Seongnam-si, Gyeonggi-do, Korea (13487)

                Lee Jung-Hun, Chief Executive Officer (CEO)



Sender:         Yong Gap Kim, Esq., Eung Jun Jeon, Esq., Dong Hwan Shin, Esq., Jang Hoon
                Han, Esq., and Jae Goo Lee, Esq., LIN

                #326, G5 Central Plaza, 27, Seochojungang-ro 24-gil, Seocho-gu, Seoul, Korea
                (06601)

                E-mail: dhshin@law-lin.com



RE:             Response to copyright infringement cease and desist letter and Request to
                cease interference with Ironmace’s business



Dear Mr. Lee,

        We, a law firm named LIN (“LIN”), are sending this Letter to Nexon Korea Corporation
(“Nexon”) on behalf of our client, IRONMACE Co., Ltd. (“Ironmace”). This letter serves as a
response to the letter dated March 23, 2023 (“Cease and Desist Letter”) from Nexon, which
demanded Ironmace to cease and desist the misappropriation of trade secrets and copyright
infringement.




                                                         1


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         (Please note that if the CEO of Nexon instructed and participated in illegal
activities, including business interference against Ironmace, the CEO will be held jointly
liable for damages and be subject to civil and criminal penalties as a perpetrator. If the
CEO of Nexon was not aware of Nexon’s illegal activities until now, please review this letter
and take all necessary measures to immediately cease Nexon’s illegal activities. If the
current situation caused by Nexon’s illegal activities is not rectified or if such illegal
activities are repeated in the future, Ironmace plans to take all necessary civil and criminal
actions against those involved.)



         In the Cease and Desist Letter sent to Terence (Seungha) Park (“Mr. Park”) and Ju-Hyun
Choi (“Mr. Choi”) of Ironmace, Nexon stated that they believe Dark and Darker is a ‘counterfeit
game’ that was created by stealing and misappropriating Nexon’s trade secrets and copyrights
related to Nexon’s P3 Game. Furthermore, Nexon demanded Ironmace to remove all test versions
from the Steam Platform (“Steam”) of Valve Corporation (“Valve”) and demanded to cease and
desist all further development, testing, production, reproduction, publishing, provision,
distribution, transmission, display, performance, advertising, licensing, and sale of the materials
and the game created from the misappropriation and infringement.



         However, on March 22, 2023, Nexon filed a takedown notice to Valve with the contents
similar to the above. This was one day before sending the Cease and Desist Letter to Mr. Park
and Mr. Choi. The filing of notice resulted in the removal of Ironmace’s Dark and Darker from
Steam.



         Nexon’s claim that Ironmace used their trade secrets and copyright materials while
developing Dark and Darker is without reasonable grounds and is merely a unilateral and vague
speculation by Nexon. Contrary to Nexon’s claims, it is evident from the materials presented that
their takedown notice was willfully filed for the sole purpose of interfering with Ironmace’s




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business activities, despite their knowledge that there was no misappropriation of trade secrets
and copyright infringement in Ironmace’s development of Dark and Darker.



        First, upon reviewing Nexon’s claims of copyright infringement, we could confirm that
Nexon had planned to file a takedown notice with the sole intention of interfering with
Ironmace’s business activities related to Dark and Darker. Although all of the works listed in
Exhibit A of the Cease and Desist Letter were completed around 2021, their copyrights were
registered in February and March 2023. In light of these circumstances, it is clear that during the
development of the P3 Game, Nexon did not initially believe that the works, visual arts, and
movies/AV works of the P3 Game were worth protecting by copyright. However, they later
registered these materials as copyrighted just before filing a takedown notice to Steam with the
intention of interfering with Ironmace’s business activities. Furthermore, as discussed in detail
below, the works listed in Exhibit A of the Cease and Desist Letter lack originality, so the
copyright registrations for these works cannot be deemed valid.



        Second, in Nexon’s claim for misappropriation of their trade secrets, they suggested that
Mr. Choi of Ironmace transferred more than 11,000 source codes, art resources, and build files
of the P3 Game from 2020 to 2021. Nexon also alleged that Mr. Choi urged P3 Project members
to leave Nexon and create games similar to the P3 Game. However, as a director, Mr. Choi has
improved the team’s work performance by using an external server. This was done with several
written approvals from Nexon executives and in compliance with Nexon’s remote work policy
in response to the COVID-19 pandemic from 2020 to 2021. Further, during the P3 Project, Mr.
Choi used an external server for efficient game development with Nexon’s tacit approval. In
other words, Nexon allowed Mr. Choi’s use of external server for work purposes, despite their
knowledge of such usage, as they could monitor data transmission outside the company in real-
time. Mr. Choi announced his resignation from Nexon due to an uncertain corporate atmosphere.
This atmosphere was caused by (1) his superior’s public announcement that he had no intention
of supporting the P3 Project and (2) a loss of trust between Mr. Choi and Nexon around June
2021, which resulted in the cancellation of several projects. Instead of making efforts to resolve


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the situation amicably, Nexon suddenly instructed their internal audit team to investigate Mr.
Choi for leaking their trade secrets. As a result, Mr. Choi consulted with his lawyer and deleted
all information from the external server to protect his privacy and Nexon’s information. This was
done in order to avoid unilateral harassment by Nexon. Meanwhile, nine (9) out of approximately
20 P3 Project team members voluntarily resigned from Nexon and joined Ironmace, all by their
own free will. This fact shows that the internal atmosphere was uncertain enough for Nexon to
cancel the P3 Project at the time. On the other hand, it clearly demonstrates how much trust Mr.
Choi, as a director, had given to his colleagues. Looking carefully at the objective facts of this
case, it is clear that Nexon’s claims of misappropriation of trade secrets and copyright
infringement are only a pretext to interfere with Ironmace’s business activities related to Dark
and Darker.



        Lastly, in the Cease and Desist Letter, Nexon cited the similarities between Dark and
Darker and the P3 Game as the grounds of potential copyright infringement and misappropriation
of trade secrets. Specifically, Nexon claimed that the names of 2,338 resource files were identical
between the two games, citing Exhibit C. Further, Nexon claims that the core concepts, genres,
and storylines of the two games are similar, as shown by the comparison provided in Exhibit D.



        However, out of the 2,338 resource files mentioned above, Nexon should have been
aware that 1,306 files were automatically created files specific to Unreal Engine and 950 files
were identical assets and plugins (specific to Unreal Engine) that were available for purchase
from Epic Store. Additionally, the remaining 82 files with generic named files are subject to the
file naming convention commonly used in first-person fantasy game. When applying this
convention, it is not unusual for around 0.1% (82) of approximately 75,000 files to have identical
file names. The file names of 950 assets and plug-ins and the 82 conventionally named files are
attached as Exhibit A. The fact that 2,338 resource files have identical names is simply a natural
result of using Unreal Engine. This clearly shows that, despite being well aware of the details,




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Nexon, as a large game company, is intentionally focusing only the superficial aspects of these
facts in a malicious manner.1



             Nexon further claims that the core concepts, genres, and storylines of the two games are
similar. However, based on Ironmace’s research, both the concepts and storylines are purposely
traditional and generic. They can be easily found in many other fantasy games, including pen
and paper RPGs, which were one of the main inspirations for Dark and Darker. It is evident that
both games heavily rely on the traditional classic fantasy genre. Further, it is difficult to consider
that the elements listed in Exhibit D, such as character classes and torch-related features, are
original since they could be found in many other fantasy games. The elements that can be
examined in the earlier fantasy games are set out in Exhibit B.



             As discussed above, the allegation that Ironmace used Nexon’s trade secrets and
copyrighted data in the development of Dark and Darker is based on fragmented and superficial
evidence. Such allegaiton is nothing more than Nexon’s unilateral and vague speculation. Rather,
based on the materials presented by Nexon so far, it is clear that Nexon has willfully filed a
takedown notice solely for the purpose of interfering with Ironmace’s business activities, even
though they were well aware that there has been no misappropriation of trade secrets and
copyright infringement in Ironmace’s development of Dark and Darker.



             As you are fully aware, Ironmace posted a test version of Dark and Darker on Steam
from 2022 to 2023. Dark and Darker has received high expectations from users, ranking second
among the upcoming releases on Steam for the year 2023 (with approximately 2 million


1   Files of Dark and Darker are already in the custody of Korean investigative agencies. Even though Nexon, at any time, can
    make a request to the investigative agencies to confirm whether the files of P3 Game and Dark and Darker are identical,
    they have not made such a request up until now. Upon request of Nexon, Ironmace is willing to proceed with the identity
    confirmation of the aforementioned files, so please kindly contact Ironmace at any time if Nexon wishes to verify the
    identity of the files.




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cumulative users and around 100,000 concurrent users). However, Nexon’s filing of takedown
notice has made it difficult for Ironmace to release Dark and Darker through Steam. If Nexon
had not filed a takedown notice, it is evident that Ironmace’s Dark and Darker, through the Steam
release, would have recorded greater sales than any game that Nexon has released through U.S.
gaming platforms thus far. Thus, Nexon’s acts, such as filing a takedown notice on Steam against
Ironmace, constitute illegal activities that interfere with Ironmace’s business activities.



        Therefore, Ironmace demands that Nexon:

        1.   Cease and desist from ‘interfering with Ironmace’s lawful business activities’,
             which include submitting takedown notice(s) to online service providers (“OSPs”)
             such as Steam;

        2.   Withdraw the takedown notice(s) against Ironmace, which Nexon submitted to
             OSPs (including Steam) within three (3) days of receipt of this letter, to remove the
             ongoing interference of business activities by Nexon; and

        3.   Cease and desist from ‘interfering with Ironmace’s lawful business activities
             through any other means’, including sending warning letters to third parties such as
             employees of Ironmace.



        Nexon shall be responsible for any and all material and intangible damages that have
occurred or are likely to occur to Ironmace due to Nexon’s interference with Ironmace’s business
activities. Please be advised that if Nexon fails to immediately comply with Ironmace’s requests,
their liabilities for damages may be aggravated. Further, should Nexon fail to comply with
Ironmace’s requests by the deadline mentioned above, Ironmace will promptly take all legal
actions necessary to protect its rights, including its valuable sales activities.



        In particular, Ironmace is still in the process of developing and modifying Dark and
Darker to meet the demand of users collected during the test period and to improve the



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game’s quality. Ironmace will change, delete, and add some elements of the game during
this development process. Please be aware that development of Dark and Darker, as
described above, is entirely unrelated to Nexon’s P3 Game. Please take measures to refrain
from engaging in any further illegal actions that could interfere with Ironmace’s service of
Dark and Darker.



        Ironmace desires that all disputes between Ironmace and Nexon will be resolved in an
amicable manner through Nexon’s receipt of this letter. Further, Ironmace sincerely hopes that
the expectations of millions of users around the world, who are eagerly waiting for the official
release of Dark and Darker, will not be brought down due to Nexon and their action.



        This letter is not intended as a full recitation of the facts or a complete review of
applicable law. Nothing contained in or omitted from this letter is or should be deemed to be a
limitation, restriction, or waiver of any Ironmace’s rights or remedies, either at law or in equity.
Ironmace expressly reserves all of its legal and equitable rights and remedies, including the right
to seek injunctive relief and recover of damages.



        Sincerely,



                                           Legal counsels of IRONMACE Co., Ltd.

                                           LIN

                                           Yong Gap Kim, Esq.

                                           Eung Jun Jeon, Esq.

                                           Dong Hwan Shin, Esq.

                                           Jang Hoon Han, Esq.

                                           Jae Goo Lee, Esq.


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                                                        Exhibit A2



Filename,Information,Note,Asset location in special case

MF_Fresnel_01a.uasset,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

MF_Fresnel_01a.uexp,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

MF_Sand_01a.uasset,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

MF_Sand_01a.uexp,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

TX_Cube_01a_CUBE.uasset,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

TX_Cube_01a_CUBE.uexp,Ancient Treasures,https://www.unrealengine.com/marketplace/ko/product/9efde82ef29746fcbb2cb0e45e714f43,

Blockout_Box.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Box.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Cone.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Cone.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Corner_Curved.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Corner_Curved.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Corner_Ramp.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Corner_Ramp.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Cylinder.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Cylinder.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Doorway.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Doorway.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Railing.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Railing.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Ramp.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Ramp.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Skewbox.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Skewbox.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,



2 The contents of Exhibit A can also be found at the link below.


https://docs.google.com/spreadsheets/d/1hzJwYlZjj8VT39dEErQBX_4DGt-gZ0MnlSI_keyXO4I/edit#gid=0




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Blockout_Sphere.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Sphere.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Curved.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Curved.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Linear.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Linear.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Linear_Manual.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Stairs_Linear_Manual.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Tube.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Tube.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Window.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

Blockout_Window.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

BlockoutToolsFunctions.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

BlockoutToolsFunctions.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

BlockoutToolsPlugin.uplugin,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutAlignment.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutAlignment.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutRailingType.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutRailingType.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutStairsType.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

EBlockoutStairsType.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

M_BlockoutTools_Custom.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

M_BlockoutTools_Custom.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

M_BlockoutTools_Grid.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

M_BlockoutTools_Grid.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Grid.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Grid.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Triplanar.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Triplanar.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Triplanar_Grid.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Triplanar_Grid.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,




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MF_Blockout_Triplanar_Normal.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MF_Blockout_Triplanar_Normal.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MI_BlockoutTools_Custom.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MI_BlockoutTools_Custom.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MI_BlockoutTools_Grid.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

MI_BlockoutTools_Grid.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box_Centered.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box_Centered.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box_Right.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Box_Right.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cone_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Corner_Ramp.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Corner_Ramp.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Inner_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,




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SM_Blockout_Curved_Corner_Outer_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Curved_Corner_Outer_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Cylinder_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Hemisphere_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Closed.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Closed.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Open.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Open.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Pole.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Railing_Pole.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Ramp.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Ramp.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,




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SM_Blockout_Sphere_Q1.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q1.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q2.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q2.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q3.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q3.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q4.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Sphere_Q4.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Box.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Box.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Box_Centered.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Box_Centered.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Sloped_Centered.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Sloped_Centered.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Sloped_Linear.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

SM_Blockout_Step_Sloped_Linear.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Actor_Icon.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Actor_Icon.ubulk,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Actor_Icon.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Grid.uasset,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Grid.ubulk,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

T_Blockout_Grid.uexp,Blockout Tools Plugin,https://dmkarpukhin.com/blockout-tools-plugin/documentation/,

base_black_d.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_black_d.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_flat_n.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-
      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_flat_n.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_gray_d.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures




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base_gray_d.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_white_d.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-
      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

base_white_d.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\Materials\BaseMaterials\Textures

Candle.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Environment\Dungeon\Crypt\CenterTower\Materials\Chandelier

Candle.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-
      dungeon,Content\DungeonCrawler\Environment\Dungeon\Crypt\CenterTower\Materials\Chandelier

Door1.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

Door1.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

FX_fire.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

FX_fire.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

fx_fire_D.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

fx_fire_D.ubulk,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

fx_fire_D.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

Fx_Smoke.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

Fx_Smoke.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon,

fx_smoke_D.uasset,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

fx_smoke_D.ubulk,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

fx_smoke_D.uexp,Fantasy Dungeon,https://www.unrealengine.com/marketplace/ko/product/fantasy-

      dungeon,Content\DungeonCrawler\Props\Common\LightSource\FX\Textures

SM_BonesPile01.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile01.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile02.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile02.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile03.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile03.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,




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SM_BonesPile05.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_BonesPile05.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_ClayPot_11.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_ClayPot_11.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_ClayPot_13.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_ClayPot_13.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Column1_01.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Column1_01.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Column1_02.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Column1_02.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Niche2_1.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Niche2_1.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Pylon2_01.uasset,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

SM_Pylon2_01.uexp,Fantasy Dungeon 2,https://www.unrealengine.com/marketplace/ko/product/fantasy-dungeon-2-ossuary,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      adventure-environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

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      adventure-environment-pack,

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      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

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      environment-pack,




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      environment-pack,

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      adventure-environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

SM_Column_05.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Column_05a.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Column_05a.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

SM_Column_07.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Column_07.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Column_Ruined_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Column_Ruined_02.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Column_Ruined_04.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Column_Ruined_04.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Column_Ruined_05.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,




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      adventure-environment-pack,

SM_Debris_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

SM_Debris_Floor_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_02.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_03.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_03.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Debris_Floor_04.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_04.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Debris_Floor_05.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Debris_Floor_05.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

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SM_Floor_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Floor_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

SM_Floor_Half_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,




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SM_Floor_Half_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

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      adventure-environment-pack,

SM_Floor_Ruined_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Floor_Ruined_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

SM_Floor_Ruined_06.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

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      adventure-environment-pack,

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      adventure-environment-pack,

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SM_Metal_Door_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      environment-pack,

SM_Pier_02.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Pilaster_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

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      environment-pack,

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      environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

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      environment-pack,

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SM_Plank_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

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      environment-pack,

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      environment-pack,

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      environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

SM_Scaffolding_07.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Scaffolding_07.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Stair_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Stair_02.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

SM_Stair_Tileable_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,




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SM_Stair_Tileable_03.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Stair_Tileable_03.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      environment-pack,

SM_Wall_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

SM_Wall_Corner_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

SM_Wall_Corner_Half_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      adventure-environment-pack,

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      adventure-environment-pack,

SM_Wall_Corner_Half_03.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      adventure-environment-pack,

SM_Wall_Low_04.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Wall_Low_05.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Low_05.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

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      adventure-environment-pack,




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      environment-pack,

SM_Wall_Ruined_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wall_Ruined_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Ruined_09.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Ruined_09.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wall_Ruined_10.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      adventure-environment-pack,

SM_Wall_Ruined_11.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Ruined_11.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Ruined_14.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      adventure-environment-pack,

SM_Wall_Ruined_31.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Ruined_31.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Thick_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wall_Thick_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

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      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wall_Thick_Ruined_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wall_Thick_Ruined_010.uasset,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,




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SM_Wall_Thick_Ruined_03.uasset,Lordenfel: Castles & Dungeons RPG
      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wall_Thick_Ruined_03.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wall_Thick_Ruined_07.uasset,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wall_Thick_Ruined_07.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wall_Thick_Ruined_08.uasset,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wall_Thick_Ruined_08.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Window_02.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Window_02.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

SM_Wooden_Beam_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Beam_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wooden_Beam_03.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Beam_03.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Floor_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wooden_Floor_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Floor_Ruined_01.uasset,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wooden_Floor_Ruined_01.uexp,Lordenfel: Castles & Dungeons RPG
      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wooden_Floor_Ruined_09.uasset,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,




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SM_Wooden_Floor_Ruined_09.uexp,Lordenfel: Castles & Dungeons RPG

      pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-environment-pack,

SM_Wooden_Stair_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wooden_Stair_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_01.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_01.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wooden_Support_07.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_07.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_08.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_08.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_09.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_09.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

SM_Wooden_Support_11.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

SM_Wooden_Support_11.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Arch_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Arch_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Arch_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,




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T_Arch_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_02_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Arch_02_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_02_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_02_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Arch_02_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Arch_02_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Ballustrade_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Ballustrade_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Ballustrade_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Ballustrade_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Ballustrade_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Ballustrade_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Brick_Rubble_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Brick_Rubble_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,




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T_Brick_Rubble_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_02_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Brick_Rubble_02_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_02_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_02_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Brick_Rubble_02_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Brick_Rubble_02_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Bricks_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Bricks_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Bricks_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Bricks_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Bricks_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Bricks_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Floor_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Floor_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Floor_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Floor_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Floor_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,




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T_Floor_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Floor_Bricks_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Floor_Bricks_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Floor_Bricks_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Floor_Bricks_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Floor_Bricks_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Floor_Bricks_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_M.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Metal_Surface_01_M.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_M.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Metal_Surface_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Metal_Surface_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Stair_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Stair_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,




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T_Stair_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Stair_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Stair_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Stair_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Stone_Damaged_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-
      adventure-environment-pack,

T_Stone_Damaged_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Stone_Damaged_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Stone_Damaged_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Stone_Damaged_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Stone_Damaged_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-

      adventure-environment-pack,

T_Trim_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Trim_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_02_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Trim_02_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_02_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_02_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Trim_02_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,




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T_Trim_02_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_07_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Trim_07_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_07_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_07_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Trim_07_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Trim_07_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Wall_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_03_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Wall_03_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_03_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wall_03_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Wall_03_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,




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T_Wall_03_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wood_01_BC.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Wood_01_BC.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wood_01_BC.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wood_01_N.uasset,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-
      environment-pack,

T_Wood_01_N.ubulk,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

T_Wood_01_N.uexp,Lordenfel: Castles & Dungeons RPG pack,https://www.unrealengine.com/marketplace/ko/product/lordenfel-adventure-

      environment-pack,

Backstab.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Backstab.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_Arrow.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_Arrow.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_Footprint.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_Footprint.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_FranciscaAxeProjectile.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_FranciscaAxeProjectile.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_ItemActor.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_ItemActor.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_PlayerController.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",




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BP_PlayerController.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_ThrowingKnifeProjectile.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes
      the recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_ThrowingKnifeProjectile.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_TorchProjectile.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

BP_TorchProjectile.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

Fireball.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Fireball.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

FranciscaAxe.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

FranciscaAxe.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Crouch.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Crouch.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Interact.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Interact.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_InteractPassive.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_InteractPassive.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Rest.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GA_Rest.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS
      naming convention/ Same file name as P3 but different content and/or implementation",

GA_Walk.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",




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GA_Walk.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",

GC_Explosion.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GC_Explosion.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GC_SpellCastReady.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GC_SpellCastReady.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GC_SpellCastStart.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GC_SpellCastStart.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Backstab.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Backstab.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_InvisibilitySpell.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_InvisibilitySpell.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_ShieldExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_ShieldExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Smash.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Smash.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Toughness.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Toughness.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_Tracking.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",




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GE_Tracking.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_TrapExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_TrapExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_TwoHandedWeaponExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

GE_TwoHandedWeaponExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

Lockpick.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Lockpick.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

MI_Lockpick.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

MI_Lockpick.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

ShieldExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

ShieldExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

Smash.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",

Smash.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",

SmokeBomb.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

SmokeBomb.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

ThrowingKnife.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

ThrowingKnife.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

Torch.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",




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Torch.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",

Toughness.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Toughness.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Tracking.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

Tracking.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,
      GAS naming convention/ Same file name as P3 but different content and/or implementation",

TrapExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

TrapExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

TwoHandedWeaponExpert.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

TwoHandedWeaponExpert.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

UIFunctionLibrary.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the

      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

UIFunctionLibrary.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

WB_Item.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE,

      GAS naming convention/ Same file name as P3 but different content and/or implementation",

WB_Item.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended UE, GAS

      naming convention/ Same file name as P3 but different content and/or implementation",

WB_ItemTooltip.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the
      recommended UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

WB_ItemTooltip.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

WB_SpellSlot.uasset,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended

      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

WB_SpellSlot.uexp,made by IRONMACE,"word or concept commonly found in typical medieval fantasy games. / Utilizes the recommended
      UE, GAS naming convention/ Same file name as P3 but different content and/or implementation",

MM_Master_Material_01a.uasset,Medieval - VOL 8 - Shields and Helmets,https://www.unrealengine.com/marketplace/ko/product/medieval-

      vol-8-shields-and-helmets,




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MM_Master_Material_01a.uexp,Medieval - VOL 8 - Shields and Helmets,https://www.unrealengine.com/marketplace/ko/product/medieval-

      vol-8-shields-and-helmets,

M_Base.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

M_Base.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

M_Base_GlobalTint.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

M_Base_GlobalTint.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

MF_RGBA_Multiplier.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

MF_RGBA_Multiplier.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

MF_RGBA_Tint.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

MF_RGBA_Tint.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

RGBA_Mask_NoTint.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-

      armour,Content\DungeonCrawler\MaterialLibrary\Materials\Textures

RGBA_Mask_NoTint.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-

      armour,Content\DungeonCrawler\MaterialLibrary\Materials\Textures

SSP_caucasian.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-

      armour,Content\DungeonCrawler\MaterialLibrary\Materials\Textures

SSP_caucasian.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-

      armour,Content\DungeonCrawler\MaterialLibrary\Materials\Textures

T_helmet_north_01_D.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_D.ubulk,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_D.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_N.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_N.ubulk,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_N.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_ORM.uasset,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_ORM.ubulk,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_helmet_north_01_ORM.uexp,Medieval Armour,https://www.unrealengine.com/marketplace/ko/product/medieval-armour,

T_Blank_N.uasset,Medieval

      Dungeon,https://www.unrealengine.com/marketplace/ko/product/a5b6a73fea5340bda9b8ac33d877c9e2,Content\DungeonCrawler\Environme

      nt\Common\MasterMaterial\Textures

T_Blank_N.uexp,Medieval

      Dungeon,https://www.unrealengine.com/marketplace/ko/product/a5b6a73fea5340bda9b8ac33d877c9e2,Content\DungeonCrawler\Environme

      nt\Common\MasterMaterial\Textures

M_SK_Skeleton_Sand.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,




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M_SK_Skeleton_Sand.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SK_Skull_Sand.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SK_Skull_Sand.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes01_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes01_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes02_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes02_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes03_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Clothes03_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Staff_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_SKMage_Staff_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_BaseColor_Sand.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SK_Skeleton_BaseColor_Sand.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SK_Skeleton_BaseColor_Sand.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SK_Skeleton_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skeleton_Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,




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T_SK_Skull_BaseColor_Sand.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SK_Skull_BaseColor_Sand.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_BaseColor_Sand.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SK_Skull_Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Blue.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Blue.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_BaseColor_Blue.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-
      army-01,

T_SkMage_Clothes01_BaseColor_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Dark.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_BaseColor_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_BaseColor_Desert.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Desert.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Desert.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-
      skeleton-army-01,




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T_SkMage_Clothes01_BaseColor_Green.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Green.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-
      skeleton-army-01,

T_SkMage_Clothes01_BaseColor_Green.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_BaseColor_Red.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_BaseColor_Red.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-
      army-01,

T_SkMage_Clothes01_BaseColor_Red.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes01_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes01_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes01_Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes01_Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes01_Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes01_Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes01_Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Clothes02__Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes02__Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes02__Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes02__Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,




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T_SkMage_Clothes02__Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02__Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Clothes02_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes02_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes02_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Blue.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Blue.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_BaseColor_Blue.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_BaseColor_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Dark.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_BaseColor_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_BaseColor_Desert.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Desert.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Desert.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-
      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Green.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Green.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes02_BaseColor_Green.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-
      army-01,

T_SkMage_Clothes02_BaseColor_Red.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_BaseColor_Red.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,




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T_SkMage_Clothes02_BaseColor_Red.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes02_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Clothes02_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes02_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes03_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes03_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes03_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Blue.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Blue.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_BaseColor_Blue.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_BaseColor_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Dark.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_BaseColor_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_BaseColor_Desert.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-
      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Desert.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Desert.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Green.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-
      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Green.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-

      skeleton-army-01,

T_SkMage_Clothes03_BaseColor_Green.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,




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T_SkMage_Clothes03_BaseColor_Red.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_BaseColor_Red.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-
      army-01,

T_SkMage_Clothes03_BaseColor_Red.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes03_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Clothes03_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes03_Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes03_Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes03_Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Clothes03_Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Clothes03_Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-

      01,

T_SkMage_Clothes03_Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Staff_AO.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_AO.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_AO.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_BaseColor_Dark.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Staff_BaseColor_Dark.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-

      army-01,

T_SkMage_Staff_BaseColor_Dark.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-
      01,

T_SkMage_Staff_Metallic.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Metallic.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Metallic.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Normal.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,




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T_SkMage_Staff_Normal.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Normal.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Roughness.uasset,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Roughness.ubulk,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

T_SkMage_Staff_Roughness.uexp,Modular Skeleton Army,https://www.unrealengine.com/marketplace/ko/product/modular-skeleton-army-01,

M_Distortion.uasset,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

M_Distortion.uexp,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

M_Outline.uasset,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

M_Outline.uexp,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

M_Radial_Gradient.uasset,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

M_Radial_Gradient.uexp,Orb VFX Pack,https://www.unrealengine.com/marketplace/ko/product/orb-vfx-pack,

SM_Sphere.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

SM_Sphere.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Ring.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Ring.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Smoke_Tiled_D.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Smoke_Tiled_D.ubulk,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Smoke_Tiled_D.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile.ubulk,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile_N.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile_N.ubulk,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_SmokeTile_N.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Water_M.uasset,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Water_M.ubulk,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

T_Water_M.uexp,RPG FX Starter Pack,https://www.unrealengine.com/marketplace/ko/product/rpg-fx-starter-pack,

MF_DitheredRefraction.uasset,Sci-fi and magic FX pack,https://www.unrealengine.com/marketplace/ko/product/sci-fi-and-magic-fx-pack,

MF_DitheredRefraction.uexp,Sci-fi and magic FX pack,https://www.unrealengine.com/marketplace/ko/product/sci-fi-and-magic-fx-pack,

MF_ParticleRandomSize.uasset,Sci-fi and magic FX pack,https://www.unrealengine.com/marketplace/ko/product/sci-fi-and-magic-fx-pack,

MF_ParticleRandomSize.uexp,Sci-fi and magic FX pack,https://www.unrealengine.com/marketplace/ko/product/sci-fi-and-magic-fx-pack,




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AssetRegistry.bin,Unreal Engine auto-generated,,

Default_Work_Unit_FOLDER.uasset,Unreal Engine auto-generated,,

Default_Work_Unit_FOLDER.uexp,Unreal Engine auto-generated,,

PCD3D_SM5.ushaderbytecode,Unreal Engine auto-generated,,

ShaderArchive-Global-,Unreal Engine auto-generated,,

DefaultEngine.ini,Unreal Engine Config File,,

DefaultGame.ini,Unreal Engine Config File,,

DefaultGameplayTags.ini,Unreal Engine Config File,,

DefaultGameUserSettings.ini,Unreal Engine Config File,,

DefaultInput.ini,Unreal Engine Config File,,

Acoustic_Banner.uasset,Wwise auto-

      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Acoustic_Banner.uexp,Wwise auto-

      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

acoutex_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

acoutex_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

actor_mixer_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

actor_mixer_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

AK_Acoustic_Portal.uasset,Wwise auto-generated,Wwise API assets that are automatically created when Wwise and Unreal are Event-

      Based Packaging (synchronized),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Acoustic_Portal.ubulk,Wwise auto-generated,Event-Based Packaging Description

      Link,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Acoustic_Portal.uexp,Wwise auto-generated,블로그 | Audiokinetic,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Acoustic_Portal_Explorer.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Acoustic_Portal_Explorer.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Reverb_Volume.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Reverb_Volume.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Reverb_Volume.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Reverb_Volume_Explorer.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes




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AK_Reverb_Volume_Explorer.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Spatial_Audio_Volume.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Spatial_Audio_Volume.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Spatial_Audio_Volume.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Spatial_Audio_Volume_Explorer.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AK_Spatial_Audio_Volume_Explorer.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAcousticTexture.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAcousticTexture.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAcousticTexture.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioBank.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioBank.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioBank.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioEvent.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioEvent.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAudioEvent.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAuxBus.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAuxBus.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkAuxBus.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkExternalMediaAsset.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkExternalMediaAsset.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkExternalMediaAsset.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkLocalizedMediaAsset.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkLocalizedMediaAsset.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkLocalizedMediaAsset.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkMediaAsset.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkMediaAsset.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkMediaAsset.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkRtpc.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkRtpc.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkRtpc.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkStateValue.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes




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AkStateValue.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkStateValue.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkSwitchValue.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkSwitchValue.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkSwitchValue.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkTrigger.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkTrigger.ubulk,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AkTrigger.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

Anechoic.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Anechoic.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

AnimNotify_AkEvent.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

AnimNotify_AkEvent.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTypes

auxbus_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

auxbus_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Brick.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Brick.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

bus_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

bus_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Carpet.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Carpet.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Concrete.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Concrete.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

container_random_sequence_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

container_random_sequence_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

container_switch_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons




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container_switch_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Cork_Tiles.uasset,Wwise auto-
      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Cork_Tiles.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Curtains.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Curtains.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Drywall.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Drywall.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

event_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

event_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Fabric.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Fabric.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

folder_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

folder_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

gameparameter_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

gameparameter_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

InitBank.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio

InitBank.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio

layer_container_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

layer_container_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

motion_bus_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

motion_bus_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Mountain.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Mountain.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures




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physical_folder_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

physical_folder_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

S_AkComponent.uasset,Wwise auto-generated,,

S_AkComponent.uexp,Wwise auto-generated,,

S_AkSpotReflector.uasset,Wwise auto-generated,,

S_AkSpotReflector.uexp,Wwise auto-generated,,

sound_fx_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

sound_fx_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

state_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

state_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

stategroup_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

stategroup_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

switch_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

switch_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

switchgroup_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

switchgroup_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Tile.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Tile.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Titlebar_WwiseAppIcon.uasset,Wwise auto-generated,,

Titlebar_WwiseAppIcon.uexp,Wwise auto-generated,,

trigger_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons




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trigger_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Virtual_Acoustics_FOLDER.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio

Virtual_Acoustics_FOLDER.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio

Wood.uasset,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Wood.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Wood_Bright.uasset,Wwise auto-

      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Wood_Bright.uexp,Wwise auto-
      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Wood_Deep.uasset,Wwise auto-

      generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

Wood_Deep.uexp,Wwise auto-generated,,Cooked\DungeonCrawler\Content\WwiseAudio\Virtual_Acoustics\Factory_Acoustic_Textures\Textures

workunit_nor.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

workunit_nor.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wproj.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wproj.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Wwise.uplugin,Wwise auto-generated,Automatically generated Wwise Uplugin file,Cooked\DungeonCrawler\Plugins\Wwise

wwise_icon_16.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wwise_icon_16.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wwise_icon_512.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wwise_icon_512.ubulk,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wwise_icon_512.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

wwise_logo_32.uasset,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging
      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons




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wwise_logo_32.uexp,Wwise auto-generated,Wwise icons created as Unreal Assets due to Event-Based Packaging

      (Sync),Cooked\DungeonCrawler\Plugins\Wwise\Content\WwiseTree\Icons

Events_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Events_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Game_Parameters_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Game_Parameters_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Master_Audio_Bus_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Master_Audio_Bus_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Master-Mixer_Hierarchy_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Master-Mixer_Hierarchy_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

States_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

States_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Switches_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Switches_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Textures_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Textures_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

Triggers_FOLDER.uasset,Wwise auto-generated (Deprecated and removed),,

Triggers_FOLDER.uexp,Wwise auto-generated (Deprecated and removed),,

sfx.uasset,Wwise SoundBank Asset,Event-Based Packaging (synchronized) to generate Wwise Soundbank files as Unreal Assets,"SoundBank

      packaging has changed since the Wwise 2022.1 update, so currently Wwise SoundBank files do not exist as Unreal Assets."

sfx.uexp,Wwise SoundBank Asset,Event-Based Packaging (synchronized) to generate Wwise Soundbank files as Unreal Assets.,"SoundBank
      packaging has changed since the Wwise 2022.1 update, so currently Wwise SoundBank files do not exist as Unreal Assets."




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                                         Exhibit B

1. Character Designs
(a) Character designs that can be found in other similar games
 The Babarian




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The Cleric




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The Fighter (Tanker)




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The Wizard




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The Theif (Rogue)




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The Ranger




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(b) Class Categories and Concept
               Description of each class from ‘Dungeon & Dragon’ from Wikipedia
            Class                                         Description
                          The barbarian is a playable character class in the Dungeons &
                          Dragons fantasy role-playing game.
  Barbarian
                          The class was introduced in 1985 and went through a number of evolutions
                          in subsequent editions of the game.
                          The cleric is one of the standard playable character class in
                          the Dungeons & Dragons fantasy role-playing game.
                          Clerics are versatile figures, both capable in combat and skilled in the use
                          of divine magic (thaumaturgy). Clerics are powerful healers due to the
                          large number of healing and curative magics available to them. With
  Cleric                  divinely-granted abilities over life or death, they are also able to repel or
                          control undead creatures. Clerics also have specific 'domains' which
                          usually align with the character's alignment and the god that cleric serves.
                          Whether the cleric repels or controls undead is dependent on the
                          cleric's alignment. It is the only class to be included in every version
                          of Dungeons & Dragons without a name change.
                          The fighter is one of the standard playable character classes in
                          the Dungeons & Dragons fantasy role-playing game.
                          A fighter is a versatile, weapons-oriented warrior who fights using skill,
                          strategy and tactics. Fighter is a generic and broad class; individual fighters
  Fighter
                          have diverse backgrounds and different styles. Bodyguards, adventurers,
                          former soldiers, invading bandit kings, or master swordsmen are all
                          fighters, yet they come from all walks of life and backgrounds and often
                          find themselves on very different alignments, goals, and sides in a conflict.
                          The Ranger is one of the standard playable character classes in most
                          editions of the Dungeons & Dragons fantasy role-playing game.
  Ranger
                          Rangers are skilled bushcraftsmen/woodcraftsmen, and often lived
                          reclusive lives as hermits.
                          The rogue or thief is one of the standard playable character classes in
                          most editions of the Dungeons & Dragons fantasy role-playing game.
                          A rogue is a versatile character, capable of sneaky combat and nimble
                          tricks. The rogue is stealthy and dexterous, and in early editions was the
  Rogue
                          only official base class from the Player's Handbook capable of finding and
                          disarming traps and picking locks. The rogue also has the ability to "sneak
                          attack" ("backstab" in previous editions) enemies who are caught off-guard
                          or taken by surprise, inflicting extra damage.
                          The wizard is one of the standard character class in the Dungeons &
                          Dragons fantasy role-playing game.
  Wizard
                          A wizard uses arcane magic, and is considered less effective in melee
                          combat than other classes.




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2. Setting / Structural Design
Below are just a few of many other games where players can use torches, placed in dungeons, to
improve their vision in a setting of a dungeon made of dark brick walls with a fearful atmosphere.




                                         Game ‘Pangeon’




                                     Game ‘Castle Torgeath’




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                    Game ‘The Elder Scrolls: Oblivion




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                    Game ‘The Elder Scrolls: Skyrim’




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                        Game ‘Mortal Online 2’




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                          Game ‘Monomyth’




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                      Game ‘Imprisoned Hyperion’




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3. Key Concept

(a) Game Description
                        ‘Dungeon and Dragons’ Description from Namuwiki

  너댓 명의 모험가가 합심하여 괴물들이 사는 동굴에 들어가 온갖 고초를 겪고서 보물과 경험
  치를 챙겨 나온다는 가장 오랫동안 즐겨온 시나리오의 전형을 완성한 RPG이며, 오랜 세월 축
  적된 마법과 괴물, 세계관 자료들이 자랑거리다. 그레이호크, 드래곤랜스 등의 세계관이 있으
  며, 그중 가장 유명한 것은 포가튼 렐름이다. 잘 알려진 엘민스터, 드리즈트 두어덴이 포렐 출
  신 인물이다.
  English Translation: This RPG game completes the archetype of the scenario that users have
  enjoyed for the longest time, where four to five adventurers work together to enter a cave where
  monsters live and go through all sorts of hardships to obtain treasures and experience points. The
  game boasts a wealth of magic, monsters, and worldview data accumulated over many years. It
  includes worldviews such as Greyhawk and Dragonlance, but the most famous one is the Forgotten
  Realms. Well-known characters such as Elminster and Drizzt Do'Urden are from the world of
  Forgotten Realms.



(b) 173 games with genres characteristics of ‘PvPvE’, ‘FPS’ and ‘RPG’
        Search results for games with the genres ‘PvP’, ‘PvE’, ‘FPS’, and ‘RPG’ on Steam




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(c) Game’s Starting points, etc.

‘Tarvern’ has been portrayed as a place where adventurers find colleagues in numerous games
and movies, including ‘Dungeon and Dragons’.
                      Post from ‘Dungeon & Dragons’ The Gamer Community




  If you've played Dungeons & Dragons for any length of time, you know of the cliche trope that is
  "The Party Meets In A Tavern." It's a classic; a group of strangers are all lumped together somehow
  at a local tavern, be it through a job or a fight, and that is how the party starts their adventure.

Unlike the tavern in P3 Game, which functions as a waiting place for selecting 3D characters,
the tavern in the test version of Dark and Darker is a 2D menu design and serves as a space for
chat functions such as party finding channels, trading channels, and gathering channels. In other
words, the two games differ in terms of visual representation and functionality.

In addition, in Dark and Darker, 9 or 11 players can play in the dungeon called ‘Goblin Cave’,
and 16 or 18 players can play in the dungeon called ‘Forgotten Castle’. On the other hand, in P3
game, only 16 fixed players can play, so the two games have completely different rules.



(d) Character Class

Please refer to explanation under Section 1. (b) for our explanation that the concept of six (6)
class in Dark and Darker and P3 Game is nothing more than the most standard classes from
Dungeon and Dragons and other medieval fantasy games.




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(e) Others

(i) Dungeon made up of dark bricks and torch-related features

Please refer to Section 2. (a) above for our explanation that dark bricks and torches are common
features of a dungeon, which means an ‘underground prison in a castle’.



(ii) Fixed attack pattern for each type of weapons

Having a fixed attack pattern for each type of weapons is a common feature of the FPS genre.
                                            Game ‘Slasher’s Keep’
                    First swing                                        Second swing
      (diagonal swing towards the bottom left)                 (horizontal swing to the right)




                                             Game ‘Monomyth’
              First swing (left to right)                       Second swing (right to left)




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(iii) User interaction with in-game objects such as boxes and doors in form of casting
                                          Game ‘Monomyth’




  This is a game scene where the player operates a pulley by pressing ‘F’ key. The operation requires
  a certain amount of time.

                                        Game ‘Slashers Keep’




  This is a game scene where the player opens a box using the ‘F’ key. The operation requires a
  certain amount of time.




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(iv) Certain amount of time is required to equip or replace equipment

                                      Game ‘Project Zomboid’




  This is a game scene where it takes a certain amount of time for player to wear a piece of equipment
  called ‘Black Digital Watch’.




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                            Exhibit E




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From:                Blackburn, James S.
To:                  Nexon A&P Team
Subject:             FW: Re: Nexon Korea Corp. v. Ironmace Co. Ltd., et al., Case No. 2:23-cv-00576
Date:                Tuesday, April 18, 2023 8:07:45 AM
Attachments:         2023.04.17 Letter to LIN.pdf
                     20230414 Nexon Corporation Initial Case Documents.zip
                     image001.png




From: Sohn, Christine <Christine.Sohn@arnoldporter.com>
Sent: Monday, April 17, 2023 4:03 PM
To: dhshin@law-lin.com
Cc: shannon.jost@stokeslaw.com; Blackburn, James S. <James.Blackburn@arnoldporter.com>
Subject: Re: Nexon Korea Corp. v. Ironmace Co. Ltd., et al., Case No. 2:23-cv-00576

Dear Counsel,

Attached, please find a letter from James Blackburn, as well as a zip folder containing all relevant
enclosures.
If you have questions or concerns, please email james.blackburn@arnoldporter.com.

Sincerely,
Christine Sohn

_______________
Christine Sohn
Legal Resource Assistant



777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017-5844
T: +1 213.243.4257
Christine.Sohn@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter




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                                                                          James S. Blackburn
                                                                          +1 213.243.4063 Direct
                                                                          James.Blackburn@arnoldporter.com




                                                        April 17, 2023


     VIA E-MAIL

     Yong Gap Kim, Esq.
     Eung Jun Jeon, Esq.
     Dong Hwan Shin, Esq.
     Jang Hoon Han, Esq.
     Jae Goo Lee, Esq.,
     LAW FIRM LIN
     #326, G5 Central Plaza, 27, Seochojungang-ro 24-gil,
     Seocho-gu, Seoul, Korea (06601)
     dhshin@law-lin.com

              Re:     Nexon Korea Corp. v. Ironmace Co. Ltd., et al., Case No. 2:23-cv-00576
                      (U.S. District Court for the Western District of Washington)

     Dear Counsel:

              As you know, we represent Nexon Korea Corporation (“Nexon”). On Friday,
     April 14, 2023, Nexon filed a complaint in the above-referenced action against your
     client Ironmace Co. Ltd. (“Ironmace”), Ju-Hyun Choi, and Terence Seungha Park
     alleging claims for trade secret misappropriation and copyright infringement. A copy of
     the complaint, summonses for Ironmace and Messrs. Choi and Park, and other documents
     filed concurrently therewith are enclosed with this letter.

             Please let me know at your earliest convenience whether you will accept service
     of process of the summonses and complaint on behalf of your client Ironmace and its
     principals Messrs. Choi and Park. If we do not hear from you, we will proceed with
     service in accordance with the Federal Rules of Civil Procedure.

                                                        Sincerely,



                                                        James S. Blackburn
     Enclosures
     Cc: Shannon Jost, Esq.

Arnold & Porter Kaye Scholer LLP
777 South Figueroa Street, 44th Floor | Los Angeles, CA 90017-5844 | www.arnoldporter.com
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                            Exhibit F




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                                                                                             Aaron J. Moss

                                                                                          D: 310.785.6814
                                                                                          F: 310.201.2314
                                                                                        AMoss@ggfirm.com




                                         April 20, 2023



Via Email and FedEx

Valve Corporation
10400 NE 4th Street, Fl. 14
Bellevue, WA 98004
dmca@valvesoftware.com

         Re:       DMCA Counter Notification from IRONMACE /
                   Dark and Darker (Valve App 2016590)

To Whom It May Concern:

        This firm represents IRONMACE Co., Ltd. (“Ironmace”). We are writing to respond to
the takedown notice (“Takedown Notice”) submitted by NEXON Korea Corporation (“Nexon”)
under the Digital Millennium Copyright Act (the “DMCA”), in which Nexon requested that
Valve Corporation (“Valve”) remove Ironmace’s video game Dark and Darker from Valve’s
Steam platform, located at https://store.steampowered.com/app/2016590/Dark_and_Darker/.
Valve subsequently removed Dark and Darker from Steam pursuant to Nexon’s Takedown
Notice.

         The Takedown Notice is based on claims that are entirely without merit and contains
knowing and material misrepresentations that Dark and Darker infringed Nexon’s copyright
interests in violation of 17 U.S.C. § 512(f). Ironmace submits this counter notification pursuant
to 17 U.S.C. § 512(g)(3) and requests that Valve restore access to Dark and Darker on Steam.

        Nexon’s claims are nothing more than anti-competitive bully tactics designed to put a
small indie game studio out of business. Ironmace has independently built—from the ground
up—a PvPvE fantasy-themed extraction game. Nexon says it had the idea to do that sort of
game first, and so now no one else can. But Ironmace has done nothing unlawful, and Nexon
has no legal basis to prevent the gaming public from accessing Dark and Darker on Steam or
anywhere else that it may be distributed.

         Dark and Darker is a new entry in the field of first-person extraction games. This genre
is a twist on traditional battle royale games, with a focus on loot-driven competition among
players who must fight both each other and non-playable enemies in order to reach an extraction
point and escape with their rewards. Other games of this genre include Escape from Tarkov and
Hunt: Showdown, among others. Dark and Darker takes this general style of gameplay and puts
it in a dark, gritty fantasy setting. The game has all the familiar trappings associated with the
fantasy genre—attributes perhaps most popularized by Dungeons & Dragons, but that are now



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ubiquitous in fantasy games. The gameplay is therefore somewhat similar in style to Escape
from Tarkov or battle royales like PUBG:Battlegrounds, but with characters, settings and
atmospheric elements that players of medieval fantasy games, such as the Elder Scrolls
franchise, might find familiar.

       Dark and Darker was released for a public playtest through Steam in August 2022 and
was met with positive feedback and enthusiasm from the gaming community. But Nexon’s
crusade against the developers of Dark and Darker has largely kept the game out of the hands of
gamers worldwide. Ironmace was able to keep its promise to launch its most recent playtest on
April 14, 2023 but was forced to distribute the game directly to consumers through
downloadable torrent files as a result of Nexon’s meritless takedown notices.

        We now write to set the record straight, dispel any appearance of impropriety engendered
by Nexon’s rhetoric, and to encourage Valve to restore Dark and Darker to the Steam platform
so that Ironmace may continue to serve its fans.

       Nexon’s claims relate to a game that Nexon never made and which does not exist. This
game was allegedly under development at Nexon before it was abandoned by the company.
While under development, it had the working title “P3 Project.” Nexon describes the would-be
game as a first-person shooter role-playing game (an FPS-RPG). Nexon claims to have created
“unique concepts, genre, plot, story line, characters, and plans for the game”—almost none of
which is subject to copyright protection. While the actual expression of plot, story line, and
characters certainly may be protectable, copyright doesn’t protect concepts, genres, or “plans.”
Nexon’s loose treatment of what is and is not copyrightable is a running theme throughout its
Takedown Notice. Nexon also claims that it created “proprietary source codes, art resources,
and build files.”

        Nexon’s allegations of copying are highly misleading and are almost an afterthought in
Nexon’s Takedown Notice. Instead, the vast majority of Nexon’s notice is directed at a non-
issue from a copyright perspective; namely, Nexon’s allegations that a former employee (Ju-
Hyun Choi) misappropriated trade secrets from Nexon. Notably, Nexon has been pursuing
claims against Mr. Choi in civil and criminal court in South Korea for almost two years. After
years of litigation and multiple police raids to look for the supposedly “misappropriated”
material, Nexon has found no evidence that any trade secrets were in fact misappropriated.
That’s because Mr. Choi didn’t take any of Nexon’s trade secrets. 1 But this is a dispute between

1
 In its Takedown Notice, Nexon suggests it terminated Mr. Choi’s employment as a result of
discovering that he had “acquired and transferred, without authorization, more than 11,000 key
build files of the P3 Project from Nexon’s server to his personal server in 2020 and 2021.” Mr.
Choi’s use of personal servers was to meet the extreme work demands placed on his team by
Nexon and used solely for the development of the P3 Project. When Mr. Choi left Nexon’s
employ (after being fired for pretextual reasons), Mr. Choi erased all Nexon data on his personal
devices, as employees are obligated to do so upon their exit from a company, and even offered to
hand over his wiped devices to Nexon, which Nexon refused to accept. Nexon instead instigated


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Mr. Choi and his former employer, which will be resolved in Korea. None of it impacts
Ironmace at all, as Ironmace developed Dark and Darker entirely on its own, without using any
of Nexon’s “proprietary source codes, art resources, [or] build files.”

         While it is beside the point from the perspective of a copyright claim, we are also
obligated to note that it is typically not unlawful for a former employee who leaves one company
to later go to work for a competitor. To be sure, stealing documents or assets from an employer
is wrong (and that never happened here), but corporations can’t legally stop employees from
using their own know-how and skills to do similar work somewhere else. Contrary to Nexon’s
assertions, that is all that happened here.

        It is apparent that Nexon is attempting use its trade secrets allegations to make an end-run
around the Copyright Act’s substantial similarity requirements. But copyright law does not
recognize a “fruit of the poisonous tree” theory. “That defendants may have viewed or studied
plaintiff’s program is irrelevant if defendants’ resulting work is not substantially similar to
plaintiff’s.” Liu v. Price Waterhouse LLP, 2000 WL 1644585, *2 (N.D. Ill. Oct. 30, 2000). See
also DSC Communications Corp. v. DGI Tech., Inc., 898 F.Supp. 1183, 1189 n.3 (N.D.Tex.
1995) (“[T]he test of copyright infringement has two requirements, access and substantial
similarity . . . while DSC may succeed in proving access because DGI is not using the preferred
‘clean room’ method of development, DSC must still prove substantial similarity between its
firmware and the DGI firmware.”). It doesn’t matter if Ironmace’s developers were familiar with
the P3 Project by virtue of having worked at Nexon—what matters is that the creative, original
expression of Dark and Darker is notably and substantially different than anything Nexon
authored.

        Once we move past Nexon’s allegations of trade secret misappropriation—which, again,
will be disproved in litigation in Korea—it is apparent that Nexon’s copyright claims have no
legal merit.




a criminal and civil lawsuit within a month of his dismissal, forcing liens on his home, car, and
bank accounts. Despite two years of investigation and litigation against Mr. Choi in Korea, there
has been no evidence whatsoever that Mr. Choi ever transmitted any P3 “source codes, art
resources, [or] build files” to Ironmace. He did not. Ironmace did not have access to, nor did it
use, any Nexon-owned materials to develop Dark and Darker. Nexon’s assertion that “[i]t is
impossible for Ironmace to have developed Dark and Darker in such a short timeframe without
using Nexon's trade secrets and confidential information” is similarly false. The reason
Ironmace was able to create a playable Alpha version of Dark and Darker relatively quickly was
because it started with a much larger, well-rounded development team with many more
programmers throughout a development period that was free of the bureaucratic, risk-adverse,
and unsupportive environment that characterized Nexon, not because Ironmace used any Nexon
property.


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       The only actual copyrights that Nexon points to as forming the basis for its claims are the
following:

         1. Some unidentified source code (Registration No. TXu 2-355-124).

         2. Unspecified “audiovisual game material” (Registration Nos. PAu 4-169-661 and PAu
         4-166-909).

         3. 2D character art for six classes of characters: Cleric, Ranger, Barbarian, Tanker, Thief,
         and Wizard (Registration Nos. VAu 1-491-714, 1-491-715, 1-491-716, 1-491-717, 1-491-
         719, 1-491-720).

        As to the source code, Nexon’s Takedown Notice does not allege that any specific source
code or other Nexon property was accessed by Ironmace or was actually incorporated into Dark
and Darker. Instead, Nexon claims that it “conducted a comparative analysis of Dark and
Darker and the P3 Game,” which “revealed that the resource file names of 2,338 files were
identical between the two games.” But those aren’t similar files, those are allegedly similar file
names.

        Nearly all of the 2,338 resource files identified by Nexon consist of third-party assets and
plug-ins, which Ironmace either purchased from the Unreal Engine asset store or which were
automatically generated by Unreal Engine during the build process. Nexon has no ownership
interest in these assets—any number of games in the marketplace purchase and use these assets,
with these identical file names, every single day. The remaining 82 similar file names (out of
about 60,000 total game files) consist of descriptive labels that logically describe the content of
those files and are formatted in a way designed for compatibility with the Unreal Engine assets.
Simple file names like “Fireball.uexp” and “Torch.uexp” are not subject to copyright protection.
More importantly, the fact that Nexon conducted a comparison of Dark and Darker and P3 and
found similarities only in unprotectable file names, as opposed to copyrightable source code
owned by Nexon, speaks volumes. Nexon isn’t grasping at straws; it’s grasping at the naming
conventions for straws.

        From this flimsy start of its “copyright” comparison, Nexon then moves on to its claim
that the “character designs and other setting and structural designs” are “suspiciously similar” 2 to
those of the P3 Game. Nexon argues that its proto-game and Dark and Darker share character
classes. Of course, these are ubiquitous fantasy character classes, popularized by Dungeons &
Dragons and scores of other thematically similar games. These famous and popular classes (the



2
 If you typed “suspiciously similar” into a search engine, undoubtedly you would get the
message: “Did you mean substantially similar?” Nexon of course knows that “seems
suspicious” is not a valid basis for sending a DMCA takedown notice. See 17 U.S.C. §
512(c)(3)(A)(v) (requiring a “good faith basis” for claiming infringement).



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Fighter, the Barbarian, the Rogue, the Ranger, the Wizard, and the Cleric)3 are obvious scènes à
faire in the fantasy genre—they are characters “naturally associated with the treatment of a given
idea, . . . and therefore [are] not protected by copyright.” Gray v. Hudson, 28 F.4th 87, 98 (9th
Cir. 2022) (“commonplace elements that are firmly rooted in the genre’s tradition” are not
entitled to copyright protection). Ironmace has already added the Bard class in its most recent
playtest and has plans to add a Warlock class—two more of the traditional Dungeons & Dragons
classes.

        The same holds true for settings or locations that are “commonly seen in various genres,
including . . . fantasy genres.” Rosenfeld v. Twentieth Century Fox Film, No. CV 07-
7040AHMFFMX, 2009 WL 212958, at *3 (C.D. Cal. Jan. 28, 2009). Similarities are to be
expected when two different companies make a fantasy, dungeon crawler—including, naturally,
the presence of dungeons. See Takedown Notice at pp. 4–5 (arguing that both games take place
in a “brick-walled dungeon setting”). Such stock settings are not entitled to copyright protection
and cannot give rise to a claim of infringement.

        But beyond just being wrong on the legal doctrine, Nexon grossly misrepresents the facts
here. The “similarities” that it cites in Exhibit E to the takedown notice do not tell the real story.
What Nexon primarily compares is the concept art for the character classes in the P3 Game and
in Dark and Darker. But this concept art is not what actually appears in Dark and Darker. This
was essentially placeholder art present in the early access “Alpha” playtest, which has not been
present in the most recent iterations of the game. The real characters, as played, look different.
In any event, whatever similarities there were in the placeholder concept art were by virtue of the
fact that there are certain genre conventions in how these classes are depicted—a hooded rogue
or a wizard with a staff is not copyrightable.

        Importantly, what appears in Dark and Darker consists primarily of third-party assets
legally acquired from the Unreal Engine asset store. To the extent that Nexon used the same or
similar assets, that does not give rise to a copyright claim. Nexon may argue that the decisions
about which Unreal Engine assets to use provides the basis for some sort of “selection and
arrangement” copyright claim—in which the way one chooses to select and arrange
unprotectable source material creates a new, protectable whole. But this claim completely falls
apart for a few reasons. First, a medieval-style fantasy dungeon crawler has a limited universe of
plausible assets from which one may reasonably choose. There’s a reason nearly every game
that has ever explored this genre features reanimated skeletons, trolls, spiders, and the other
usual dungeon denizens. There is nothing remarkable about game designers choosing some of
the same scènes à faire assets in constructing such a game. Second, a game of the magnitude of
Dark and Darker uses thousands of third-party assets in the game. Even if Nexon can cherry-

3
  Nexon does not actually have a “Fighter” and a “Rogue”—it has a “Tanker” and a “Thief,”
which are not traditional D&D classes. They may occupy similar niches, but it’s impossible to
know, since Nexon does not provide (nor does Ironmace possess) any actual P3 gameplay to
look at for comparison.



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pick a dozen identical assets between them, that is only a drop in the bucket in terms of actual
game design.

       The reality is that for every comparison Nexon can come up with, one can find half a
dozen different games with the exact same feature—and in some cases, the very same asset. For
instance, Nexon highlights what it calls “torch-related game features.” Nexon does not have any
proprietary copyright interest in dark, atmospheric game settings in which characters illuminate a
dungeon with a torch. This sort of gameplay is popular in, for example, the Elder Scrolls or
Mortal Online games. Indeed, players of a certain age will have strong memories of roaming
through dimly-lit dungeons with torch-related gameplay as Link in The Legend of Zelda:
Ocarina of Time. Simply stated, these isolated commonalities do not give rise to an infringement
claim.

        At best, Nexon has taken a handful of unprotectable elements and cobbled them together
to form the illusion of a copyright infringement claim. But in reality, this case comes down to
the fact that Nexon does not want any of its former employees to work at an indie studio
developing a fantasy-themed extraction game. And Nexon will bend copyright law well past its
breaking point in order to keep Dark and Darker out of the public’s hands.

        To that end, Nexon makes unfounded threats against Valve, claiming that Valve may be
liable not only for direct and indirect copyright infringement, but even for trade secret
misappropriation, if it puts Dark and Darker back up on Steam. These are nothing but baseless
scare tactics.

        Given the absence of any colorable copyright infringement claim, Nexon’s Takedown
Notice contains knowing and material misrepresentations that Dark and Darker infringed
Nexon’s copyright interests in violation of 17 U.S.C. § 512(f). We respectfully implore Valve
not to give in to Nexon’s threats and to instead respect the creative ingenuity of a young gaming
studio that has put out a product that is already loved by hundreds of thousands of fans eager to
see the next chapter in the Dark and Darker saga.

        On behalf of Ironmace, I declare, under penalty of perjury, that I have a good faith belief
that the content identified above was removed or disabled as a result of mistaken information,
misidentification of the material in question, and/or a deliberate misreading of the law. Ironmace
consents to the jurisdiction of the Western District of Washington and will accept service of




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process from the person who submitted the takedown notification under 17 U.S.C. § 512(C)(1),
or their agent. Ironmace’s contact information is as follows:

         401, 16, Pangyoyeok-ro 192beon-gil,
         Bundang-gu, Seongnam-si, Gyeonggi-do,
         13524 Republic of Korea
         +82-31-707-1190
                                                 Sincerely,



                                                 Aaron J. Moss




cc: Josh Geller, Esq.




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                            Exhibit G




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                            14. CONVENTION ON THE SERVICE ABROAD OF
                             JUDICIAL AND EXTRAJUDICIAL DOCUMENTS
                                 IN CIVIL OR COMMERCIAL MATTERS1

                                       (Concluded 15 November 1965)


The States signatory to the present Convention,
Desiring to create appropriate means to ensure that judicial and extrajudicial documents to be served
abroad shall be brought to the notice of the addressee in sufficient time,
Desiring to improve the organisation of mutual judicial assistance for that purpose by simplifying and
expediting the procedure,
Have resolved to conclude a Convention to this effect and have agreed upon the following provisions:


                                                     Article 1

The present Convention shall apply in all cases, in civil or commercial matters, where there is occasion
to transmit a judicial or extrajudicial document for service abroad.
This Convention shall not apply where the address of the person to be served with the document is not
known.


                                       CHAPTER I – JUDICIAL DOCUMENTS



                                                     Article 2

Each Contracting State shall designate a Central Authority which will undertake to receive requests for
service coming from other Contracting States and to proceed in conformity with the provisions of Articles
3 to 6.
Each State shall organise the Central Authority in conformity with its own law.


                                                     Article 3

The authority or judicial officer competent under the law of the State in which the documents originate
shall forward to the Central Authority of the State addressed a request conforming to the model annexed
to the present Convention, without any requirement of legalisation or other equivalent formality.
The document to be served or a copy thereof shall be annexed to the request. The request and the
document shall both be furnished in duplicate.


                                                     Article 4

If the Central Authority considers that the request does not comply with the provisions of the present
Convention it shall promptly inform the applicant and specify its objections to the request.



1
  This Convention, including related materials, is accessible on the website of the Hague Conference on Private
International Law (www.hcch.net), under “Conventions” or under the “Service Section”. For the full history of the
Convention, see Hague Conference on Private International Law, Actes et documents de la Dixième session
(1964), Tome III, Notification (391 pp.).


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                                                 Article 5

The Central Authority of the State addressed shall itself serve the document or shall arrange to have it
served by an appropriate agency, either –
a)    by a method prescribed by its internal law for the service of documents in domestic actions upon
      persons who are within its territory, or
b)    by a particular method requested by the applicant, unless such a method is incompatible with the
      law of the State addressed.

Subject to sub-paragraph (b) of the first paragraph of this Article, the document may always be served
by delivery to an addressee who accepts it voluntarily.
If the document is to be served under the first paragraph above, the Central Authority may require the
document to be written in, or translated into, the official language or one of the official languages of the
State addressed.
That part of the request, in the form attached to the present Convention, which contains a summary of
the document to be served, shall be served with the document.


                                                 Article 6

The Central Authority of the State addressed or any authority which it may have designated for that
purpose, shall complete a certificate in the form of the model annexed to the present Convention.
The certificate shall state that the document has been served and shall include the method, the place
and the date of service and the person to whom the document was delivered. If the document has not
been served, the certificate shall set out the reasons which have prevented service.
The applicant may require that a certificate not completed by a Central Authority or by a judicial authority
shall be countersigned by one of these authorities.
The certificate shall be forwarded directly to the applicant.


                                                 Article 7

The standard terms in the model annexed to the present Convention shall in all cases be written either
in French or in English. They may also be written in the official language, or in one of the official
languages, of the State in which the documents originate.
The corresponding blanks shall be completed either in the language of the State addressed or in French
or in English.


                                                 Article 8

Each Contracting State shall be free to effect service of judicial documents upon persons abroad, without
application of any compulsion, directly through its diplomatic or consular agents.
Any State may declare that it is opposed to such service within its territory, unless the document is to be
served upon a national of the State in which the documents originate.


                                                 Article 9

Each Contracting State shall be free, in addition, to use consular channels to forward documents, for the
purpose of service, to those authorities of another Contracting State which are designated by the latter
for this purpose.
Each Contracting State may, if exceptional circumstances so require, use diplomatic channels for the
same purpose.


                                                 Article 10

Provided the State of destination does not object, the present Convention shall not interfere with –
a)    the freedom to send judicial documents, by postal channels, directly to persons abroad,




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b)    the freedom of judicial officers, officials or other competent persons of the State of origin to effect
      service of judicial documents directly through the judicial officers, officials or other competent
      persons of the State of destination,
c)    the freedom of any person interested in a judicial proceeding to effect service of judicial documents
      directly through the judicial officers, officials or other competent persons of the State of destination.


                                                  Article 11

The present Convention shall not prevent two or more Contracting States from agreeing to permit, for
the purpose of service of judicial documents, channels of transmission other than those provided for in
the preceding Articles and, in particular, direct communication between their respective authorities.


                                                  Article 12

The service of judicial documents coming from a Contracting State shall not give rise to any payment or
reimbursement of taxes or costs for the services rendered by the State addressed.
The applicant shall pay or reimburse the costs occasioned by –-
a)    the employment of a judicial officer or of a person competent under the law of the State of
      destination,
b)    the use of a particular method of service.


                                                  Article 13

Where a request for service complies with the terms of the present Convention, the State addressed
may refuse to comply therewith only if it deems that compliance would infringe its sovereignty or security.
It may not refuse to comply solely on the ground that, under its internal law, it claims exclusive jurisdiction
over the subject-matter of the action or that its internal law would not permit the action upon which the
application is based.
The Central Authority shall, in case of refusal, promptly inform the applicant and state the reasons for
the refusal.


                                                  Article 14

Difficulties which may arise in connection with the transmission of judicial documents for service shall
be settled through diplomatic channels.


                                                  Article 15

Where a writ of summons or an equivalent document had to be transmitted abroad for the purpose of
service, under the provisions of the present Convention, and the defendant has not appeared, judgment
shall not be given until it is established that –
a)     the document was served by a method prescribed by the internal law of the State addressed for
       the service of documents in domestic actions upon persons who are within its territory, or
b)     the document was actually delivered to the defendant or to his residence by another method
       provided for by this Convention,
       and that in either of these cases the service or the delivery was effected in sufficient time to enable
       the defendant to defend.

Each Contracting State shall be free to declare that the judge, notwithstanding the provisions of the first
paragraph of this Article, may give judgment even if no certificate of service or delivery has been
received, if all the following conditions are fulfilled –
a)    the document was transmitted by one of the methods provided for in this Convention,
b)    a period of time of not less than six months, considered adequate by the judge in the particular
      case, has elapsed since the date of the transmission of the document,
c)    no certificate of any kind has been received, even though every reasonable effort has been made
      to obtain it through the competent authorities of the State addressed.




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Notwithstanding the provisions of the preceding paragraphs the judge may order, in case of urgency,
any provisional or protective measures.


                                               Article 16

When a writ of summons or an equivalent document had to be transmitted abroad for the purpose of
service, under the provisions of the present Convention, and a judgment has been entered against a
defendant who has not appeared, the judge shall have the power to relieve the defendant from the effects
of the expiration of the time for appeal from the judgment if the following conditions are fulfilled –
a)     the defendant, without any fault on his part, did not have knowledge of the document in sufficient
       time to defend, or knowledge of the judgment in sufficient time to appeal, and
b)     the defendant has disclosed a prima facie defence to the action on the merits.

An application for relief may be filed only within a reasonable time after the defendant has knowledge of
the judgment.
Each Contracting State may declare that the application will not be entertained if it is filed after the
expiration of a time to be stated in the declaration, but which shall in no case be less than one year
following the date of the judgment.
This Article shall not apply to judgments concerning status or capacity of persons.


                                CHAPTER II – EXTRAJUDICIAL DOCUMENTS



                                               Article 17

Extrajudicial documents emanating from authorities and judicial officers of a Contracting State may be
transmitted for the purpose of service in another Contracting State by the methods and under the
provisions of the present Convention.


                                    CHAPTER III – GENERAL CLAUSES



                                               Article 18

Each Contracting State may designate other authorities in addition to the Central Authority and shall
determine the extent of their competence.
The applicant shall, however, in all cases, have the right to address a request directly to the Central
Authority.
Federal States shall be free to designate more than one Central Authority.


                                               Article 19

To the extent that the internal law of a Contracting State permits methods of transmission, other than
those provided for in the preceding Articles, of documents coming from abroad, for service within its
territory, the present Convention shall not affect such provisions.


                                               Article 20

The present Convention shall not prevent an agreement between any two or more Contracting States to
dispense with –
a)    the necessity for duplicate copies of transmitted documents as required by the second paragraph
      of Article 3,
b)    the language requirements of the third paragraph of Article 5 and Article 7,
c)    the provisions of the fourth paragraph of Article 5,
d)    the provisions of the second paragraph of Article 12.


                                               Article 21


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Each Contracting State shall, at the time of the deposit of its instrument of ratification or accession, or at
a later date, inform the Ministry of Foreign Affairs of the Netherlands of the following –
a)     the designation of authorities, pursuant to Articles 2 and 18,
b)     the designation of the authority competent to complete the certificate pursuant to Article 6,
c)     the designation of the authority competent to receive documents transmitted by consular
       channels, pursuant to Article 9.

Each Contracting State shall similarly inform the Ministry, where appropriate, of –
a)   opposition to the use of methods of transmission pursuant to Articles 8 and 10,
b)   declarations pursuant to the second paragraph of Article 15 and the third paragraph of Article 16,
c)   all modifications of the above designations, oppositions and declarations.


                                                   Article 22

Where Parties to the present Convention are also Parties to one or both of the Conventions on civil
procedure signed at The Hague on 17th July 1905, and on 1st March 1954, this Convention shall replace
as between them Articles 1 to 7 of the earlier Conventions.


                                                   Article 23

The present Convention shall not affect the application of Article 23 of the Convention on civil procedure
signed at The Hague on 17th July 1905, or of Article 24 of the Convention on civil procedure signed at
The Hague on 1st March 1954.
These Articles shall, however, apply only if methods of communication, identical to those provided for in
these Conventions, are used.


                                                   Article 24

Supplementary agreements between Parties to the Conventions of 1905 and 1954 shall be considered
as equally applicable to the present Convention, unless the Parties have otherwise agreed.


                                                   Article 25

Without prejudice to the provisions of Articles 22 and 24, the present Convention shall not derogate from
Conventions containing provisions on the matters governed by this Convention to which the Contracting
States are, or shall become, Parties.


                                                   Article 26

The present Convention shall be open for signature by the States represented at the Tenth Session of
the Hague Conference on Private International Law.
It shall be ratified, and the instruments of ratification shall be deposited with the Ministry of Foreign Affairs
of the Netherlands.


                                                   Article 27

The present Convention shall enter into force on the sixtieth day after the deposit of the third instrument
of ratification referred to in the second paragraph of Article 26.
The Convention shall enter into force for each signatory State which ratifies subsequently on the sixtieth
day after the deposit of its instrument of ratification.




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                                                   Article 28

Any State not represented at the Tenth Session of the Hague Conference on Private International Law
may accede to the present Convention after it has entered into force in accordance with the first
paragraph of Article 27. The instrument of accession shall be deposited with the Ministry of Foreign
Affairs of the Netherlands.
The Convention shall enter into force for such a State in the absence of any objection from a State,
which has ratified the Convention before such deposit, notified to the Ministry of Foreign Affairs of the
Netherlands within a period of six months after the date on which the said Ministry has notified it of such
accession.
In the absence of any such objection, the Convention shall enter into force for the acceding State on the
first day of the month following the expiration of the last of the periods referred to in the preceding
paragraph.


                                                   Article 29

Any State may, at the time of signature, ratification or accession, declare that the present Convention
shall extend to all the territories for the international relations of which it is responsible, or to one or more
of them. Such a declaration shall take effect on the date of entry into force of the Convention for the
State concerned.
At any time thereafter, such extensions shall be notified to the Ministry of Foreign Affairs of the
Netherlands.
The Convention shall enter into force for the territories mentioned in such an extension on the sixtieth
day after the notification referred to in the preceding paragraph.


                                                   Article 30

The present Convention shall remain in force for five years from the date of its entry into force in
accordance with the first paragraph of Article 27, even for States which have ratified it or acceded to it
subsequently.
If there has been no denunciation, it shall be renewed tacitly every five years.
Any denunciation shall be notified to the Ministry of Foreign Affairs of the Netherlands at least six months
before the end of the five year period.
It may be limited to certain of the territories to which the Convention applies.
The denunciation shall have effect only as regards the State which has notified it. The Convention shall
remain in force for the other Contracting States.


                                                   Article 31

The Ministry of Foreign Affairs of the Netherlands shall give notice to the States referred to in Article 26,
and to the States which have acceded in accordance with Article 28, of the following –
a)    the signatures and ratifications referred to in Article 26;
b)    the date on which the present Convention enters into force in accordance with the first paragraph
      of Article 27;
c)    the accessions referred to in Article 28 and the dates on which they take effect;
d)    the extensions referred to in Article 29 and the dates on which they take effect;
e)    the designations, oppositions and declarations referred to in Article 21;
f)    the denunciations referred to in the third paragraph of Article 30.


In witness whereof the undersigned, being duly authorised thereto, have signed the present Convention.

Done at The Hague, on the 15th day of November, 1965, in the English and French languages, both
texts being equally authentic, in a single copy which shall be deposited in the archives of the Government
of the Netherlands, and of which a certified copy shall be sent, through the diplomatic channel, to each
of the States represented at the Tenth Session of the Hague Conference on Private International Law.




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                            Exhibit H




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Lee, Somin

From:                 Aaron Lukken <lukken@vikinglaw.us>
Sent:                 Saturday, April 29, 2023 12:31 AM
To:                   Lee, Somin
Cc:                   Peggy Lukken
Subject:              Re: Hague Service on Defendants in Korea
Attachments:          Arnold Porter KOR 2023-04-28.pdf; Viking Terms 2022-03-15.pdf



 External E‐mail

Here we go... see attached. Electronic payment info follows, but if you prefer to have one of your U.S. offices send a
check, shoot me a PDF before mailing, along with a tracking number, and we'll get the ball rolling while it's en
route. [First class mail has become so erratic that we can no longer rely on it for early start of work.]

To reiterate, I anticipate that we'll receive proof of service 4 or 5 months after submission of the requests. As soon as
we have (1) all documents & translations, (2) a countersigned engagement letter, and (3) fees, we won't need much
time to get the shipment out. Just a day or two.

Thanks, as always,
Aaron


        Wire or ACH instructions:

                         Receiving Bank:                  JPMorgan Chase
                         Bank Address:                    7701 State Line Rd.
                                                           Kansas City, MO 64114
                         ABA Routing (for Wire):          021000021
                         ABA Routing (for ACH):           103000648
                         SWIFT Code:                      CHASUS33
                         Beneficiary Account Number:       823557696
                         Beneficiary Name:                Viking Advocates LLC
                         Beneficiary Address:              6525 Charlotte Street
                                                           Kansas City, MO 64131-1106
                         Reference for Beneficiary:       Arnold Porter KOR 2023-04-28

                [INTERMEDIARY FEES TO BE PAID BY SENDER]

        Alternative payment methods:

                Chase Billpay: Viking Advocates, LLC
                Zelle: lukken@vikinglaw.us



------------------------
Aaron Lukken
Attorney, Managing Member
Viking Advocates, LLC
Author of The Hague Law Blog
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please let this serve as a reminder that emails can be intercepted‐‐ simple as that. If you do not want to communicate with me
by email, please advise me. (2) If you are not the correct recipient, please let me know that you have received this message in
error. (3) Save a tree! Don't print this unless it is absolutely necessary.


From: Lee, Somin <Somin.Lee@arnoldporter.com>
Sent: Friday, April 28, 2023 10:15
To: Aaron Lukken <lukken@vikinglaw.us>
Cc: Peggy Lukken <plukken@vikinglaw.us>
Subject: Hague Service on Defendants in Korea

Hi Aaron and Peggy,

We hope this email finds you well. We are writing to request a quote for Hague service of process in connection
with our case Nexon Korea Corp. v. Ironmace Co. Ltd., et al., case no. 2:23‐cv‐00576‐MLP, in the Western District of
Washington.

Could you please provide an estimated timeline (average) for service on defendants located in the Republic of
Korea?

Could you also provide a fee quote for Hague service of process on three defendants located in Korea? We have
attached the as‐filed versions of the summons and complaint. Please note, these documents have already been
translated into Korea.

Please let us know if you require any other documents or information.


Thank you.

Kind regards,
Somin

_______________
Somin Lee
Associate | Bio



Foreign Legal Consultant Office
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76 Saemunan‐ro, Jongno‐gu
Seoul, Korea (03185)
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Somin.Lee@arnoldporter.com
www.arnoldporter.com | LinkedIn | Twitter



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___________________________________________

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For more information about Arnold & Porter, click here:
http://www.arnoldporter.com




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                             Exhibit I




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                            Exhibit J-1




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                            Exhibit J-2




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                            Exhibit J-3




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                           Exhibit K-1




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                           Exhibit K-3




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